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     COMPOSITE
       EXHIBIT 1
   (Filed Under Seal)
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                                                                       Page 1


        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
        - - - - - - - - - - - - - - - - - - - - x
        VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                              Case No.:
             -against-                        15-cv-07433-RWS

        GHISLAINE MAXWELL,

                     Defendants.

        - - - - - - - - - - - - - - - - - - - - x

                             **CONFIDENTIAL**

                   Videotaped deposition of GHISLAINE
              MAXWELL, taken pursuant to subpoena, was
              held at the law offices of BOIES
              SCHILLER & FLEXNER, 575 Lexington
              Avenue, New York, New York, commencing
              April 22, 2016, 9:04 a.m., on the above
              date, before Leslie Fagin, a Court
              Reporter and Notary Public in the State
              of New York.

                              - - -
                    MAGNA LEGAL SERVICES
                1200 Avenue of the Americas
                 New York, New York 10026
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                                               Page 2                                            Page 4
  1                                                      1        G Maxwell - Confidential
  2   APPEARANCES:
  3                                                      2      represent Ms. Giuffre.
      BOIES SCHILLER & FLEXNER, LLP                      3          MR. PAGLIUCA: Jeff Pagliuca and
  4   Attorneys for Plaintiff
            401 East Las Olas Boulevard                  4      Laura Menninger on behalf of Ms.
  5         Fort Lauderdatle, Florida, 33301             5      Maxwell.
      BY:     SIGRID McCAWLEY, ESQUIRE
  6         MEREDITH SCHULTZ, ESQUIRE                    6   G H I S L A I N E M A X W E L L, called
            EMMA ROSEN, PARALEGAL                        7   as a witness, having been duly sworn by a
  7
  8                                                      8   Notary Public, was examined and testified as
      FARMER JAFFE WEISSING EDWARDS FISTOS &             9   follows:
  9   LEHRMAN, P.L.
          Attorneys for Plaintiff                       10   EXAMINATION BY
 10       425 N. Andrews Avenue                         11   MS. McCAWLEY:
          Fort Lauderdale, Florida 33301
 11   BY:   BRAD EDWARDS, ESQUIRE                       12      Q. Good morning. I'm going to explain
 12                                                     13   some of the rules that will happen with
 13   PAUL G. CASSELL, ESQUIRE
      Attorneys for Plaintiff                           14   respect to depositions.
 14         383 South University Street                 15          Have you ever been deposed before?
            Salt Lake City, Utah 84112
 15                                                     16      A. I have not.
 16                                                     17      Q. What is going to happen here, we
      HADDON MORGAN FOREMAN
 17   Attorneys for Defendant                           18   have a court reporter and a videographer.
            150 East 10th Avenu                         19   What they do is take down the words that we
 18         Denver, Colorado 80203
      BY:     JEFFREY S. PAGLIUCA, ESQUIRE
                                                        20   say so when I ask you a question they will
 19         LAURA A. MENNINGER, ESQUIRE                 21   record what you say in response to that. So
 20
 21   Also Present:
                                                        22   we have to be mindful that in order for them
 22     James Christe, videographer                     23   to do their job we can't talk over each
 23
 24
                                                        24   other.
 25                                                     25          Another issue you have to be weary
                                               Page 3                                            Page 5
 1                                                       1         G Maxwell - Confidential
 2           THE VIDEOGRAPHER: We are now on             2   of is that in a response, you can't give a
 3        the record and recording. This begins          3   nonverbal response, in other words, nodding a
 4        disk No. 1 in the deposition of                4   yes or no, they need to hear verbal response
 5        Ghislaine Maxwell in the matter of             5   so they can record it on their transcript.
 6        Virginia Giuffre versus Ghislaine              6   So that's important for you to remember as we
 7        Maxwell in the U.S. District Court for         7   go through the day. If you forget, I will be
 8        the Southern District of New York.             8   sure to remind you.
 9           Today is April 22, 2016 the time is         9          Is there anything that would
10        9:04 a.m.. This deposition is being           10   prevent you from giving truthful testimony
11        taken at 575 Lexington Avenue in New          11   today?
12        York at the request of Sigrid McCawley        12       A. There is not.
13        of Boies Schiller & Flexner.                  13       Q. You are not on any medications or
14           The videographer is James Christe          14   anything that would inhibit your ability to
15        and the court reporter is Leslie Fagin.       15   remember or give truthful testimony?
16        Will counsel state their appearance and       16       A. I am not.
17        whom they represent and then court            17          MR. PAGLIUCA: Could you identify
18        reporter swear in Ms. Maxwell.                18       the assistant in the room.
19           MS. McCAWLEY: My name is Sigrid            19          MS. McCAWLEY: This is Emma Rosen
20        McCawley with my colleague Meredith           20       from our New York office. She is a
21        Schultz. We are with Boies Schiller &         21       paralegal.
22        Flexner. We represent Ms. Giuffre.            22       Q. Ms. Maxwell, can you please state
23           MR. EDWARDS: Brad Edwards. I also          23   your address for the record?
24        represent Ms. Giuffre.                        24       A. Currently                        .
25           MR. CASSELL: Paul Cassell, I also          25       Q. What is your date of birth?




                                                                              2 (Pages 2 to 5)
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                                        Page 6                                              Page 8
 1       G Maxwell - Confidential                   1         G Maxwell - Confidential
 2      A.                      .                   2   It's in the process of being sold. It still
 3      Q. When did you first recruit a female      3   requires some final paperwork to be done, so
 4   to work for Mr. Epstein?                       4   just for the purposes of clarity.
 5          MR. PAGLIUCA: I object to the form      5       Q. Do you have a new address where you
 6      and foundation of the question. I           6   will be living?
 7      believe this is confidential                7       A. I do not.
 8      information. I ask anyone who is not        8       Q. For the purpose of the record, if
 9      admitted in this case be excused from       9   there is something I ask you that you later
10      the room, please.                          10   remember something else or need to correct
11          MS. McCAWLEY: So the response to       11   your testimony in some way, you can do that,
12      that question would --                     12   just let me know what it is and we will go
13          MR. PAGLIUCA: The subject matter       13   back to that question and can you clarify.
14      of this question is confidential and I'm   14       A. Of course. I just wanted to be
15      designating it as confidential.            15   clear, there is still some paperwork pending
16          MS. McCAWLEY: I just want to make      16   for final release, but it's in the process of
17      that clear for the record.                 17   sale. But I don't have another address
18          MR. EDWARDS: So we don't delay the     18   currently, so whilst that should still be of
19      deposition I will step out of the room     19   record that the mail could be forwarded
20      but I think it's important to lay the      20   there, so for purposes of clarity I wanted to
21      record that --                             21   be clear.
22          MR. PAGLIUCA: I'm sorry, you are       22       Q. I appreciate that.
23      not admitted in this proceeding so you     23           So Ms. Maxwell, when did you first
24      are not entitled to make any record. If    24   recruit a female to work for Mr. Epstein?
25      Ms. McCawley wants to make a record she    25           MR. PAGLIUCA: Again. I object to
                                        Page 7                                              Page 9
 1        G Maxwell - Confidential                  1        G Maxwell - Confidential
 2      can.                                        2      form and foundation of the question.
 3          MR. EDWARDS: I can make a record        3      Q. You can answer the question.
 4      right now.                                  4      A. First of all, can you please
 5          MR. PAGLIUCA: Maybe we should get       5   clarify the question. I don't understand
 6      the judge on the phone and talk about       6   what you mean by female, I don't understand
 7      it.                                         7   what you mean by recruit. Please be more
 8          MR. EDWARDS: The record will be         8   clear and specific about what you are
 9      short. This is the precise reason why       9   suggesting.
10      Ms. Giuffre wants me in this case and      10      Q. Are you a female, is that the sex
11      I'm unable to effectively represent her    11   that you are?
12      at this time because I am unable to have   12      A. I am a female.
13      access to the confidential information     13      Q. That's what I'm referring to a
14      which includes apparently the entire       14   female and I'm asking you when you first, the
15      deposition of Ms. Maxwell. But for the     15   very first time you recruited a female to
16      sake of not further delaying this, I       16   work for Mr. Epstein?
17      will be outside the room.                  17      A. Again, I don't understand what
18          MS. McCAWLEY: Thank you.               18   female -- I am a 54 year old women.
19      A. I would like to just -- wait for        19      Q. I'm not making it age, any age of a
20   him to leave.                                 20   female that you recruited to work for Mr.
21      Q. That's fine.                            21   Epstein?
22      A. I would just like to clarify the        22      A. Again, I was somebody who hired a
23   address. I'm in the process of selling the    23   number of people to work for Mr. Epstein and
24   house so while while I still receive mail     24   hiring is one of my functions.
25   there, it's not my actual physical address.   25      Q. And when is the first time you




                                                                         3 (Pages 6 to 9)
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                                        Page 10                                              Page 12
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   hired someone to work for Mr. Epstein, a         2          MR. PAGLIUCA: Object to the form
 3   female?                                          3       and foundation.
 4      A. As best as I can recollect, a woman        4       A. My job entailed running the homes
 5   the age probably of about 40 or 50 was in        5   that he had but much more importantly, most
 6   sometime in 1992.                                6   of the houses had construction and so whilst
 7      Q. How long did you work for Mr.              7   in 1992 there was no construction project,
 8   Epstein?                                         8   there was construction projects that began
 9      A. I started working for him at some          9   after that time and I was in charge not only
10   point in 1992 and the nature of my work         10   of hiring architects, I was also in charge of
11   relationship with him changed over time so      11   all the filings or overseeing that, like a
12   from around 2002, 2003, the work lessened       12   general contractor would.
13   considerably.                                   13          I also helped with hiring the
14      Q. When did you --                           14   architects, hiring the builders, reviewing
15          MR. PAGLIUCA: Can I interject for        15   the contracts for the builders, coordinating
16      a moment. If we are talking about            16   the building projects, coordinating how the
17      background --                                17   projects would layout, the timing of the
18          MS. McCAWLEY: I'm in the middle of       18   projects and all the various materials that
19      a question. Let me finish it and then        19   they would require to run a very substantial
20      can you interject.                           20   building project. That's the nature of the
21      Q. When you say 2002 to 2003 that the        21   job I was dealing with.
22   work lessened, when did you complete working    22       Q. How old was the youngest female you
23   for Mr. Epstein; when was the last time you     23   ever hired to work for Jeffrey?
24   were employed by him, the last date?            24          MR. PAGLIUCA: Object to the form
25      A. I believe I still was doing --            25       and foundation.
                                        Page 11                                              Page 13
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   helping him in a very nominal way, maybe an      2       Q. You can answer.
 3   hour or two a year at sometime 2008 and 2009.    3       A. I have not any idea exactly of the
 4          MR. PAGLIUCA: So if you are going         4   youngest adult employee that I hired for
 5      to be talking about general background,       5   Jeffrey.
 6      I don't need to designate that as             6       Q. When you say adult employee, did
 7      confidential. So if you want to have          7   you ever hire someone that was under the age
 8      them come back in, that's fine.               8   of 18?
 9          I assumed by your first question          9       A. Never.
10      you were going into more sensitive           10       Q. Did you ever bring someone who was
11      areas. I will leave it up to you, but        11   under -- invite someone under the age of 18
12      if this is general background it will        12   to Jeffrey's home, any of his homes?
13      not be designated as confidential.           13          MR. PAGLIUCA: Object to the form
14          MS. McCAWLEY: I appreciate that.         14       foundation.
15      I will jump back into my other               15       A. Can you repeat the question?
16      questions.                                   16       Q. Did you ever invite anybody who was
17          MR. PAGLIUCA: So we will keep it         17   under the age of 18 to Jeffrey's homes?
18      as confidential.                             18          MR. PAGLIUCA: Same objections.
19      Q. When you were first employed by him       19       A. I have a number of friends that
20   in 1992, what were you hired to do?             20   have children and friends of mine that have
21      A. First, I was consulting and what I        21   kids and in the invitation of my friends and
22   did was I helped with decorating houses and     22   their kids, I'm sure I may have invited some
23   in hiring staff to help run those houses.       23   of my friend's kids to come.
24      Q. Did your duties change over the           24       Q. Anybody that is not a friend of
25   course of 1992 to 2009?                         25   yours.




                                                                        4 (Pages 10 to 13)
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                                        Page 14                                             Page 16
 1        G Maxwell - Confidential                    1         G Maxwell - Confidential
 2          Any female under the age of 18, did       2       A. Ms. Roberts held herself out --
 3   you invite them to come to Jeffrey's home?       3       Q. I'm not asking how she held herself
 4          MR. PAGLIUCA: Object to the form          4   out. I'm asking how she arrived at the home.
 5      and foundation.                               5   Did you meet her and invite her to come to
 6      A. Again, as I said, I am not aware of        6   the home or how did she arrive there?
 7   inviting anybody other than friends of mine      7          MR. PAGLIUCA: Object to the form
 8   who have children to the house.                  8       and foundation.
 9      Q. Did you invite Virginia Giuffre to         9       A. Ms. Roberts held her to be a
10   come to Jeffrey Epstein's home when she was     10   masseuse and her mother drove her to the
11   under the age of 18?                            11   house.
12          MR. PAGLIUCA: Object to the form         12       Q. When did you first meet Virginia
13      and foundation.                              13   Roberts?
14      A. Virginia Roberts held herself out         14       A. I don't have a recollection of the
15   as a masseuse and invited herself to come and   15   first meeting.
16   give a massage.                                 16       Q. Do you recall meeting her at
17      Q. My question is, did you invite            17   Mar-a-Lago?
18   Virginia Roberts when she was under the age     18       A. Like I said, I don't have a
19   of 18 to come to Jeffrey Epstein's home?        19   recollection of meeting Ms. Roberts.
20          MR. PAGLIUCA: Object to the form         20       Q. So you recall Ms. Roberts being
21      and foundation.                              21   brought to the home by her mother, is that
22      A. Again, Virginia Roberts was a             22   your testimony?
23   masseuse --                                     23       A. That is my testimony.
24      Q. I'm asking not asking if she was a        24       Q. And that is the first time you met
25   masseuse. I'm asking if you invited her to      25   her?
                                        Page 15                                             Page 17
 1       G Maxwell - Confidential                     1        G Maxwell - Confidential
 2   come to Jeffrey Epstein's home?                  2      A. Like I said, I don't recall meeting
 3      A. Again, there would be no course to         3   her the first time. I do remember her mother
 4   have a conversation with Virginia unless she     4   bringing her to the house.
 5   held herself out to be a masseuse.               5      Q. Are you a member at Mar-a-Lago?
 6      Q. I'm not asking that question. I'm          6      A. No.
 7   asking if you invited her to come to Jeffrey     7      Q. Have you visited Mar-a-Lago?
 8   Epstein's home when she was under the age of     8      A. Yes.
 9   18?                                              9      Q. Did you visit Mar-a-Lago in the
10      A. Again, I repeat, she was a masseuse       10   year 2000?
11   and in the form and as my job, I was to have    11      A. I'm pretty sure I did.
12   people who he wanted for various things         12      Q. When Ms. Roberts arrived at the
13   including massage. She came as a masseuse.      13   home with her mother, what happened?
14      Q. So you invited her to his home to         14      A. I spoke to her mother outside of
15   come to give a massage, is that correct?        15   the house and she -- what I don't recall is
16         MR. PAGLIUCA: Object to the form          16   exactly what happened because I was talking
17      and foundation. Misstates the witness'       17   to her mother the entire she was in the
18      testimony.                                   18   house.
19      A. Again, I did not invite Virginia          19      Q. Did you introduce Ms. Roberts to
20   Roberts. She came as a masseuse.                20   Jeffrey Epstein?
21      Q. She who invited her to come as a          21      A. I don't recall how she actually met
22   masseuse, she just showed up at the front       22   Mr. Epstein. As I said, I spoke to her
23   door?                                           23   mother the entire time outside the house.
24         MR. PAGLIUCA: Object to the form          24      Q. Did you walk Ms. Roberts up to the
25      and foundation.                              25   upstairs location at the Palm Beach house to




                                                                        5 (Pages 14 to 17)
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                                        Page 18                                              Page 20
 1        G Maxwell - Confidential                    1       G Maxwell - Confidential
 2   meet Mr. Epstein?                                2     you not to answer that question. I
 3           MR. PAGLIUCA: Object to the form         3     don't have any problem with you asking
 4       and foundation.                              4     questions about what the subject matter
 5       Q. You can answer.                           5     of this lawsuit is, which would be, as
 6       A. I just explained.                         6     you've termed it, sexual trafficking of
 7       A. I spent the entire time talking to        7     Ms. Roberts.
 8   Virginia's mother outside the house so the       8         To the extent you are asking for
 9   answer to the question is no.                    9     information relating to any consensual
10       Q. No, did you not walk her up and          10     adult interaction between my client and
11   introduce her to Mr. Epstein?                   11     Mr. Epstein, I'm going to instruct her
12       A. I just said no.                          12     not to answer because it's not part of
13       Q. Did you participate in a massage         13     this litigation and it is her private
14   this first time when she first came to the      14     confidential information, not subject to
15   home and you were speaking with her mother,     15     this deposition.
16   she was in the home, is that correct, you       16         MS. McCAWLEY: You can instruct her
17   brought her into the home?                      17     not to answer. That is your right. But
18           MR. PAGLIUCA: Object to the form        18     I will bring her back for another
19       and foundation.                             19     deposition because it is part of the
20       A. I will repeat again, I was standing      20     subject matter of this litigation so she
21   outside with her mother so very difficult for   21     should be answering these questions.
22   me to do anything else at that time so no, I    22     This is civil litigation, deposition and
23   did not take her upstairs.                      23     she should be responsible for answering
24       Q. Did you participate --                   24     these questions.
25       A. Virginia lied 100 percent about          25         MR. PAGLIUCA: I disagree and you
                                        Page 19                                              Page 21
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   absolutely everything that took place in that    2      understand the bounds that I put on it.
 3   first meeting. She has lied repeatedly,          3          MS. McCAWLEY: No, I don't. I will
 4   often and is just an awful fantasist. So         4      continue to ask my questions and you can
 5   very difficult for anything to take place        5      continue to make your objections.
 6   that she repeated because I was with her         6      Q. Did you ever participate from the
 7   mother the entire time.                          7   time period of 1992 to 2009, did you ever
 8       Q. So did you have -- did you give a         8   participate in a massage with Jeffrey Epstein
 9   massage with Virginia Roberts and Mr. Epstein    9   and another female?
10   during the first time Virginia Roberts was at   10          MR. PAGLIUCA: Objection. Do not
11   the West Palm Beach house?                      11      answer that question. Again, to the
12          MR. PAGLIUCA: Object to the form         12      extent you are asking for some sort of
13       and foundation.                             13      illegal activity as you've construed in
14       Q. Yes or no?                               14      connection with this case I don't have
15       A. No.                                      15      any problem with you asking that
16       Q. Have you ever given a massage with       16      question. To the extent these questions
17   Virginia Roberts in the room and Jeffrey        17      involve consensual acts between adults,
18   Epstein?                                        18      frankly, they're none of your business
19          MR. PAGLIUCA: Object to the form         19      and I will instruct the witness not to
20       and foundation.                             20      answer.
21       A. No.                                      21          MS. McCAWLEY: This case involves
22       Q. Have you ever given Jeffrey Epstein      22      sexual trafficking, sexual abuse,
23   a massage?                                      23      questions about her having interactions
24          MR. PAGLIUCA: Object to the form,        24      with other females is relevant to this
25       foundation. And I'm going to instruct       25      case. She needs to answer these




                                                                        6 (Pages 18 to 21)
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                                        Page 22                                               Page 24
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      questions.                                    2          MR. PAGLIUCA: Object to the form
 3         MR. PAGLIUCA: I'm instructing her          3      and foundation.
 4      not to answer.                                4      A. How would I possibly know how
 5         MS. McCAWLEY: Then we will be back         5   someone is when they are at his house. You
 6      here again.                                   6   are asking me to do that. I cannot possibly
 7      Q. Have you ever given a massage to           7   testify to that. As far as I'm concerned,
 8   Mr. Epstein with a female that was under the     8   everyone who came to his house was an adult
 9   age of 18?                                       9   professional person.
10      A. Can you repeat the question?              10      Q. Are you familiar with the police
11      Q. Yes. Have you ever given a massage        11   report that was issued in respect to the
12   to Mr. Epstein with a female that was under     12   investigation in this matter?
13   the age of 18?                                  13          MR. PAGLIUCA: Object to the form
14      A. No.                                       14      and foundation.
15      Q. Have you ever observed Mr. Epstein        15      Q. Are you familiar with the police
16   having a massage given by an individual, a      16   report that was used in this matter, the
17   female, who was under the age of 18?            17   investigation of Jeffrey Epstein, has been
18      A. No.                                       18   produced as a document in this matter?
19      Q. Have you ever observed females            19      A. I have seen a police report.
20   under the age of 18 in the presence of          20          (Maxwell Exhibit 1, police report,
21   Jeffrey Epstein at his home?                    21      marked for identification.)
22         MR. PAGLIUCA: Object to the form          22      Q. The police report that you have in
23      and foundation.                              23   front of you, can you turn to page 28 of that
24      A. Again, I have friends that have           24   report, the numbers are on the top right-hand
25   children --                                     25   corner.
                                        Page 23                                               Page 25
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2       Q. I'm not talking about friends. I'm        2          You will see some redactions in
 3   talking about individuals --                     3   this report, Ms. Maxwell, the redacted
 4           MR. PAGLIUCA: I'm going to object        4   information is redacted because it reveals
 5       to you interrupting the witness who was      5   the name of a minor, someone who is under the
 6       answering your question. The question        6   age of 18.
 7       was, have you ever seen anyone, female       7          On page 28, in the third paragraph,
 8       under the age of 18 at the house and         8   about halfway down, it says,           stated
 9       that's the question she was answering.       9   she performed the massage naked. At the
10       If you want to strike that question and     10   conclusion of this massage, Epstein paid
11       ask another question, feel free, but let    11             $200 for the massage. He explained, I
12       the witness respond, please.                12   know you are not comfortable put I will pay
13           MS. McCAWLEY: I will do that.           13   you if you bring some girls. He told her the
14       Q. Have you ever observed a female          14   younger the better.           stated once tried
15   under the age of 18 at Jeffrey Epstein's home   15   to bring a 23 year old to Epstein and he
16   that was not a friend, a child -- one of your   16   stated the female was too old.
17   friend's children?                              17          Have you heard Mr. Epstein use the
18       A. Again, I can't testify to that           18   phrase the younger the better?
19   because I have no idea what you are talking     19      A. I have no recollection of hearing
20   about.                                          20   that.
21       Q. You have no idea what I'm talking        21      Q. Have you used the phrase in talking
22   about in the sense you never observed a         22   to              and asking her to recruit
23   female under the age of 18 at Jeffrey           23   females for Mr. Epstein, the younger the
24   Epstein's home that was not one of your         24   better?
25   friend's children, is that correct?             25          MR. PAGLIUCA: Object to the form




                                                                        7 (Pages 22 to 25)
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                                           Page 26                                               Page 28
 1         G Maxwell - Confidential                       1        G Maxwell - Confidential
 2       and foundation of the question.                  2       A. First of all, as I said when I was
 3       A. First of all, can you break the               3   present --
 4   question apart.                                      4       Q. It is a yes or no.
 5       Q. Have you used the phrase the                  5       A. No, it is not.
 6   younger the better in speaking to                    6       Q. You can answer the question in full
 7   and asking her to recruit females for Jeffrey        7   but please provide yes or no as an initial
 8   Epstein?                                             8   matter.
 9          MR. PAGLIUCA: Object to the form              9       A. I cannot answer yes or no, it's not
10       and foundation.                                 10   bounded by time. It's entirely possible I
11       Q. You can answer. It's yes or no.              11   could have been in a room or even in the
12       A. No, that's absolutely not true, on           12   vicinity of Palm beach when somebody came and
13   the second part of your question, I have not        13   I would not know. How would I know when
14   asked Virginia to recruit females and the           14   somebody was in the house. There is no way I
15   first part of your question, if you can             15   can know.
16   repeat that again, the question you asked.          16       Q. Did you stay at Jeffrey Epstein's
17       Q. Will you read back the question.             17   home when you were in Palm Beach?
18          (Record read.)                               18       A. Most of the time.
19       A. I believe I answered the later part          19       Q. So how is it that you wouldn't know
20   of the question. The first part of the              20   if there was a female in the home under the
21   question, it's impossible for me to recall          21   age of 18 if you were staying there?
22   events that took place 16 years ago but it          22       A. Well, first of all, when I was
23   doesn't sound like something I would say.           23   staying there, the house is actually quite
24       Q. On page 28, that same paragraph,             24   large and I have a very busy job and I had an
25             was asked how many girls in total she     25   office with a door so the door would be shut
                                           Page 27                                               Page 29
 1        G Maxwell - Confidential                        1        G Maxwell - Confidential
 2   brought to Epstein.            stated that she       2   and I would be working. I'm not responsible
 3   can remember,             stated that she brought    3   for what Jeffrey does and I don't always pay
 4   and, it's redacted there, and the victim in          4   attention to what happens in the house. I'm
 5   this case.                                           5   very busy.
 6          Let me ask my question, I have a              6       Q. So you're testifying that you never
 7   question pending right now.                          7   observed a female under the age of 18 at
 8          Are you testifying that you are               8   Jeffrey Epstein's West Palm Beach home?
 9   unaware of any underage, under the age of 18,        9          MR. PAGLIUCA: Object to the form
10   females coming to Jeffrey Epstein's home to         10       and foundation.
11   perform massages?                                   11       A. I already answered that question, I
12          MR. PAGLIUCA: Object to the form             12   believe.
13       foundation.                                     13       Q. You didn't answer my question.
14       A. You need to straddle that question           14       A. I did.
15   in a different time period. When I was              15       Q. Did you observe a female under the
16   there, at the time I was present, the people        16   age of 18 at Jeffrey Epstein's home in Palm
17   that gave Jeffrey, men and women who gave           17   Beach?
18   Jeffrey massages were adults over the age of        18       A. Like I said, I work, I don't sit
19   18.                                                 19   there and watch people coming in and out of
20       Q. Never in your time at any of                 20   the house. I cannot possibly tell you if I'm
21   Jeffrey Epstein's homes were you present when       21   in the home that somebody was there that I
22   a female under the age of 18 was there to           22   did not see, I cannot comment on it, I have
23   give Jeffrey Epstein a massage?                     23   no idea.
24          MR. PAGLIUCA: Object to the form             24       Q. Did you observe females at Jeffrey
25       and foundation.                                 25   Epstein's home that were laying out topless




                                                                            8 (Pages 26 to 29)
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                                         Page 30                                              Page 32
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   in the back of the home, in other words          2       Q. Did you ever hire a masseuse that
  3   without a shirt on?                              3   was under the age of 18?
  4       A. So that's just another of                 4           MR. PAGLIUCA: Object to the form
  5   Virginia's lies. So let's be clear, at the       5       and foundation.
  6   time when I was there and present, frequently    6       Q. Did you?
  7   at the house, it was unusual to see people       7       A. Again, I don't hire massage
  8   without their clothes on.                        8   therapists, so that was not my job.
  9       Q. When you say unusual, did you             9       Q. You just said you did, you just
 10   observe people without their clothes at         10   said you hired massage therapists for Jeffrey
 11   Jeffrey Espstein's home?                        11   Epstein, I'm asking if you hired a massage
 12       A. Can I answer. Sometimes people in        12   therapist who was under the age of 18?
 13   the privacy of a house and swimming pool, I     13       A. Let me correct myself. When I
 14   have seen people from time to time take their   14   meant hire, I didn't mean hire in the way you
 15   top off. I have seen people from time to        15   are doing it. What I say is that I went to
 16   time do that. Very unusual. Naked people        16   spas and I met people and if they did home
 17   around the people at any frequent period of     17   visits, Jeffrey would then, in fact, hire
 18   time, I have never seen.                        18   them. I'm not responsible for hiring
 19       Q. Were they under the age of 18?           19   someone. And they were not full-time, so
 20       A. As I was saying, people when I was       20   it's not a correct characterization.
 21   in the house, were of adult age, if they were   21       Q. Did you ever, your term is meet,
 22   children, friends of my family or friends       22   did you ever meet a person that was under the
 23   that were there, they may well have been        23   age of 18 that you -- that Jeffrey then hired
 24   because I have nieces and nephews under the     24   as a masseuse?
 25   age of 18, I cannot testify to anybody else     25           MR. PAGLIUCA: Object to the form
                                         Page 31                                              Page 33
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   -- just another one of Virginia's many           2      and foundation.
  3   fictitious lies and stories to make this a       3      A. First of all, Virginia Roberts who
  4   salacious event to get interest and press.       4   you are referring to was a masseuse aged 17,
  5   It's absolute rubbish.                           5   we all now know, so your story that you keep
  6       Q. Were you in charge of hiring              6   pushing out to the press that she was a 15
  7   individuals to provide massages for Jeffrey      7   year old -- you and I both know was a lie,
  8   Epstein?                                         8   correct.
  9       A. My job included hiring many people.       9      Q. You are not sentencing my question.
 10   There were six homes. As I sit here, I hired    10      A. You and I both know that was a lie,
 11   assistants, I hired architects, I hired         11   correct.
 12   decorators, I hired cooks, I hired cleaners,    12      Q. You are not answering my question.
 13   I hired gardeners, I hired pool people, I       13   I'm asking you whether you ever met a female
 14   hired pilots, I hired all sorts of people.      14   under the age of 18 that Jeffrey then hired
 15           In the course and a very small part     15   as a masseuse?
 16   of my job was from from time to time to find    16          MR. PAGLIUCA: Object to the form
 17   adult professional massage therapists for       17      and foundation.
 18   Jeffrey.                                        18      A. The only person I can talk about
 19       Q. When you say adult professional          19   who clearly was a massage age 17, a masseuse,
 20   massage therapists, where did you find these    20   was Virginia.
 21   massage therapists?                             21      Q. Did you meet her and then introduce
 22       A. From time to time I would visit          22   her to Jeffrey?
 23   professional spas, I would receive a massage    23      A. I don't know. I already testified
 24   and if the massage was good I would ask that    24   I don't recall meeting her.
 25   man or woman if they did home visits.           25          (Maxwell Exhibit 2, email, marked




                                                                         9 (Pages 30 to 33)
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                                         Page 34                                             Page 36
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       for identification.)                         2       Q. Are you questioning that this
  3       Q. So I'm showing you a document that        3   document is incorrect, this document -- this
  4   we have marked as Maxwell Exhibit 2. It's a      4   email that you wrote?
  5   document you produced in this matter labeled     5       A. I wrote an email. I was trying to
  6   confidential GM 00109. It's dated Sunday         6   be accurate, so who knows, with all the
  7   June 12, 2011. It's from Jeffrey Epstein to      7   rubbish that you guys have put out in the
  8   you. If you can turn to page 4 -- sorry, can     8   press that I read, maybe in the moment I
  9   you turn to the first page, the cover page       9   wrote it a memory came to me that I don't
 10   initially which is 00109. If you look under     10   know, but as I sit here today and the
 11   the time stamp it says, June 12, 2011 at 4:12   11   testimony I gave you today is I don't
 12   p.m., it says                         .         12   recollect it.
 13           Is that your email address?             13       Q. Does this refresh your recollection
 14       A. It is.                                   14   that you recalled meeting Ms. Roberts at
 15       Q. Under that it says, Thank you. I         15   Mar-a-Lago?
 16   have it now and I'm working on a letter, a      16       A. It does not.
 17   little, I will send the final version           17       Q. So your testimony today is that you
 18   tomorrow and what ever it is will be            18   don't remember meeting Ms. Roberts at
 19   factually accurate.                             19   Mar-a-Lago?
 20           Do you see that on page 1?              20       A. I do not.
 21       A. I do.                                    21          I just want to clarify, when you
 22       Q. Then I would like you to turn to         22   read so much stuff and so much rubbish that
 23   page 4 please. The second paragraph down on     23   comes out from Virginia Roberts, you don't
 24   page 4, it states, After some thought, I        24   know what's up and down, at the time I wrote
 25   recall that I first met Ms. Roberts when she    25   this I believe I had a memory but as I sit
                                         Page 35                                             Page 37
  1        G Maxwell - Confidential                    1       G Maxwell - Confidential
  2   was working at a premier resort claiming to      2   here today I do not.
  3   be 18 years old and a professional masseuse?     3      Q. Ms. Maxwell, when did you first
  4          MR. PAGLIUCA: What line are you           4   meet
  5       on, counsel.                                 5          MR. PAGLIUCA: Object to the form
  6          MS. McCAWLEY: Second paragraph            6      and foundation.
  7       down.                                        7      A. I have no idea when I met her.
  8          MR. PAGLIUCA: I got it.                   8      Q. Do you know how old she was when
  9       Q. Is that a statement that you wrote?       9   you met her?
 10       A. It appears to be.                        10      A. I have no idea how old she was when
 11       Q. So does that correct your testimony      11   I met her.
 12   that you did meet Ms. Roberts at Mar-a-Lago?    12      Q. Is it possible she was 13 years old
 13       A. Again, this was written in, when         13   when you first met her?
 14   were you saying?                                14          MR. PAGLIUCA: Object to the form
 15       Q. 2011.                                    15      and foundation.
 16       A. So by 2011, Ms. Roberts had already      16      A.
 17   perpetrated so many lies and stories it's
 18   hard for me to accurately tell you today what   18   may have been in the house when Jeffrey was
 19   I remember back then. As I sit here today,      19   in the house. I have no idea how old she
 20   the testimony I give you today, I do not        20   was.
 21   recollect it.                                   21       Q. I understand
 22       Q. Do you have a reason to say that         22           .
 23   this document that you wrote is incorrect?      23          I'm asking if              was 13
 24       A. It's in 2011, I can't possibly tell      24   years old when you first met her?
 25   you what I remember in 2011.                    25       A. I have no idea.




                                                                       10 (Pages 34 to 37)
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                                           Page 38                                              Page 40
  1         G Maxwell - Confidential                     1       G Maxwell - Confidential
  2       Q. Was she under 18 when you first met         2
  3   her?                                               3          MR. PAGLIUCA: Object to the form
  4       A. I have no idea how old she was when         4       and foundation.
  5   I first met her.                                   5       Q. Is that your testimony?
  6       Q. Did she look like a child when you          6       A. I already said I don't recall all
  7   first met her?                                     7   the times I've seen her and I have no memory
  8       A. I don't remember what she looked            8   of that.
  9   like at the time she was in the house.             9       Q. Have you ever seen                in
 10       Q. How many years have you known her?         10   the house with Jeffrey Epstein
 11       A. I can only recall the last time I          11
 12   saw her.                                          12          MR. PAGLIUCA: Object to the form
 13       Q. When was the first time you met            13      and foundation.
 14   her?                                              14      A. I just told you I don't recall
 15       A. Again, I just told you, I don't            15   seeing
 16   recall the first time I met her.                  16      Q. Were you ever involved in an orgy
 17       Q. Did                   travel with you      17   with                ?
 18   on Jeffrey's planes?                              18      A. No, absolutely not.
 19       A. I wouldn't remember if            was on   19      Q. Can you tell me, do you know an
 20   the plane or not.                                 20   individual by the name of
 21       Q. Did you ever have sex with                 21      A. I do.
 22            ?                                        22      Q. How did you meet                     ?
 23       A. No.                                        23      A. At some point she was a friend of
 24       Q. Did you ever observe Jeffrey having        24   Jeffrey's and I recall meeting her at some
 25   sex with                 ?                        25   point.
                                           Page 39                                              Page 41
  1       G Maxwell - Confidential                       1        G Maxwell - Confidential
  2      A. No.                                          2       Q. Did you hire her?
  3      Q. Were you aware that Jeffrey was              3       A. First of all, I don't hire girls
  4   having sexual contact with                 when    4   like that, so let's be clear, I already
  5   she was 13 years old?                              5   testified to that, and I have no idea what
  6         MR. PAGLIUCA: Object to the form             6   you are referring to.
  7      and foundation.                                 7       Q. When you say girls like that, what
  8      A. I would be very shocked and                  8   do you mean?
  9   surprised if that were true.                       9       A. I hire people who are professional
 10      Q. Were you in the house when                  10   at the house. You are asking if I hired
 11           was in the house in a private area        11   somebody to do what, I don't know what you
 12   with Jeffrey Epstein?                             12   are talking about. I hired people to work in
 13         MR. PAGLIUCA: Object to the form            13   the homes.
 14      and foundation.                                14       Q. What was Nadia Marcinkova doing?
 15      A. Can you repeat the question.                15          MR. PAGLIUCA: Object to the form
 16      Q. Were you ever in the Palm Beach             16       and foundation.
 17   house when Jeffrey Epstein was in the house       17       A. I have no idea what Nadia
 18   with                ?                             18   Marcinkova was doing. I didn't hire her and
 19         MR. PAGLIUCA: Object to the form            19   I don't know what you are referring to.
 20      and foundation.                                20       Q. You met Nadia Marcinkova?
 21      A. I've already testified that I have          21       A. I testified I did.
 22   met her and that she was there                    22       Q. Did she work for Jeffrey Epstein?
 23          . I don't understand what your             23       A. I have no idea what she did.
 24   question is asking.                               24       Q. Have you flown on planes with Nadia
 25      Q. So you have never seen                      25   Marcinkova?




                                                                         11 (Pages 38 to 41)
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                                          Page 42                                                 Page 44
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2       A. I don't recollect. I don't know if          2       evidence. The witness already testified
  3   I did.                                             3       she doesn't remember.
  4       Q. How many times have you flown on            4       Q. You can answer that question.
  5   Jeffrey Epstein's planes?                          5          Did you ever ask her on the many
  6       A. Too many times.                             6   flights you were with her or the many times
  7       Q. More than 300?                              7   you were with her at the house?
  8       A. I really couldn't tell you how              8       A. First of all, I don't know I was on
  9   many.                                              9   many flights with her, you are making stories
 10       Q. More than 400?                             10   up again as usual. And secondly, if I was on
 11       A. Again, I said I cannot tell you how        11   a flight with her, there would not be any
 12   many, a lot.                                      12   reason why I would ask her how old she was.
 13       Q. How many times with                        13       Q. You don't recollect having any
 14                ?                                    14   conversation with her about her age?
 15       A. I already testified, I have no             15       A. I already testified to that.
 16   idea.                                             16       Q. Do you know what
 17       Q. How old was                         when   17   was hired to do for Jeffrey?
 18   she first became involved with Jeffrey?           18       A. I already testified I didn't know
 19       A. I have no idea.                            19   she was hired and I don't know that she did
 20       Q. Was she 14?                                20   anything. I don't know how to answer that
 21          MR. PAGLIUCA: Object to the form           21   question.
 22       and foundation.                               22       Q. Was                        at the house,
 23       A. I have no idea.                            23   the Palm Beach house, when you were present
 24       Q. Did she look like a child the first        24   at that house?
 25   time you met her?                                 25          MR. PAGLIUCA: Object to the
                                          Page 43                                                 Page 45
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Object to the form            2       foundation.
  3      and foundation. Asked and answered.             3       A. I have no recollection of her being
  4       Q. Did she look like a child the first         4   at the house at the same time as me.
  5   time you met                         ?             5       Q. When did you first meet
  6       A. I don't know what you mean if she           6                ?
  7   looked like a child.                               7       A. I already told you I don't recall.
  8       Q. Did she look like she was under the         8       Q. Do you recall anything about
  9   age of 18?                                         9                ?
 10       A. No.                                        10       A. That she was tall and blond.
 11       Q. Did she look like she was under the        11       Q. Do you recall
 12   age of 16?                                        12   interacting with other females at the house?
 13       A. I just testified -- first of all, I        13       A. No, I do not.
 14   couldn't tell you how old she was, she didn't     14       Q. Did you arrange to get a visa for
 15   like like a child, leave it at that.              15                        to come into this country?
 16       Q. Did you know that she was a child?         16          MR. PAGLIUCA: Object to the form
 17          MR. PAGLIUCA: Object to the form           17       and foundation.
 18       and foundation.                               18       A. Absolutely not.
 19       A. I just answered I did not know how         19       Q. Did Jeffrey arrange for a visa for
 20   old she was and she looked like an adult.         20                       ?
 21       Q. In the times that you traveled with        21          MR. PAGLIUCA: You need to give me
 22   her on Jeffrey Epstein's planes, did you ever     22       a break so I can interpose an objection.
 23   ask her how old she was?                          23          Object to the form and foundation.
 24          MR. PAGLIUCA: Object to the form           24       Q. You can answer.
 25       and foundation. Assumes facts not in          25       A. What was the question?




                                                                          12 (Pages 42 to 45)
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                                        Page 46                                             Page 48
  1        G Maxwell - Confidential                  1        G Maxwell - Confidential
  2      Q. Did Jeffrey arrange for a visa for       2   Jeffrey?
  3                      ?                           3          MR. PAGLIUCA: Object to the form
  4      A. I don't know what Jeffrey did. I         4       and foundation.
  5   cannot testify what Jeffrey did.               5       A. I don't know exactly the nature of
  6      Q. Was           involved in sex with       6   her relationship but she worked for him.
  7   Jeffrey and other girls?                       7       Q. What did she do?
  8         MR. PAGLIUCA: Object to the form         8          MR. PAGLIUCA: Object to the form
  9      and foundation.                             9       and foundation.
 10      Q. Girls under the age of 18?              10       A. At the time she when was with him I
 11         MR. PAGLIUCA: Same objection.           11   believe she traveled with him and helped with
 12      A. I have no idea.                         12   his travel arrangements.
 13      Q. Was           involved with sex with    13       Q. Did she bring girls to the house to
 14   Jeffrey and girls over the age of 18?         14   give massages to Jeffrey?
 15         MR. PAGLIUCA: Same objection.           15          MR. PAGLIUCA: Object to the form
 16      A. I have no idea.                         16       and foundation.
 17      Q. Did          recruit other girls for    17       A. I don't know what         did.
 18   sex with Jeffrey?                             18       Q. So you never observed
 19         MR. PAGLIUCA: Object to the form        19   bringing girls to the home to give massages
 20      and foundation.                            20   to Jeffrey?
 21      A. I have no idea.                         21          MR. PAGLIUCA: Object to the form
 22      Q. Do you still talk to                    22       and foundation.
 23      A. No.                                     23       A. I don't understand the question,
 24      Q.                ?                        24   what did you mean bring?
 25      A. I have no idea.                         25       Q. Did you ever observe
                                        Page 47                                             Page 49
  1       G Maxwell - Confidential                   1         G Maxwell - Confidential
  2                                                  2   inviting, bringing, walking anyone into the
  3                                                  3   home to give a massage for Jeffrey?
  4      A.   I have no idea.                        4           MR. PAGLIUCA: Object to the form
  5      Q.   Are you a pilot?                       5       and foundation.
  6      A.   I am.                                  6       A. I don't recollect anything like
  7      Q.   Have you flown with               ?    7   that.
  8      A.   I have.                                8       Q. Are you aware that                 was
  9      Q.   Have you flown with                    9   a co-conspirator, named as a co-conspirator
 10                                                 10   in the case involving Jeffrey Epstein?
 11      A. What do you mean by flown?              11           MR. PAGLIUCA: Object to the form
 12      Q. Have you been on planes with her?       12       and foundation and also calls for a
 13      A. I already testified I don't recall      13       legal conclusion.
 14   having her on a plane with me.                14           MS. McCAWLEY I'm just asking if she
 15      Q. Do you know                             15       is aware of that.
 16      A. I do.                                   16       A. I am aware.
 17      Q. When did you first meet her?            17       Q. Who paid                 ?
 18      A. I don't recall exact dates.             18       A. I have no idea.
 19      Q. Did you meet her with the purpose       19       Q. Did you ever arrange payment for
 20   of hiring her to work for Jeffrey or having   20   any of the employees at the home?
 21   Jeffrey hire her?                             21           MR. PAGLIUCA: Object to the form.
 22          MR. PAGLIUCA: Object to the form       22       A. What do you mean by arrange?
 23      and foundation.                            23       Q. Were you ever in charge or
 24      A. No.                                     24   responsible for paying individuals at the
 25      Q. What was her relationship with          25   home, that worked there?




                                                                     13 (Pages 46 to 49)
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                                         Page 50                                              Page 52
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      A. People had salaries and they were          2   for sexual acts.
  3   paid by the office.                              3      Q. I'm asking if they performed sexual
  4      Q. Did you ever pay any individual,           4   acts?
  5   did you ever hand an individual cash for work    5          MR. PAGLIUCA: Object to the form
  6   they performed?                                  6      and foundation.
  7          MR. PAGLIUCA: Object to the form.         7      Q. Did any of the massage therapists
  8      A. Can you be more specific about what        8   who were at the home perform sexual acts for
  9   you are asking me.                               9   Jeffrey Epstein?
 10      Q. Did you ever hand any individual          10      A. I don't know what you mean by
 11   who was working at the home cash as payment     11   sexual acts.
 12   for something that they performed at the        12      Q. Did any of the massage therapists
 13   home?                                           13   who were working at the home perform sexual
 14          MR. PAGLIUCA: Object to the form.        14   acts, including touching the breasts,
 15      A. To the best of my recollection            15   touching the vaginal area, being touched
 16   there were very few times where I would leave   16   while Jeffrey is masturbating, having
 17   some cash for people for work performed.        17   intercourse, any of those things?
 18      Q. And what type of work was being           18          MR. PAGLIUCA: Objection. Form and
 19   performed where you would be doing that?        19      foundation.
 20      A. If I left cash for the pool guy, I        20          To the extent any of this is asking
 21   would have left potentially some cash for the   21      for to your knowledge any consensual sex
 22   gardener, potentially for exercise              22      act that may or may not have involved
 23   instructors and sometimes for massage           23      you, I'm instructing you not to answer
 24   therapy.                                        24      the question.
 25      Q. How much were the massage                 25      Q. I'm not asking about consensual sex
                                         Page 51                                              Page 53
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   therapists paid?                                 2   acts. I'm asking whether any of the massage
  3          MR. PAGLIUCA: Object to the form          3   therapists performed sexual acts for Mr.
  4       and foundation.                              4   Epstein, as I have just described?
  5       A. They get paid between 100 and $200.       5      A. I have never seen anybody have
  6       Q. Did it vary based on what sexual          6   sexual intercourse with with Jeffrey, ever.
  7   acts they performed?                             7      Q. I'm not asking about sexual
  8          MR. PAGLIUCA: Object to the form          8   intercourse. I'm asking about any sexual
  9       and foundation.                              9   act, touching of the breast -- did you ever
 10       A. No. It varied depending how much         10   see -- can you read back the question?
 11   time, some massage therapists charge more and   11          (Record read.)
 12   some charge less.                               12      A. I'm not addressing any questions
 13       Q. Did the massage therapists that          13   about consensual adult sex. If you want to
 14   were hired to come to the home perform sexual   14   talk about what the subject matter, which is
 15   acts for Jeffrey Epstein?                       15   defamation and lying, Virginia Roberts, that
 16          MR. PAGLIUCA: Object to the form         16   you and Virginia Roberts are participating in
 17       and foundation.                             17   perpetrating her lies, I'm happy to address
 18       A. What are you asking me?                  18   those. I never saw any inappropriate
 19       Q. I'm asking if the massage                19   underage activities with Jeffrey ever.
 20   therapists --                                   20      Q. I'm not asking about underage. I'm
 21       A. Are you asking me about underage         21   asking about whether any of the masseuses
 22   girls?                                          22   that were at the home perform sexual acts for
 23       Q. I'm asking in general, did any of        23   Jeffrey Epstein?
 24   the massage therapists in the home --           24      A. I have just answered the question.
 25       A. Are you asking if they were paid         25      Q. No, you haven't.




                                                                       14 (Pages 50 to 53)
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                                          Page 54                                              Page 56
  1       G Maxwell - Confidential                      1       G Maxwell - Confidential
  2      A. I have.                                     2   sexual acts on her?
  3      Q. No, you haven't.                            3         MR. PAGLIUCA: Object to the form
  4      A. Yes, I have.                                4      and foundation.
  5      Q. You are refusing to answer the              5      A. I have not heard that.
  6   question.                                         6      Q. How do you know              ?
  7      A. Let's move on.                              7      A.
  8      Q. I'm in charge of the deposition. I
  9   say when we move on and when we don't.
 10         You are here to respond to my              10      Q. Was                   under the age of
 11   questions. If you are refusing to answer the     11   18?
 12   court will bring you back for another            12          MR. PAGLIUCA: Object to the form
 13   deposition to answer these questions.            13      and foundation.
 14         Do you understand that?                    14      A. I don't recall how old
 15         MR. PAGLIUCA: You don't need to            15   was.
 16      threaten the witness.                         16      Q. Did she tell police that Jeffrey
 17         MS. McCAWLEY: I'm not threatening          17   Epstein assaulted her sexually?
 18      her. I'm making sure the record is            18          MR. PAGLIUCA: Object to the form
 19      clear.                                        19      and foundation.
 20         MR. PAGLIUCA: Certainly can you            20      A. I never heard that.
 21      apply to have someone come back and the       21      Q. Did                 recruit or bring
 22      court may or may not have her come back       22   girls to the home that were under the age of
 23      again.                                        23   18?
 24         Again, she is not answering                24          MR. PAGLIUCA: Object to the form
 25      questions that relate to adult consent        25      and foundation and I think this has been
                                          Page 55                                              Page 57
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      sex acts. Period. And that's the               2      asked and answered already.
  3      instruction and we can take it up with         3      Q. You can answer the question.
  4      the court.                                     4      A. I have no idea what
  5      Q. Ms. Maxwell, are you aware of any           5   did.
  6   sexual acts with masseuses and Jeffrey            6      Q. You never observed
  7   Epstein that were nonconsensual?                  7   with girls under the age of 18 at Jeffrey's
  8      A. No.                                         8   home?
  9      Q. How do you know that?                       9          MR. PAGLIUCA: Object to the form
 10      A. All the time that I have been in           10      and foundation.
 11   the house I have never seen, heard, nor          11      A. The answer is no, I have no idea.
 12   witnessed, nor have reported to me that any      12      Q. Do you know Glenn Dubin?
 13   activities took place, that people were in       13      A. I do.
 14   distress, either reported to me by the staff     14      Q. What is your relationship with
 15   or anyone else. I base my answer based on        15   Glenn Dubin?
 16   that.                                            16          MR. PAGLIUCA: Object to the form.
 17      Q. Are you familiar with a person by          17      A. What do you mean what is my
 18   the name of                                      18   relationship.
 19      A. I am.                                      19      Q. Are you friendly with him, how do
 20      Q. Has                    given a statement   20   you know him?
 21   to police about you performing sexual acts on    21      A. He is the husband of Eva Dubin.
 22   her?                                             22      Q. Is Eva Dubin one of your friends?
 23      A. I have not heard that.                     23      A. Yes.
 24      Q. Has                    given a statement   24      Q. Did you ever send Virginia to
 25   to police about Jeffrey Epstein performing       25   Glenn's condo at the Breakers to give him a




                                                                        15 (Pages 54 to 57)
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                                          Page 58                                              Page 60
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   massage?                                          2       A. She was tasked to answer
  3         MR. PAGLIUCA: Objection to the              3   telephones.
  4      form and foundation.                           4       Q. Did you ever ask her to rub
  5      A. No.                                         5   Jeffrey's feet?
  6      Q. Did you ever instruct Virginia              6          MR. PAGLIUCA: Objection to the
  7   Roberts to have sex with Glenn?                   7       form and foundation.
  8         MR. PAGLIUCA: Objection to the              8       A. I believe that I have read that,
  9      form and foundation.                           9   but I don't have any memory of it.
 10      A. I have never instructed Virginia to        10       Q. Did you ever tell            that she
 11   have sex with anybody ever.                      11   would get extra money if she provided Jeffrey
 12      Q. How old was Eva Anderson when she          12   massages?
 13   met Jeffrey?                                     13       A. I was always happy to give career
 14         MR. PAGLIUCA: Objection to the             14   advice to people and I think that becoming
 15      form and foundation.                          15   somebody in the healthcare profession, either
 16      A. I have no idea.                            16   exercise instructor or nutritionist or
 17      Q. What's she under the age of 18?            17   professional massage therapist is an
 18         MR. PAGLIUCA: Objection to the             18   excellent job opportunity. Hourly wages are
 19      form and foundation.                          19   around 7, 8, $9 and as a professional
 20      A. I just testified I have idea how           20   healthcare provider you can earn somewhere
 21   old she was.                                     21   between as we have established 100 to $200
 22      Q. You testified she was your friend.         22   and to be able to travel and have a job that
 23   You don't know how old she was when she met      23   pays that is a wonderful job opportunity. So
 24   Jeffrey?                                         24   in the context of advising people for
 25      A. That happened sometime in the '70s,        25   opportunities for work, it is possible that I
                                          Page 59                                              Page 61
  1       G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   how would I know, or '80s. I have no idea.        2   would have said that she should explore that
  3   Can you testify to what your friends did 30       3   as an option.
  4   years ago?                                        4      Q. Did you tell her she would get
  5      Q. You don't ask the questions here,           5   extra money if she massaged Jeffrey?
  6   Ms. Maxwell.                                      6      A. I'm just saying, I cannot recall
  7          What about                      when       7   the exact conversation. I give career advice
  8   did you first meet                                8   and I have done that.
  9      A. I don't recall the exact date.              9      Q. Did you ever have            massage
 10      Q. Did you hire                               10   you?
 11      A. I don't hire people, she came to           11      A. I did.
 12   work at the house to answer phones.              12      Q. How many times?
 13      Q. Where did you meet her?                    13      A. I don't recall how many times.
 14      A. I just testified, I don't recall           14      Q. Was there sex involved?
 15   exactly when I met her.                          15      A. No.
 16      Q. Was one of your job                        16      Q. Did you ever instruct            to
 17   responsibilities to interview people that        17   massage Glenn Dubin?
 18   would be then hired by Jeffrey?                  18      A. I don't believe -- I have no
 19      A. That was one of my                         19   recollection of it.
 20   responsibilities.                                20      Q. Did you ever have sexual contact
 21      Q. Do you recall interviewing                 21   with
 22      A. I don't recall the exact interview,        22          MR. PAGLIUCA: Object to the form
 23   no.                                              23      and foundation. You need to give me an
 24      Q. Do you know what tasks               was   24      opportunity to get in between the
 25   hired to performance?                            25      questions.




                                                                        16 (Pages 58 to 61)
Case 1:15-cv-07433-LAP Document 1307-20 Filed 08/25/23 Page 18 of 106

                                          Page 62                                              Page 64
  1       G Maxwell - Confidential                      1        G Maxwell - Confidential
  2         Anything that involves consensual           2      Q. Did you have sex with her?
  3      sex on your part, I'm instructing you          3         MR. PAGLIUCA: This is the same
  4      not to answer.                                 4      instruction about consensual or
  5      Q. Did you ever have sexual contact            5      nonconsensual.
  6   with          ?                                   6      Q. Was Emmy under the age of 18 when
  7      A. Again, she is an adult --                   7   you hired her?
  8      Q. I'm asking you, did you ever have           8      A. No. I didn't hire her, as I said,
  9   sexual contact with                               9   Jeffrey did.
 10      A. I've just been instructed not to           10      Q. Did Emmy ever have sex with
 11   answer.                                          11   Jeffrey?
 12      Q. On what basis?                             12         MR. PAGLIUCA: Objection to the
 13      A. You have to ask my lawyer.                 13      form and foundation.
 14      Q. Did you ever have sexual contact           14      A. How would I know what somebody else
 15   with           that was not consensual on        15   did.
 16              part?                                 16      Q. You weren't involved in the sex
 17         MR. PAGLIUCA: You can answer               17   between Jeffrey, Emmy and yourself?
 18      nonconsensual.                                18      A. We already --
 19      A. I've never had nonconsensual sex           19      Q. Were you involved with sex between
 20   with anybody.                                    20   Jeffrey, Emmy and yourself?
 21      Q. Not                  ?                     21         MR. PAGLIUCA: Everyone is talking
 22         MR. PAGLIUCA: Objection.                   22      over each other. You heard the
 23      A. I just testified I never had               23      question.
 24   nonconsensual sex with anybody ever, at any      24         Again, you you know what the
 25   time, at anyplace, at any time, with anybody.    25      instruction is. If there is any
                                          Page 63                                              Page 65
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      Q. So if            were to testify that       2      consensual issue involved, I instruct
  3   she did not consent to a sexual act that you      3      you not to answer.
  4   participated in --                                4      A. Moving on.
  5      A. I just told you I have never ever           5      Q. So you are refusing to answer that
  6   under any circumstances with anybody, at any      6   question?
  7   time, in anyplace, in any form had                7      A. I've been instructed by my lawyer.
  8   nonconsensual relations with anybody.             8      Q. Did you ever have sex with Jeffrey,
  9      Q. Did you introduce                           9   Emmy, Virginia and yourself when Virginia was
 10                                                    10   underage?
 11         MR. PAGLIUCA: Objection to the             11      A. Absolutely not.
 12      form and foundation.                          12          MR. PAGLIUCA: We've been going for
 13      A. I've, again, read that                     13      about an hour. I would like to take a
 14   claimed that she met or that she said she met    14      five-minute break, please.
 15                  . I don't know if I was the one   15          MS. McCAWLEY: I'm almost done.
 16   who made the introduction or not.                16          MR. PAGLIUCA: You are not going to
 17      Q. Do you know a female by the name of        17      allow a break.
 18   Emmy Taylor?                                     18          MS. McCAWLEY: As soon as I get
 19      A. I do.                                      19      through my line of questioning, which is
 20      Q. How do you know her?                       20      perfectly appropriate.
 21      A. Emmy was my assistant.                     21      Q. Did Emmy Taylor travel with you and
 22      Q. So she worked for you?                     22   Jeffrey to Europe?
 23      A. Yes.                                       23      A. I'm sure she did.
 24      Q. Did you hire her?                          24      Q. What is she doing today?
 25      A. Again, Jeffrey hired people.               25      A. I have no idea.




                                                                        17 (Pages 62 to 65)
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                                         Page 66                                             Page 68
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       Q. Do you speak to her regularly now,       2       We are back on the record and starting
  3   do you speak to her?                            3       disk No. 2.
  4       A. No.                                      4       Q. Ms. Maxwell, I asked you about
  5       Q. Do you know where she lives?             5   Virginia Roberts earlier.
  6       A. No.                                      6          Can you describe what Virginia
  7       Q. Do you know what country she lives       7   Roberts' duties were when she was with Mr.
  8   in?                                             8   Epstein?
  9       A. No.                                      9          MR. PAGLIUCA: Objection to the
 10       Q. Where is the last place you knew        10       form and foundation.
 11   that she lived?                                11       A. I believe that Virginia was a
 12       A. Last place I knew for sure was in       12   masseuse.
 13   Los Angeles.                                   13       Q. Was Virginia required to dress up
 14       Q. When did she stop working for you?      14   in any way for massages?
 15       A. 2001, 2002.                             15          MR. PAGLIUCA: Objection to the
 16       Q. What tasks did she performance for      16       form and foundation.
 17   you?                                           17       A. I have no idea.
 18       A. She helped me with moving in and        18       Q. Did you provide Virginia with
 19   out of houses, construction, she was a         19   outfits to wear for certain massages?
 20   general help, she helped with buying things    20       A. I have no idea what you are talking
 21   that needed to be purchased, if I needed her   21   about.
 22   to stand in for me during meetings, it was a   22       Q. For example, did you ever provide
 23   very wide ranging job.                         23   Virginia with a school girl outfit to wear
 24       Q. Did she ever bring females to           24   for a massage?
 25   perform massages for Jeffrey?                  25       A. I have no idea what you are talking
                                         Page 67                                             Page 69
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the           2   about.
  3      form and foundation.                         3      Q. So you didn't provide her with
  4      A. What are you asking me?                   4   that?
  5      Q. Did Emmy, was it ever Emmy's              5      A. As I just testified, I have no idea
  6   responsibility to bring females to the house    6   what you are talking about.
  7   for the purposes of massaging Jeffrey?          7      Q. I was trying to interpret whether
  8      A. Emmy's job was to help me with the        8   you didn't understand what a school girl
  9   houses and work in homes. It was not her job    9   outfit was or you are saying that didn't
 10   to whatever you just said, bring masseuses.    10   happen?
 11      Q. Did she do that?                         11      A. I clearly know what a school girl
 12      A. I have no recollection. I have no        12   outfit is. I have no recollection of
 13   idea.                                          13   providing anybody with a school girl outfit.
 14      Q. Did you pay Emmy or did Jeffrey pay      14      Q. Did you have a set of outfits used
 15   her?                                           15   by the massage therapists that would include
 16      A. Jeffrey.                                 16   things like a school girl outfit or a black
 17      Q. Do you recall how much she was           17   patent leather outfit or anything of that
 18   paid?                                          18   nature?
 19      A. I do not.                                19          MR. PAGLIUCA: Object to the form
 20          MS. McCAWLEY: I think we can take       20      and foundation.
 21      a break now.                                21      A. That would be just another one of
 22          THE VIDEOGRAPHER: It's 10:02 and        22   Virginia's lies.
 23      we are off the record.                      23      Q. You didn't have anything like that?
 24          (Recess.)                               24      A. I did not.
 25          THE VIDEOGRAPHER: It's now 10:18.       25      Q. Did you have a basket of sex toys




                                                                      18 (Pages 66 to 69)
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                                         Page 70                                    Page 72
  1        G Maxwell - Confidential                  1   G Maxwell - Confidential
  2   that you kept in the Palm Beach house?
  3          MR. PAGLIUCA: Objection to the
  4      form and foundation.
  5      A. First of all what do you mean.
  6      Q. A laundry basket that contained sex
  7   toys in it?
  8          MR. PAGLIUCA: Objection to the
  9      form and foundation.
 10      A. Can you ask the question again?
 11      Q. Did you have a laundry basket that
 12   contained sex toys in it, in the Palm Beach
 13   House?
 14          MR. PAGLIUCA: Objection to the
 15      form and foundation.
 16      Q. Did you have a laundry basket of
 17   sex toys in the Palm Beach house?
 18          MR. PAGLIUCA: Same objection.
 19      Q. You can answer.
 20      A. I don't recollect anything about a
 21   laundry basket of sex toys.
 22      Q. Do you recollect having sex toys at
 23   the Palm Beach house?
 24      A. You have to define what are you
 25   talking about.
                                         Page 71
  1        G Maxwell - Confidential
  2       Q. A sex toy meaning a vibrator of
  3   some kind, sometimes they are called dildos,
  4   of that nature, anything like that?
  5       A. I don't recollect anything that
  6   would formally be a dildo, anything like
  7   that.
  8       Q. How would you describe sex toys?
  9       A. I wouldn't describe sex toys.
 10       Q. Did you have anything that was of
 11   an electronic nature that would be used
 12   during sex?
 13          MR. PAGLIUCA: Objection to the
 14       form and foundation.
 15       A. I have no idea what you are
 16   referring to.
 17          (Maxwell Exhibit 3, transcript,
 18       marked for identification.)
 19




                                                                19 (Pages 70 to 73)
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                                         Page 74                                              Page 76
  1       G Maxwell - Confidential               1              G Maxwell - Confidential
                                                 2         situation.
                                                 3             Q. Did you ever participate in sex
                                                 4         with Virginia Roberts and Jeffrey Epstein?
  5         MR. PAGLIUCA: Objection to the       5             A. I never ever at any single time at
  6     form and foundation.                     6         any point ever at all participated in
  7     A. First I have to read this.            7         anything with Virginia and Jeffrey. And for
  8     Q. Sure.                                 8         the record, she is an absolute total liar and
  9         MS. McCAWLEY: I will stop the        9         you all know she lied on multiple things and
 10     clock while the witness is reading.     10         that is just one other disgusting thing she
 11         MR. PAGLIUCA: No.                   11         added.
 12         MS. McCAWLEY: Yes, if she is going 12              Q. Did you help her obtain an
 13     to read the whole document, I will stop 13         apartment in Palm Beach to live in?
 14     the clock.                              14                MR. PAGLIUCA: Objection to the
 15         MR. PAGLIUCA: If you give her       15             form and foundation.
 16     documents to refresh her recollection,  16             Q. Was that part of your
 17     we are on the clock here.               17         responsibilities for Jeffrey?
 18         MS. McCAWLEY: Then we will take it 18              A. First of all, I didn't know she had
 19     up with the judge.                      19         an apartment in Palm Beach. I only learned
 20         MR. PAGLIUCA: Read whatever you     20         that from the many times you guys have gone
 21     need to answer the question.            21         to the press to sell stories, so no.
 22         MS. McCAWLEY: I'm going to set the 22              Q. Did you help her get a cell phone,
 23     document aside and I'm just go to ask   23         was that one of your responsibilities for
 24     you a question, independent of the      24         Jeffrey, to get her is a cell phone as part
 25     document.                               25         of her masseuse obligations?
                                         Page 75                                              Page 77
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Do you recall having a basket full         2          MR. PAGLIUCA: Objection to the
  3   of sex toys?                                     3       form and foundation.
  4      A. I already told you I did not.              4       A. I don't know what that means,
  5      Q. We were talking a moment ago about         5   masseuse obligation, I don't know what you
  6   Ms. Roberts and her position as a masseuse,      6   are referring to. Would you like to ask the
  7   do you know what she was paid for working as     7   question properly?
  8   a masseuse for Jeffrey Epstein?                  8       Q. I think it was proper. I will ask
  9      A. I do not.                                  9   it again.
 10      Q. Did you ever pay her?                     10          Did you ever assist in getting
 11      A. I don't ever recall paying her.           11   Virginia Roberts a cell phone to use during
 12      Q. Do you know what happened during          12   the time that she worked for Jeffrey Epstein?
 13   the massage appointments with Jeffrey Epstein   13       A. I have no recollection of doing
 14   and Virginia Roberts?                           14   anything of that nature.
 15          MR. PAGLIUCA: Objection to the           15       Q. Did you ever tell Virginia that you
 16      form and foundation.                         16   wanted her to have a cell phone so that she
 17      A. No.                                       17   could be on call regularly?
 18      Q. Were you ever present to view a           18       A. I have no recollection of that
 19   massage between Jeffrey Epstein and Virginia    19   conversation.
 20   Roberts?                                        20       Q. How often would Virginia come over
 21      A. I don't recollect ever seeing             21   to the house in Palm Beach to give massages?
 22   Virginia and Jeffrey in a massage situation.    22          MR. PAGLIUCA: Objection to the
 23      Q. Do you ever recollect seeing them         23       form and foundation.
 24   in a sexual situation?                          24       A. Ask the question again, please.
 25      A. I never saw them in a sexual              25       Q. How often did Virginia Roberts come




                                                                       20 (Pages 74 to 77)
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                                         Page 78                                                 Page 80
  1         G Maxwell - Confidential                   1         G Maxwell - Confidential
  2   over to the house in Palm Beach to give          2   all, except for this story.
  3   massages?                                        3       Q. Do you recall Virginia Roberts
  4       A. It's important to understand that I       4   calling you because she was having a medical
  5   wasn't with Jeffrey all the time. In fact, I     5   crisis and you and Jeffrey taking her to the
  6   was only in the house less than half the         6   hospital?
  7   time, so I cannot testify to when I wasn't in    7       A. I have heard this absurd story and
  8   the house how often she came when I wasn't       8   if any part of it were true I would remember
  9   there.                                           9   that. I do not.
 10          What I can say is that I barely          10       Q. You don't remember taking her to
 11   would remember her, if not for all of this      11   the hospital?
 12   rubbish, I probably wouldn't remember her at    12       A. It's not that I don't remember it,
 13   all, except she did come from time to time      13   it didn't happen.
 14   but I don't recollect her coming as often as    14       Q. How do you know it didn't happen?
 15   she portrayed herself.                          15       A. That's the sort of memory you would
 16       Q. How many times a day on an average       16   recall.
 17   day would Jeffrey Epstein get a massage?        17       Q. Do you recall, you said you don't
 18          MR. PAGLIUCA: Objection to the           18   remember her being at the New York mansion.
 19       form and foundation.                        19   When you were in New York would you stay at
 20       A. When I was at the house and when I       20   the New York mansion with Jeffrey?
 21   was there with him, he received a massage, on   21       A. I stayed from time to time.
 22   average, about once a day.                      22       Q. Do you recall Virginia being at the
 23       Q. Just once?                               23   New York mansion when                      came to
 24       A. Yes.                                     24   visit?
 25       Q. Were there days when he received         25           MR. PAGLIUCA: Objection to the
                                         Page 79                                                 Page 81
  1        G Maxwell - Confidential                    1       G Maxwell - Confidential
  2   four or five?                                    2      form and foundation.
  3          MR. PAGLIUCA: Objection to the            3      A. Like I told you, I don't recall her
  4       form and foundation.                         4   being at the house at all.
  5       A. When I was present at the house, I        5      Q. How many homes does Jeffrey have?
  6   never saw something like that.                   6          MR. PAGLIUCA: Objection to the
  7       Q. Do you know if Virginia was               7      form and foundation.
  8   required to be on call at all times to come      8      A. When I was working for him, I think
  9   to the house if Jeffrey wanted her there?        9   he had six maybe.
 10          MR. PAGLIUCA: Objection to the           10      Q. Would Virginia stay with him in
 11       form and foundation.                        11   those homes?
 12       A. I have no idea of the arrangements       12          MR. PAGLIUCA: Objection to the
 13   that Virginia made with Jeffrey.                13      form and foundation.
 14       Q. When Virginia was in New York,           14      A. I can only testify for when I was
 15   would Virginia sleep at Jeffrey's mansion in    15   present with him and I cannot say what she
 16   New York?                                       16   did when I wasn't present with him.
 17          MR. PAGLIUCA: Objection to the           17      Q. When you were present, would
 18       form and foundation.                        18   Virginia stay in the homes with him?
 19       A. I don't recollect her being in New       19      A. I don't recall her staying in the
 20   York and I have no idea where she slept.        20   houses.
 21       Q. You don't ever remember seeing           21      Q. Did you train Virginia on how to
 22   Virginia Roberts in New York?                   22   recruit other girls for massages?
 23          MR. PAGLIUCA: Objection to the           23          MR. PAGLIUCA: Objection to the
 24       form and foundation.                        24      form and foundation.
 25       A. I would barely recollect her at          25      A. No.




                                                                        21 (Pages 78 to 81)
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                                         Page 82                                              Page 84
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Did you train Virginia on how to           2   30 girls --
  3   recruit other girls to perform sexual            3       A. I did not count the number of girls
  4   massages?                                        4   and I did read the police report. I can only
  5          MR. PAGLIUCA: Objection to the            5   testify to what I read.
  6      form and foundation.                          6       Q. So you are aware that the police
  7      A. No. And it's absurd and her entire         7   report contains reports from 30 underage
  8   story is one giant tissue of lies and            8   girls?
  9   furthermore, she herself has -- if she says      9       A. I can't testify to what the girls
 10   that, you have to ask her about what she did.   10   said. I can only testify to the fact that I
 11      Q. Does Jeffrey like to have his             11   read a police report that stated that.
 12   nipples pinched during sexual encounters?       12       Q. Were you working for Jeffrey -- you
 13          MR. PAGLIUCA: Objection to form          13   said you worked for him off an on until 2009,
 14      and foundation.                              14   is that correct?
 15      A. I'm not referring to any advice on        15       A. I helped out from time to time.
 16   my counsel. I'm not talking about any adult     16       Q. So you were working with him during
 17   sexual things when I was with him.              17   the time period when these underage girls
 18      Q. When Jeffrey would have a massage,        18   were visiting Jeffrey's home?
 19   would he request that the masseuse pinch his    19          MR. PAGLIUCA: Objection to the
 20   nipples while he was having a massage?          20       form and foundation.
 21      A. I'm not talking about anything with       21       A. I was not -- what year, I need
 22   consensual adult situation.                     22   years.
 23      Q. What about with underage --               23       Q. How about let's say 2005?
 24      A. I am not aware of anything.               24       A. I'm not sure I was at the house at
 25      Q. You are not aware of Jeffrey              25   all in 2005, maybe one day, maybe.
                                         Page 83                                              Page 85
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   Epstein ever having sex with an underage         2       Q. How about 2004?
  3   minor and asking them to pinch his nipples?      3       A. I was present for his mother's --
  4       A. I am not.                                 4   his mother died in 2004 so I was there for
  5       Q. So I'm going to direct you to, I          5   his mother's death and the funeral and I was
  6   believe it's Maxwell Exhibit 1, the police       6   at the house maybe a handful of days, again.
  7   report.                                          7       Q. I would like to direct you to, you
  8           Are you aware that over 30 under         8   have it pulled together now, it's page 39,
  9   age minors gave testimony to police that they    9   Bates stamped Giuffre 00040?
 10   were engaged in sexual acts during,             10       A. Can you repeat that, please.
 11   quote-unquote, massages.                        11       Q. Sure. 00040.
 12           MR. PAGLIUCA: The witness needs to      12       A. Yes.
 13       find Exhibit 1. Exhibit 1 -- if you can     13       Q. At the top of that document, about
 14       hand me that please.                        14   three lines down, you see the redacted
 15       Q. So now with respect to the police        15   portions where there is black so it blacks
 16   report, are you aware that over 30 underage     16   out the name.
 17   girls, meaning under the age of 18 gave         17       A. I see black redacted portions.
 18   reports to police that they were assaulted      18       Q. That's a black redaction of the
 19   sexually by Jeffrey Epstein during massages?    19   name of the minor and there is -- I will
 20           MR. PAGLIUCA: Objection to the          20   represent for the record that's what it is.
 21       form and foundation.                        21   You can contest that but I'm not asking about
 22       A. I read the police report. That's         22   the name of the minor.
 23   all I can testify to.                           23          Five lines down, it says, She was
 24       Q. Are you aware of what is in the          24   just 16 years of age.
 25   police report? Are you aware that there were    25          Do you see that?




                                                                       22 (Pages 82 to 85)
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                                         Page 86                                              Page 88
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       A. I have to read that, if you want me       2      Q. I'm not asking about Virginia. I'm
  3   to testify to some things.                       3   asking if you are aware that there were over
  4       Q. I'm asking if you see where it            4   30 underage girls who gave reports to police
  5   says, She was just 16 years old.                 5   officers during the time you worked for
  6       A. No, I have to read it.                    6   Jeffrey Epstein. Are you aware of that?
  7       Q. It's five line downs on the first         7          MR. PAGLIUCA: Counsel, what is
  8   paragraph.                                       8      your factual basis for asserting there
  9       A. I do see that.                            9      are 30 underaged people who gave
 10       Q. Then the next paragraph down, it         10      reports?
 11   says, this is the next full paragraph, it       11          MS. McCAWLEY: I don't have to
 12   says, Epstein entered the room, introduced      12      answer that.
 13   himself, Epstein lay on the table and told      13          MR. PAGLIUCA: Are you representing
 14   her to get comfortable, blank could not         14      as an officer of the court that you have
 15   remember if he was naked or if he entered the   15      personal knowledge that there are 30
 16   room with a towel. Blank stated she provided    16      people referenced in these police
 17   the massage wearing her panties. She            17      reports?
 18   continued rubbing his thighs and feet. Blank    18          MS. McCAWLEY: That's my
 19   advised he turned over on his back and          19      understanding, that there are 30 girls.
 20   continued to rub his legs with oil. Epstein     20          MR. PAGLIUCA: How is that your
 21   touched her breast and began to masturbate.     21      understanding if these are redacted
 22   I asked if she knew what circumcised and        22      reports?
 23   uncircumcised meant. She stated circumcised     23          MS. McCAWLEY: By reading through
 24   is when the penis had no foreskin.              24      the reports.
 25          Then jumping down to the next            25          MR. PAGLIUCA: So you have personal
                                         Page 87                                              Page 89
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   paragraph, it says, Blank became upset,          2       knowledge there are 30 people --
  3   crying hysterically and stated she was paid      3           MS. McCAWLEY: Just like can you if
  4   and also instructed to have sex with Epstein     4       you read through -- I will not argue
  5   and                       by Epstein.            5       with you counsel.. she can answer yes or
  6          Do you see that there?                    6       no.
  7      A. I do.                                      7       Q. Are you aware there were over 30
  8      Q. Are you aware that there were              8   individuals who were minors who gave reports
  9   underage minors in the Palm Beach house that     9   to police just like the one we just read that
 10   were required to give sexual massages to        10   they were sexually assaulted by Jeffrey
 11   Jeffrey Epstein?                                11   Epstein in the Palm Beach home during the
 12          MR. PAGLIUCA: Objection to the           12   years that you were working with him?
 13      form and foundation. This has been           13           MR. PAGLIUCA: Objection to the
 14      asked and answered already. Now you are      14       form and foundation. You can answer if
 15      just reading a document.                     15       you have knowledge.
 16          MS. McCAWLEY: I am allowed to take       16       A. I already testified I was limited
 17      this deposition.                             17   in the house, a couple of days, there is no
 18      A. I already testified --                    18   way I knew. I have read these reports. I
 19      Q. Are you aware there were underage         19   cannot testify to 30. Given the experience
 20   girls, 30 of them, in this police report that   20   I've had with Virginia's lies, it's very hard
 21   were assaulted by Jeffrey Epstein in the Palm   21   for me to testify about what I see. I can
 22   Beach house during the time you are working     22   tell from you my personal knowledge I did not
 23   there?                                          23   know what you are referring to.
 24      A. I am aware that Virginia has              24       Q. You did not know there were
 25   lied repeatedly --                              25   underage girls in the home that were being




                                                                       23 (Pages 86 to 89)
Case 1:15-cv-07433-LAP Document 1307-20 Filed 08/25/23 Page 25 of 106

                                         Page 90                                               Page 92
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   assaulted by Jeffrey Epstein during the time     2      Q. In your responsibilities in working
  3   you were working there?                          3   for Jeffrey, would you book massages for him
  4       A. Based on the lies that I have             4   on any given day so that he would have a
  5   already been told, I cannot comment on any --    5   massage scheduled? Would you take a call for
  6       Q. Are you saying these 30 girls are         6   example and book a massage for him?
  7   lying when they gave these reports to police     7          MR. PAGLIUCA: Objection to the
  8   officers?                                        8      form and foundation.
  9       A. I'm not testifying to their lies.         9      Q. You can answer.
 10   I'm testifying to Virginia's lies.              10      A. Typically, that was not my
 11       Q. I am not asking about Virginia's         11   responsibility. He would either book the
 12   lies.                                           12   massage himself or one of his other
 13       A. I can only testify to Virginia's         13   assistants would do that.
 14   lies. I can testify to having read these        14      Q. From time to time you had to do
 15   reports. I cannot testify to anything else      15   that?
 16   about them.                                     16          MR. PAGLIUCA: Objection to the
 17       Q. So your testimony is that during         17      form and foundation.
 18   the time you were working there, you did not    18      A. Like I said, typically it was
 19   know that these minor children were being       19   somebody else's responsibility.
 20   abused in the home while you were there?        20      Q. If you were unable to book a girl
 21       A. What I have already told you and I       21   for a massage on a given day, would that mean
 22   will repeat, I was in the house very limited    22   that you were responsible for giving him a
 23   times, very few times. I do not know what       23   sexual massage?
 24   you are referring to. I've read these           24          MR. PAGLIUCA: Objection to the
 25   reports but based on the lies that Virginia     25      form and foundation and I instruct you
                                         Page 91                                               Page 93
  1         G Maxwell - Confidential                   1         G Maxwell - Confidential
  2   has perpetrated, cannot tell you what is true    2      not to answer any questions about any of
  3   or factual or not.                               3      your consensual adult sexual activity.
  4       Q. You said you were in the home a           4      Q. So you are not going to answer that
  5   very limited time, so average in the year for    5   question?
  6   example, 2004, how many times would you have     6      A. You just heard my counsel.
  7   been in his Palm Beach home?                     7      Q. Have you ever said to anybody that
  8       A. Very hard for me to state but very        8   recruiting other girls to perform sexual
  9   little.                                          9   massages for Jeffrey Epstein takes the
 10       Q. How about his New York home?             10   pressure off you?
 11       A. Same.                                    11          MR. PAGLIUCA: Object to the form
 12       Q. Were you his girlfriend in that          12      and foundation.
 13   year, in 2004?                                  13      A. Repeat the question and break it
 14       A. Define what you mean by girlfriend.      14   out.
 15       Q. Were you in a relationship with him      15      Q. Have you ever said to anybody that
 16   where you would consider yourself his           16   you recruit girls --
 17   girlfriend?                                     17      A. Stop right there. I never
 18       A. No.                                      18   recruited girls, let's stop there. Now
 19       Q. Did you ever consider yourself his       19   breakdown the question.
 20   girlfriend?                                     20      Q. Have you ever said to anybody --
 21       A. That's a tricky question. There          21      A. By girls, we are talking about
 22   were times when I would have liked to think     22   underage people -- you said girls, are you
 23   of myself as his girlfriend.                    23   talking about underage -- we are not talking
 24       Q. When would that have been?               24   about consensual acts -- this is a defamation
 25       A. Probably in the early '90s.              25   suit.




                                                                       24 (Pages 90 to 93)
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                                          Page 94                                             Page 96
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       Q. I'm asking the questions. I know          2   testify to actual language.
  3   what this case is about. I'm trying to -- I      3      Q. So you won't testify to anything
  4   will ask you questions if you don't              4   I'm asking you 17 years ago about a statement
  5   understand the question I can break it down      5   you made. How do you know it's 17 years ago?
  6   for you. I'm happy to do that.                   6      A. We are talking about a time in
  7       A. Break it down a lot please.               7   2000, right?
  8       Q. I will do that.                           8      Q. Have you ever said that to anybody?
  9           The question is, have you ever said      9      A. I'm 54 years old so you are asking
 10   to anybody that you recruit other girls --      10   me in my entire life, what words are you
 11       A. Why don't you stop there.                11   asking me in my entire life?
 12       Q. Let me finish my question.               12      Q. Your entire life is limited by the
 13           Have you ever said to anybody that      13   time you were with Jeffrey, this is the
 14   you recruit girls to take the pressure off      14   question.
 15   you, so you won't have to have sex with         15      A. Let's time limit the question you
 16   Jeffrey, have you said that?                    16   are asking me.
 17           That's the question?                    17      Q. So from, let's say, I think you
 18       A. You don't ask me questions like          18   said you started with him in 1992, is that
 19   that. First of all, you are trying to trap      19   correct, and finished with him in 2009.
 20   me, I will not be trapped. You are asking me    20          So from 1992 to 2009 have you ever
 21   if I recruit, I told you no. Girls meaning      21   said to anybody that you recruit other and we
 22   underage, I already said I don't do that with   22   will start with girls to take the pressure
 23   underage people and as to ask me about a        23   off you to have sex with Jeffrey?
 24   specific conversation I had with language, we   24          MR. PAGLIUCA: Objection to the
 25   talking about almost 17 years ago when this     25      form and foundation.
                                          Page 95                                             Page 97
  1        G Maxwell - Confidential                    1       G Maxwell - Confidential
  2   took place. I cannot testify to an actual        2      A. First of all I resent and despise
  3   conversation or language that I used with        3   the world recruit. Would you like to define
  4   anybody at any time.                             4   what you mean by recruit and by girls, you
  5       Q. Have you ever said to anybody that        5   mean underage people. I never had to do
  6   you recruit other females over the age of 18     6   anything with underage people. So why don't
  7   to take the pressure off you to having to        7   you reask the question in a way that I am
  8   have sex with Jeffrey?                           8   able to answer it.
  9       A. I totally resent and find it              9      Q. I'm asking if you ever said that to
 10   disgusting that you use the word recruit. I     10   anybody. So if you don't understand the word
 11   already told you I don't know what you are      11   recruit and you never used that word then the
 12   saying about that and your implication is       12   answer to that question would be no.
 13   repulsive.                                      13      A. I have no memory as I sit here
 14       Q. Answer my question.                      14   today having used that word.
 15       A. I just did.                              15      Q. Did you ever meet an underage girl
 16       Q. Have you ever said to anybody that       16   in London to introduce her to Jeffrey to
 17   you recruit females --                          17   provide him with a massage?
 18       A. I don't recruit anybody.                 18          MR. PAGLIUCA: Objection to the
 19       Q. That's an answer. So you never           19      form and foundation.
 20   said that?                                      20      A. Run that past me one more time.
 21       A. I'm testifying that I cannot             21      Q. Did you ever meet an underage girl
 22   testify to an actual language --                22   in London to introduce her to Jeffrey to
 23       Q. It's a yes or no.                        23   perform a massage?
 24       A. I will not testify to an actual          24          MR. PAGLIUCA: Same objection.
 25   statement made 17 years ago, so I cannot        25      A. Are you asking me if I met anybody




                                                                       25 (Pages 94 to 97)
Case 1:15-cv-07433-LAP Document 1307-20 Filed 08/25/23 Page 27 of 106

                                           Page 98                                             Page 100
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2   that was underage in London specifically to         2      form and foundation.
  3   provide a massage to Jeffrey, is that your          3      A. I already testified about not
  4   question?                                           4   knowing about underage girls.
  5      Q. Yes.                                          5      Q. Did you provide any assistance with
  6      A. No.                                           6   obtaining visas for foreign girls that were
  7      Q. Do you know who                        is?    7   under the age of 18?
  8      A. I don't recall her right now.                 8      A. I've never participated in helping
  9      Q. Do you know if -- strike that.                9   people of any age to get visas.
 10          During the time that you were               10      Q. Did Jeffrey, was it Jeffrey's
 11   working for Jeffrey, did you ever observe any      11   preference to start a massage with sex?
 12   foreign females, so in other words, not from       12          MR. PAGLIUCA: Objection to the
 13   the United States, that were brought to            13      form and foundation.
 14   Jeffrey's home to perform massages?                14      A. I think you should ask that
 15          MR. PAGLIUCA: Objection to the              15   question of Jeffrey.
 16      form and foundation.                            16      Q. Do you know?
 17      A. Females, what age are we talking?            17      A. I don't believe that was his
 18      Q. Any age.                                     18   preference. I think -- you have to
 19      A. Can you repeat the question?                 19   understand, a massage -- perhaps you are not
 20      Q. During the time you were working             20   really familiar with what massage is.
 21   for Jeffrey, did you ever observe any foreign      21      Q. I am, I don't need a lecture on
 22   females of any age that were at Jeffrey's          22   massage.
 23   home to perform a massage?                         23      A. I think you do.
 24          MR. PAGLIUCA: Objection to the              24          MR. PAGLIUCA: No question pending.
 25      form and foundation.                            25      She will ask you another question now.
                                           Page 99                                             Page 101
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2       A. Are you asking me if any foreigner,          2      A. Massage is for health benefits.
  3   not an American person, gave Jeffrey a              3      Q. When did you first meet Jeffrey?
  4   massage?                                            4      A. Some point in 1991.
  5       Q. Yes.                                         5      Q. And did Jeffrey know your father?
  6       A. Well, as I sit here today, I can't           6      A. No.
  7   think of anyone who is foreign. Certainly --        7      Q. How were you introduced to Jeffrey?
  8   I just can't think of anybody right this            8      A. Some friend introduced us.
  9   second.                                             9      Q. Can you describe your relationship
 10       Q. How about any foreign girls who             10   back in 1991, was it friendship or was it
 11   were under the age of 18?                          11   girlfriend relationship or was it a work
 12       A. I already testified to not knowing          12   relationship, what was your relationship in
 13   anything about underage girls.                     13   1991?
 14       Q. Were there foreign girls who were           14      A. It was just friendly.
 15   brought to Jeffrey's home by                       15      Q. Then I believe you testified you
 16   for the purposes of providing massages?            16   began working for him in 1992, is that
 17          MR. PAGLIUCA: Objection to the              17   correct?
 18       form and foundation.                           18      A. Yes.
 19       A. I am not aware of             bringing      19      Q. In 1992 I know you gave me the
 20   girls. I have not no idea what you are             20   description of the work that you were
 21   talking about.                                     21   performing for him, how much was he paying
 22       Q. You have never been around foreign          22   you, do you remember?
 23   girls who are under the age of 18 at               23      A. I don't recall.
 24   Jeffrey's homes?                                   24      Q. Do you know for example in 2001 how
 25          MR. PAGLIUCA: Objection to the              25   much he was paying you?




                                                                        26 (Pages 98 to 101)
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                                        Page 102                                               Page 104
  1         G Maxwell - Confidential                   1         G Maxwell - Confidential
  2       A. I don't recall.                           2   worked for it and I had a loan, we did loans.
  3       Q. Did it change over the years or did       3       Q. So a loan through Jeffrey?
  4   the payment remain the same?                     4       A. I don't recall the exact
  5       A. I believe over the course of time         5   transaction.
  6   it increased a little bit.                       6       Q. Did he purchase for you a
  7       Q. Was that the -- was that payment          7   helicopter during the time you were working
  8   the payment that -- was the payment made with    8   for him?
  9   respect to the jobs, the work you were           9       A. It was his helicopter.
 10   performing for Jeffrey, was that your sole      10       Q. When did you obtain your pilot
 11   income at that time?                            11   license?
 12            MR. PAGLIUCA: I object to the          12       A. I believe it was '98 or '99.
 13       form. I'm also going to instruct you        13       Q. Was that for both airplanes and
 14       not to answer about sources of -- your      14   helicopters or just helicopters?
 15       personal sources of income outside of       15       A. Just helicopters.
 16       Mr. Epstein at all.                         16       Q. Have you ever flown
 17            MS. McCAWLEY: What's the basis for     17            on your helicopter?
 18       that?                                       18       A. That is another one of Virginia's
 19            MR. PAGLIUCA: It's confidential,       19   lies.
 20       it's not part of this lawsuit.              20       Q. The question is have you ever done
 21            MS. McCAWLEY: We have a protective     21   that?
 22       order and it is part of this lawsuit        22       A. I have never flown
 23       with respect to our damage claims.          23            at any time ever, in any helicopter,
 24            MR. PAGLIUCA: It's not and, in         24   in any place, any time, in any state, in any
 25       fact, you are not entitled to ask           25   country, at any time anywhere.
                                        Page 103                                               Page 105
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      financial information of a defendant in       2      Q. Have you ever had dinner with
  3      this kind of case, in a defamation case       3                       at Jeffrey's home, at any
  4      unless and until there is a finding that      4   of Jeffrey's homes?
  5      you are entitled to punitive damages.         5      A. No, I don't believe so.
  6      That is clear in New York case law, both      6      Q. Have you traveled on Jeffrey's
  7      state and Federal.                            7   planes with                      ?
  8         MS. McCAWLEY: We disagree on that          8      A. Yes, I have.
  9      point and we will come back to that.          9      Q. Would that have been in 2002?
 10      Q. From the source of payment from the       10      A. It's very hard for me to recollect
 11   source of Jeffrey, from your work, can you      11   exact dates but that sounds about right.
 12   give me a range on that, do you know was it     12      Q. Was that during the time that
 13   over $100,000?                                  13   Virginia was working for Jeffrey?
 14      A. I just testified I don't recall.          14      A. I don't know that Virginia ever did
 15      Q. You don't don't know if it was            15   work for Jeffrey. I don't exactly know if
 16   $500,000?                                       16   she testified to her so-called duties, we
 17      A. It was less than that.                    17   know she is a serial liar so I can't testify
 18      Q. Somewhere between 100 and 500,            18   to what she did or didn't do. So I object to
 19   would that be fair to say?                      19   that characterization of her. So repeat the
 20      A. I believe it was between 100 and          20   question, please.
 21   $200,000.                                       21      Q. Can you read the question back?
 22      Q. Did Jeffrey during the time that          22          (Record read.)
 23   you were working for him purchase a town home   23      Q. You can answer the question.
 24   for you?                                        24      A. What was the question again?
 25      A. The subject of the townhouse is, I        25      Q. When you were traveling on the




                                                                    27 (Pages 102 to 105)
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                                          Page 106                                              Page 108
  1         G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   plane with                       was that during    2   that he may have met socially through me.
  3   the time, it was 2002, that you were on a           3       Q. Did you ever introduce
  4   flight with            was that during the time     4             to Virginia in London?
  5   Virginia was working for Jeffrey?                   5       A. I understand her story about London
  6           MR. PAGLIUCA: Object to the form.           6   but again, her tissue of lies is extremely
  7       Misstates the witness' answer and if you        7   hard to pick apart what is true and what
  8       can answer the question, you can answer         8   isn't. Actually I wouldn't recollect her at
  9       it.                                             9   all but for her tissue stories about this
 10       A. Well, like I said, I don't recall           10   situation.
 11   exactly when I flew with him. I don't recall       11       Q. So did you ever introduce
 12   when Virginia, we know what Virginia claims        12             to Virginia in London?
 13   when she left, so I can't answer the               13       A. I have no recollection.
 14   question. I have no idea.                          14       Q. Did Virginia ever stay at your home
 15       Q. Do you know                      ?          15   in London, your town home?
 16       A. I do.                                       16       A. I know she claims she did but if
 17       Q. How long have you known him?                17   you are asking me here today to remember
 18       A. A very long time.                           18   specifically, I cannot.
 19       Q. Since you were a child?                     19       Q. Do you remember taking a trip with
 20       A. I really -- it's so long, it's              20   Virginia to travel over to Europe, including
 21   really a long time ago. I just don't recall.       21   London?
 22       Q. Do you remember how you first met           22       A. So I have seen her reports and I
 23   him?                                               23   have seen the plane reports. I see she says
 24       A. No, I do not.                               24   she was on that but again, I really have no
 25       Q. Did you introduce him to Jeffrey?           25   recollection of her.
                                          Page 107                                              Page 109
  1        G Maxwell - Confidential                       1         G Maxwell - Confidential
  2       A. That would be another of Virginia's          2       Q. Did you know that she was 17 at the
  3   lies and the lies you perpetrate. I never           3   time of that trip?
  4   introduced                  to Jeffrey Epstein      4          MR. PAGLIUCA: Objection to the
  5   at any time ever, so just add that the to           5       form and foundation.
  6   long list of lies.                                  6       A. I have --
  7       Q. Did Jeffrey know                   ?         7       Q. Did you know she was 17 at the time
  8       A. Clearly he knew him. I think we              8   of that trip?
  9   have that answer but how -- yeah.                   9          MR. PAGLIUCA: Objection to the
 10       Q. Do you know how Jeffery met                 10       form and foundation.
               ?                                         11       A. I didn't even know she was on the
 12       A. I do not know Jeffrey met                   12   trip.
 13              What I do know is that I did not        13       Q. Did you hold her passport for her
 14   introduce them. That is one of the many            14   when she was traveling?
 15   lies. Are we tallying all the lies?                15          MR. PAGLIUCA: Objection to the
 16       Q. Do you know when Jeffrey met                16       form and foundation.
 17                                                      17       A. I have no recollection whatsoever
 18       A. I do not know when Jeffrey met              18   of her even being on the trip nor holding her
 19                  .                                   19   passport.
 20       Q. Did you ever introduce                      20          (Maxwell Exhibit 4, picture, marked
 21            to any girls under the age of 18 who      21       for identification.)
 22   were not friends of yours children?                22       Q. I'm showing you what we marked as
 23       A. I have not introduced                       23   Maxwell Exhibit 4.
 24   to anyone that I am aware of other than            24          Can you take a look at that picture
 25   friends of mine who have kids under that age       25   for me?




                                                                       28 (Pages 106 to 109)
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                                           Page 110                                                 Page 112
  1        G Maxwell - Confidential                         1        G Maxwell - Confidential
  2      A. I've looked at it.                              2      A. No, I don't.
  3      Q. Are you in that picture?                        3      Q. Where in your town home -- we will
  4      A. I am.                                           4   come back to that.
  5      Q.                                                 5         Do you have guest bedrooms in your
  6                  ?                                      6   town home in London?
  7      A. It is.                                          7      A. I do.
  8          MR. PAGLIUCA: I don't believe this             8      Q. How many?
  9      has been produced to us in discovery by            9      A. Two.
 10      you.                                              10      Q. Did                   ever visit
 11          MS. McCAWLEY: The picture?                    11   Jeffrey and you in New York?
 12          MR. PAGLIUCA: Yes.                            12      A. Yes.
 13          MS. McCAWLEY: It has.                         13      Q. Do you remember him visiting you
 14          MS. MENNINGER: Is it the same                 14   and Jeffrey in New York in the spring of
 15      exact photograph.                                 15   2001?
 16          MS. McCAWLEY: I believe so. We                16      A. Again, I can't testify to any
 17      will find one. The picture has been               17   specific dates.
 18      produced a number of times.                       18      Q. So you don't have a recollection of
 19          MR. PAGLIUCA: I've seen different             19   that?
 20      iterations of this, I don't believe I             20      A. I have a recollection -- you've
 21      have ever seen this.                              21   asked me if I have a recollection of being in
 22          MS. McCAWLEY: We had them blow it             22   New York but if you are asking for a date, I
 23      up on a page so she could see it. We              23   cannot confirm that date.
 24      could use an article.                             24      Q. Do you remember                      being
 25          While you are looking for that, I             25   present in New York for a party where
                                           Page 111                                                 Page 113
  1        G Maxwell - Confidential                         1        G Maxwell - Confidential
  2      will skip ahead. Hold that until we can            2            was also present?
  3      find one that has the Bates range on it.           3      A. I don't recollect.
  4      Q. Do you recall Virginia being at                 4      Q. Do you recall ever giving
  5   your London town home?                                5            a gift of a puppet that was in the
  6      A. I do not.                                       6   same -- that looked like him?
  7      Q. Do you recall going to dinner with              7      A. I never gave him a gift of a
  8                  , Jeffrey Epstein and Virginia         8   puppet.
  9   Roberts in London, at any time?                       9      Q. Did Jeffrey ever give him a gift of
 10      A. I do not.                                      10   a puppet?
 11      Q. Do you recall going to a place                 11      A. No, not that I am aware of.
 12   called                                   , Jeffrey   12      Q. Have you ever given him any gifts?
 13   Epstein and yourself and Virginia Roberts?           13         MR. PAGLIUCA: Objection,
 14      A. I would just like to state for the             14      foundation.
 15   record                                               15      A. I know              --
                                                           16      Q. Have you ever given him any gifts
                                                           17   that you remember when he came to Jeffrey's
                                                           18   home in New York?
                                                           19      A. I don't recall giving him any gifts
              I do not have any recollection of it         20   in New York.
 21   and I doubt it actually happened.                    21         (Maxwell Exhibit 5, picture, marked
 22      Q. You don't recall that.                         22      for identification.)
 23          Do you recall taking Virginia                 23      Q. I think I directed you to page
 24   shopping when you were in London to buy an           24   0034.
 25   outfit to meet                ?                      25         Is that a picture that was taken at




                                                                         29 (Pages 110 to 113)
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                                            Page 114                                              Page 116
  1        G Maxwell - Confidential                          1        G Maxwell - Confidential
  2   your London town home?                                 2       Q. Were you present on the island when
  3      A. I have no idea what this picture                 3                    visited?
  4   was taken. I know what she purports it to be           4       A. Yes.
  5   but I'm not going to say that I do.                    5       Q. How many times?
  6      Q. Do the surroundings look like your               6       A. I can only remember once.
  7   London town home?                                      7       Q. Were there any girls under the age
  8      A. They are familiar.                               8   of 18 on the island during that one visit
  9      Q. Do you know who took this picture?               9   that you remember that were not family or
 10      A. I do not.                                       10   friends of or daughters of your friends?
 11      Q. Did Jeffrey Epstein take the                    11           MR. PAGLIUCA: Objection to the
 12   picture?                                              12       form and foundation.
 13      A. I just testified I don't know who               13       A. There were no girls on the island
 14   took the picture.                                     14   at all. No girls, no women, other than the
 15      Q. So you don't know if Jeffery                    15   staff who work at the house. Girls meaning,
 16   Epstein took the picture?                             16   I assume you are asking underage, but there
 17      A. When I tell you I don't know who                17   was nobody female outside of the cooks and
 18   took the picture, it doesn't mean him -- I            18   the cleaners.
 19   don't know who took the picture. You can              19       Q. Did you, as part of your duties in
 20   come up with 50 names, I still do not know            20   working for Jeffrey, ever arrange for
 21   who took the picture.                                 21   Virginia to have sex with                  ?
 22      Q. Did you observe                      go         22           MR. PAGLIUCA: Objection to the
 23   into a room with Virginia alone in your town          23       form and foundation.
 24   home?                                                 24       A. Just for the record, I have never
 25      A. I cannot recall. As I have said,                25   at any time, at anyplace, in any moment ever
                                            Page 115                                              Page 117
  1         G Maxwell - Confidential                         1        G Maxwell - Confidential
  2   no.                                                    2   asked Virginia Roberts or whatever she is
  3       Q. Did                    ever tell you            3   called now to have sex with anybody.
  4   that he had sex with Virginia Roberts?                 4      Q. Did you ever provide Virginia
  5       A. He did not.                                     5   Roberts with an outfit, an outfit of a sexual
  6       Q. Did Jeffrey Epstein ever tell you               6   nature to wear for              ?
  7   that                   had sex with Virginia           7           MR. PAGLIUCA: Objection to the
  8   Roberts?                                               8      form and foundation.
  9       A. He did not.                                     9      A. I think we addressed the outfit
 10       Q. Did                    ever visit -- let       10   issue.
 11   me back up for a moment. We talked about              11      Q. I am asking you if you ever
 12   Jeffrey's homes, did Jeffrey have a home in           12   provided her with an outfit of a sexual
 13   the U.S. Virgin islands called Little St.             13   nature to wear for              ?
 14   James?                                                14      A. Categorically no. You did get
 15       A. Yes.                                           15   that, I said categorically no
 16       Q. Did                    ever visit that         16      Q. Don't worry I'm paying attention.
 17   island -- are you aware of                     ever   17      A. You seemed very distracted in that
 18   visiting Jeffrey's island?                            18   moment.
 19       A. I am aware of that, yes.                       19           (Maxwell Exhibit 6, flight logs,
 20       Q. Do you know how many times he                  20      marked for identification.)
 21   visited?                                              21      A. Do you mind if I take a break for
 22       A. I do not.                                      22   the bathroom.
 23       Q. Do you know if he visited when                 23      Q. It's 11:08 and we are going to go
 24   Virginia was on the island?                           24   off the record now.
 25       A. I do not.                                      25           THE VIDEOGRAPHER: It's now 11:09.




                                                                          30 (Pages 114 to 117)
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                                        Page 118                                              Page 120
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       We are off the record.                       2      Q. So I'm directing your attention to
  3          (Recess.)                                 3   the bottom, two lines up from the bottom,
  4          THE VIDEOGRAPHER: It's now 11:26,         4   there is a flight --
  5       we are back on the record and starting       5          MR. PAGLIUCA: Are you on
  6       disk No. 3.                                  6          MS. McCAWLEY:
  7       Q. Ms. Maxwell, I think I handed you         7      Q. So this flight is from, the one I'm
  8   right before the break, did I hand you the       8   looking at, I think it's highlighted on your
  9   flight logs, they look like this. Did I mark     9   copy. On the far corner on the date, it says
 10   those yet, I thought I did.                     10         at the top and this would be the
 11       A. I don't believe I have it.               11   and then the         are the two I'm going to
 12       Q. These admittedly are a little            12   direct your attention to.
 13   difficult to read so what I'm going to          13      Q. On that first one on the         you
 14   provide you with to assist is I have a chart    14   will see the column reading PBI in the from
 15   that has the airport codes, because it will     15   column to TEB in the to column and you will
 16   have, for example, just for the record          16   see some initials, you will see JE for
 17   reflects that the first page of document        17   Jeffrey Epstein, GM for Ghislaine Maxwell, ET
 18            it will have a code in the from line   18   for Emmy Taylor and then Virginia?
 19   that says PBI, for example, to TEB so I a       19      A. I have to object.
 20   chart that matches up, just in case you don't   20          MR. PAGLIUCA: You don't get to
 21   understand what those letters mean, PBI         21      object.
 22   meaning Palm Beach, TEB meaning Teterboro,      22      Q. She is turning into a lawyer
 23   which is New Jersey, but others are more        23   already?
 24   difficult but just for you to be able to        24      A. I would like to.
 25   understand the logs, I will provide you with    25      Q. Let me ask the question and if you
                                        Page 119                                              Page 121
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   that.                                            2   have an issue -- so with respect to this
  3           MR. PAGLIUCA: So we are clear, if        3   flight, do you recall being on a flight in
  4       the witness has personal knowledge of        4   the --                  going from Palm Beach to
  5       what these are that's fine but I don't       5   Teterboro?
  6       know what these are and I don't expect       6       A. No, I don't recall any specific
  7       the witness to accept the representation     7   flight.
  8       that they are what they are.                 8       Q. Do you recall flying with Virginia
  9           MS. McCAWLEY: If she can testify         9   on a flight with Emmy Taylor and Jeffrey
 10       to what city it is, she can state that      10   Epstein at any time?
 11       on the record.                              11       A. I don't.
 12           MR. PAGLIUCA: If she knows what it      12       Q. How often did you fly on a plane
 13       is, she knows what it is, we are not        13   with a 17 year old?
 14       putting any affirmatively on the record     14           MR. PAGLIUCA: Objection to form
 15       until you ask your questions.               15       and foundation.
 16       Q. So I'm going to ask you and I think      16       A. I have no idea what you are talking
 17   we flagged a few of the pages which may         17   about, other than friends of mine that had
 18   direct us a little bit easier but I will do     18   kids.
 19   it by Bates number which is at the bottom of    19       Q. Did you regularly fly on Jeffrey's
 20   the document kind of at the side.               20   plane with individuals who were under the age
 21           The first I will direct your            21   of 18?
 22   attention to is                                 22           MR. PAGLIUCA: Objection to the
 23       A. Does it have a tab?                      23       form and foundation.
 24       Q. It should. Let me make sure.             24       A. Can you repeat the question?
 25       A. Yes it does.                             25       Q. Did you regularly fly on Jeffrey




                                                                    31 (Pages 118 to 121)
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                                        Page 122                                                 Page 124
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   Epstein's planes with individuals who were       2   me.
  3   under the age of 18?                             3       Q. So as you sit here today, you don't
  4       A. I regularly flew on Jeffrey               4   believe you flew on that plane?
  5   Epstein's airplane but I cannot testify as to    5       A. I'm not saying that. I'm just
  6   flying with people under the age. I don't        6   saying you cannot be sure that's me.
  7   believe that I did.                              7       Q. Do you have reason to doubt that
  8       Q. Why wouldn't you remember flying          8   when it says GM on these flight logs that
  9   with a 17 year old?                              9   that represents you?
 10          MR. PAGLIUCA: Objection to the           10       A. I cannot testify to that. I'm just
 11       form and foundation.                        11   saying it may not be me.
 12       A. How would I know, one, that she is       12       Q. In looking at the flight logs and
 13   17, how would you know that, how do you know    13   look up, let's move up a couple of lines. If
 14   I'm on the plane.                               14   you start at the top, you are going to see
 15       Q. Are you saying you are not on this       15   JE,                 , then JE,                   ,
 16   flight, so this is a Palm Beach to Teterboro.   16   JE,                      , JE, GM, JE, GM, JE, GM,
 17   This says the JE, GM ET and Virginia. The GM    17                     , reposition, JE, GM, JE, GM
 18   you are saying is not you?                      18                        , JE, GM,
 19          MR. PAGLIUCA: I object to the            19            female,
 20       form. You can answer the question if        20   repositioning. JE, GM, ET,                    , JE,
 21       you know.                                   21   GM, ET,                     , JE, GM, ET, Virginia,
 22       A. How do you know the GM is me.            22   JE, GM,        Virginia, repositioning and then
 23       Q. Is it your testimony that on the         23   a certification.
 24   flight logs when it represents GM that it is    24          So is it your testimony in looking
 25   not you flying on the plane?                    25   at that that you do not believe that the GM
                                        Page 123                                                 Page 125
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the            2   represents you?
  3      form and foundation.                          3          MR. PAGLIUCA: Objection to the
  4      A. GM can stand for any level, it             4       form and foundation.
  5   could be Georgina, George.                       5       A. I'm not saying that. I'm just
  6      Q. Are there any people that flew with        6   saying that you cannot -- I can't sit here
  7   Jeffrey Epstein that had the initials GM?        7   and tell you for sure GM is me and I cannot
  8      A. I don't know.                              8   testify remembering being on a flight at that
  9      Q. Do you recall flying with Jeffrey          9   time.
 10   Epstein on his plane over 300 times during      10       Q. You don't remember being on any of
 11   the period of 1999 to 2005?                     11   these flights with the initial GM?
 12      A. I cannot testify to how many times        12       A. I remember being on many flights.
 13   I was on his plane because that would just be   13   I cannot testify that is a flight I am on.
 14   impossible.                                     14       Q. Let's go to the next page which is
 15      Q. You were on his plane regularly,          15   going to be            I want you to look at
 16   would you say?                                  16   line -- so the date is at the top, so it's
 17      A. I already testified I was on his          17                   and if you go down, you will see
 18   plane regularly.                                18   a line that says the        and if you scroll
 19      Q. Is it your testimony and I'm              19   over you will see PBI to TIST, if you look at
 20   referring now to the line that we were just     20   the airport codes, TIST is going to be
 21   talking about that you were not on the flight   21   representative for the U.S. Virgin Islands
 22   from Palm Beach to Teterboro that lists JE,     22   and then you will see the list on the plane
 23   GM, ET and Virginia?                            23   JE, GM, ET and Virginia Roberts.
 24      A. I am not testifying to that. I am         24          Do you recall flying from Palm
 25   just saying that you cannot be sure that is     25   Beach to the U.S. Virgin Islands with




                                                                     32 (Pages 122 to 125)
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                                       Page 126                                                  Page 128
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   Jeffrey, yourself, Emmy Taylor and Virginia      2   your recollection.
  3   Roberts?                                         3           MR. PAGLIUCA: You are talking
  4          MR. PAGLIUCA: I object to the form        4       about
  5      and just so the record is clear, we           5           MS. McCAWLEY: She can pick any
  6      don't agree with whatever your                6       couple of pages, those have a lot of the
  7      characterizations are. The document           7       individuals on them so that is a good
  8      speaks for itself and she can answer          8       sampling.
  9      based on whatever her personal knowledge      9           MR. PAGLIUCA: So pick any pages
 10      is.                                          10       you want.
 11          MS. McCAWLEY: I understand.              11       Q. Does that refresh your recollection
 12      Q. Do you recall flying with those           12   at all as to whether GM represents you or
 13   individuals from Palm Beach to the U.S.         13   some other individual?
 14   Virgin Islands?                                 14       A. Again, I can't testify whether that
 15      A. I have no recollection of any             15   represents me or not, I don't see any other
 16   individual flight you are pointing out here.    16   GMs but you have to understand that even if
 17   You are talking about 2001, how many years      17   my name is on that record doesn't mean I was
 18   ago is that?                                    18   on the flight.
 19      Q. I'm asking the questions.                 19       Q. So are you contesting the accuracy
 20      A. I'm not being difficult. I'm just         20   of the flight logs? In other words, you said
 21   asking, it's like 14, 15 years ago, it's        21   it doesn't represent you are on the flight so
 22   impossible, I'm sorry.                          22   is it your testimony just because a name is
 23      Q. So your testimony is you don't            23   listed doesn't mean they were actually on the
 24   recall flying on that flight with Virginia      24   flight?
 25   Roberts?                                        25           MR. PAGLIUCA: Objection to the
                                       Page 127                                                  Page 129
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       A. I cannot testify to that flight.          2       form and foundation.
  3       Q. Let's look at the next flight which       3       A. I can't testify to what -- these
  4   is on the       from the Virgin Islands back     4   are records that were produced by
  5   to Palm Beach, JE, Jeffrey Epstein, Ghislaine    5   is on here, so these aren't federally
  6   Maxwell, Emmy Taylor, Virginia Roberts, the      6   mandated records, so I can't testify to what
  7   same individuals on the above flight.            7   he produced.
  8       A. It doesn't say my name, it has some       8       Q. I would like you to turn to page,
  9   initials.                                        9   at the bottom, the Bates number is
 10       Q. I understand, the initials GM.           10   And the month is                   .
 11          Do you recall flying on a plane, on      11       A. Okay.
 12   one of Jeffrey's planes from the Virgin         12       Q. If you go down to the number that
 13   Islands to Palm Beach with Virginia Roberts?    13   is     that would be                 , you're
 14       A. I do not.                                14   going to see on that line an          which is a
 15       Q. Was there any other person that          15                                     and then you
 16   flew with Jeffrey Epstein with frequency        16   will see            which is going to be, I'm going
 17   during that time period in these logs that      17   to pronounce it incorrectly,
 18   have the initials GM?                           18            I'm sure I'm not pronouncing that
 19          MR. PAGLIUCA: Objection to the           19   correctly. Then you will see in the list,
 20       form and foundation.                        20   you will see JE, GM,                            ,
 21       A. I would have to look at all the          21                , it looks like --
 22   flight logs, I have no idea, I flew             22       A. I believe it says male.
 23   frequently.                                     23       Q. Yes. Then                     I
 24       Q. Why don't you take a look at the         24   believe. Is that GM on this page
 25   next three pages and see if that refreshes      25   representative of you?




                                                                     33 (Pages 126 to 129)
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                                              Page 130                                              Page 132
  1         G Maxwell - Confidential                        1        G Maxwell - Confidential
  2      A. Well, this would be a flight that I             2   then you will see the                     which
  3   would potentially remember with                       3   is the column which is where I want you to
  4   on it but I don't actually recall going to            4   start looking at the log and there you're
  5   Russia.                                               5   going to see
  6      Q. Are those your initials, do you
  7   recall being on the flight?
  8      A. Those are my initials with
  9                      , I don't recall this flight
 10   either, but I would be more likely to if I
 11   had a bit more time to study the timing of           11       A. Okay.
 12   this.                                                12       Q. If you look at the column, if you
 13      Q. Your testimony is you don't recall             13   go back up to the top on the      if you look
 14   flying with                      from           to   14   at the column you will see JE, GM, ET,
 15                                                        15   Virginia Roberts and I believe it says
 16       A. I don't recall the       to                   16               sorry I'm not reading that very
 17   flight. I have definitely flown with                 17   well.
 18                     .                                  18          Do you recall flying from, if you
 19       Q. On that same page you will see                19   see the dates, the
 20   beneath there, beneath 22 you will see the           20          Do you recall a trip that went from
 21   indication, same as above, same as above,            21   the United States to          and to the places
 22   same as above in the column that originally          22   I just mentioned where Virginia Roberts was
 23   had the initials.                                    23   on the plane with you?
 24       A. Uh-huh.                                       24          MR. PAGLIUCA: Objection to the
 25       Q. And the names.                                25       form and foundation.
                                              Page 131                                              Page 133
  1       G Maxwell - Confidential                          1        G Maxwell - Confidential
  2      A. Uh-huh.                                         2      A. I already testified that I don't
  3      Q. Do you recall flying with                       3   recall Virginia on any of these flights.
  4          from                  to                       4      Q. I would like to mark, as Maxwell 7,
  5                                                         5   I will put it at the top?
  6       A. I do.                                          6          (Maxwell Exhibit 7, photo, marked
  7       Q. So the GM that would be represented            7      for identification.)
  8   in that column would be you?                          8          MR. PAGLIUCA: Has this document
  9       A. I recall going to             with             9      been produced in discovery?
 10              so that is likely to be me.               10          MS. McCAWLEY: Yes.
 11       Q. You were on Jeffrey's plane for               11          MR. PAGLIUCA: Do you have a Bates
 12   that trip?                                           12      number?
 13       A. I believe I was.                              13          MS. McCAWLEY: This one doesn't.
 14       Q. Do you know who                               14      Q. I'm going to ask you --
 15   is?                                                  15          MR. PAGLIUCA: I don't recall
 16       A. I do not.                                     16      seeing this document so I would like to
 17       Q. I'm going back towards the front              17      see a Bates number document before we
 18   which is going to be             please. And         18      ask questions about it.
 19   you're going to see --                               19          MS. McCAWLEY: Can you go look for
 20       A. Hang on I'm not --                            20      it and I will continue. We will set
 21       Q. Take your time.                               21      that aside until we get a Bates number.
 22       A. Okay.                                         22      You may want to leave that log up and
 23       Q. You are going to see in the date              23      set it to the side and we will bounce
 24   column, you will see           and then about        24      back to that.
 25   halfway down you will see                            25      Q. Do you recall -- I think earlier




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                                         Page 134                                              Page 136
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   you said you visited Jeffrey's island, I           2   observe Jeffrey and
  3   think they called it St. Jeffrey or St.            3   talking?
  4   James, the U.S. Virgin Island home.                4      A. I'm sure they did.
  5       A. St. James.                                  5      Q. Did they seem friendly?
  6       Q. Do you recall whether                       6      A. I don't recollect.
  7            was ever on that island?                  7      Q. Was Epstein one of the original
  8       A. Categorically, definitively,                8   people that conceived the
  9   absolutely, without a shadow of a doubt, when      9
 10   I was present or any other time that I am         10          MR. PAGLIUCA: Objection to the
 11   aware of, was                      ever on that   11      form and foundation.
 12   island, I do not believe he went to that          12      Q. Do you know?
 13   island ever ever, that is an absolute             13      A. I don't have -- I don't know what
 14   fabrication and an absolute flat out lie.         14   you are talking about.
 15       Q. Was                                        15      Q. You don't know what I'm talking
 16                      ever at any of Jeffrey         16   about.
 17   Epstein's homes when you present, other than      17          Did you ever, not at one of houses,
 18   the island I know you said that did not           18   but did you ever eat dinner with
 19   happen, the home in either New York or Palm       19           and Jeffrey Epstein?
 20   Beach or New Mexico?                              20      A. Are you just talking in general
 21       A. I do not believe at any time               21   anywhere.
 22                      was at any of Jeffrey's        22      Q. In general?
 23   homes, I have absolutely no knowledge or          23      A. I believe on a plane of this nature
 24   otherwise that he was ever there.                 24   we would have had a meal.
 25       Q. You don't recall having dinner with        25      Q. But not outside of the travel on
                                         Page 135                                              Page 137
  1         G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   him at any of those homes?                         2   the flights?
  3        A. Again, Virginia is absolutely              3       A. I can't recollect having a meal
  4   totally lying. This is a subject of                4   with them, but just so we are clear, the
  5   defamation about Virginia and the lies she         5   allegations that         had a meal on
  6   has told and one of lies she told was that         6   Jeffrey's island is 100 percent false.
  7   President Clinton was on the island where I        7       Q. But he may have had a meal on
  8   was present. Absolutely 1000 percent that is       8   Jeffrey's plane?
  9   a flat out total fabrication and lie.              9       A. I'm sure he had a meal on Jeffrey's
 10        Q. You did fly on planes, Jeffrey            10   plane.
 11   Epstein's planes with President Clinton, is       11       Q. You do know how many times he flew
 12   that correct?                                     12   on Jeffrey's plane?
 13        A. I have flown, yes.                        13       A. I don't.
 14        Q. Would it be fair to say that              14       Q. Do you know who                   is?
 15   President Clinton and Jeffrey are friends?        15       A. I do.
 16        A. I wouldn't be able to characterize        16       Q. How do you know him?
 17   it like that, no.                                 17       A. He used to work or still works for
 18        Q. Are they acquaintances?                   18                .
 19        A. I wouldn't categorize it.                 19       Q. Did you ever have a relationship
 20        Q. He just allowed him to use his            20   with him?
 21   plane?                                            21       A. We are talking about adult
 22        A. I couldn't categorize Jeffrey's           22   consensual relationships, it's off the
 23   relationship.                                     23   record.
 24        Q. When you were on the plane with           24       Q. I'm not asking what you did with
 25   Jeffrey and President Clinton, did you            25   him, I'm asking if you ever had a




                                                                      35 (Pages 134 to 137)
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                                           Page 138                                                   Page 140
  1        G Maxwell - Confidential                         1       G Maxwell - Confidential
  2   relationship with him?                                2
  3          MR. PAGLIUCA: If you understand                3           MR. PAGLIUCA: That's what the
  4       the term relationship, certainly you can          4       document says.
  5       answer that.                                      5       Q. I'm not representing the date but
  6       A. Define relationship.                           6   there it is. So the last leg of that where
  7       Q. Somebody that you would have spent             7   it says same as above has, the second to
  8   time together, either seeing them in a                8   last, I'm sorry on the
  9   romantic relationship or --                           9                                  .
 10       A. You need to be, what do you mean by           10           Do you remember being in Thailand
 11   romantic. I was friends with          but you        11   with                     ?
 12   are suggesting something more so I want to be        12       A. I do.
 13   clear what you are actually asking me.               13       Q. Do you remember what the purpose of
 14       Q. You defined it. You said you were             14   that trip was?
 15   friends with him. If that's what you were            15       A. I don't.
 16   that's all I need to know.                           16       Q. Do you know whether -- do you
 17          While you were on the trip with               17   recall, did you stay the night in Thailand?
 18                       , do you recall where you        18       A. I don't recall.
 19   stayed at these locations, in other words,           19       Q. Do you recall why you went to
 20   would you leave the jet and stay overnight at        20   Thailand?
 21   a hotel, do you have a recollection of this          21       A. I don't recall.
 22   trip?                                                22       Q. Who is                        ?
 23       A. I recollect the trip but if you're            23       A. She I believe was a stewardess on
 24   asking me where we stayed, you can see it's a        24   this flight.
 25   very fast paced trip. It was very tiring and         25       Q. Did she perform any massages on the
                                           Page 139                                                   Page 141
  1        G Maxwell - Confidential                         1        G Maxwell - Confidential
  2   I don't recollect where we stayed.                    2   flight?
  3       Q. Do you recollect if you stayed at              3       A. I don't recollect any massages on
  4   the same place                       stayed? In       4   the flight.
  5   other words, if you left the plane to go a            5       Q. Do you know who                       is?
  6   hotel did you all go together is your                 6       A. It doesn't -- no I don't know who
  7   recollection?                                         7   that is, I can't recall.
  8       A. I honestly don't recollect, no.                8       Q. This is not in color, it's a black
  9       Q. Part of this trip we were just                 9   and white but it has the Bates label on it.
 10   talking about, there is a flight that goes to        10   Should I take the sticker off the one that
 11   Thailand, do you remember being in Thailand?         11   has -- I don't know if you want to swap it.
 12          MR. PAGLIUCA: Objection to the                12           MR. PAGLIUCA: Let the record
 13       form and foundation.                             13       reflect I am replacing this on the black
 14       A. Are you asking me --                          14       and white copy of this exhibit with
 15       Q. On the                       trip.            15                            .
 16       A. Are you referencing something?                16       Q. So, we were talking earlier, we
 17       Q. The part that, let me make sure               17   were looking at the flight logs and we were
 18   I've got it here. The entry that would be            18   talking about a trip and let me just get you
 19   the Thailand, would be the one -- let me make        19   back to the page. I believe it's page
 20   sure I'm correct. I have you on the wrong            20   000746. This wa
 21   page, it's actually the page before. It's
 22   going to be           And it's going to be the
 23   entry on          starting on             and then
 24   it goes down to where it has the same as
 25   above, to                      -- I'm saying




                                                                          36 (Pages 138 to 141)
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                                       Page 142                                                  Page 144
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2       Q. Can I direct your attention to the        2   building that you would have seen when you
  3   picture, please.                                 3   were on the trip in Europe?
  4       A. Of course.                                4          MR. PAGLIUCA: Objection to the
  5       Q. Can you tell me who is in this            5       form and foundation.
  6   picture, who is pictured here, and for the       6       A. I can't possibly answer that.
  7   court reporter's benefit, can you go from the    7       Q. Do you recall Virginia ever taking
  8   left of the picture to the right of the          8   pictures?
  9   picture, to the extent you can identify the      9       A. I barely recall Virginia, period.
 10   individuals?                                    10       Q. Do you recall her ever taking
 11       A. Sure. I cannot identify the person       11   pictures?
 12   on the left, I cannot identify the person       12       A. No, I don't.
 13   next left. I can identify Jeffrey Epstein.      13       Q. I'm going to direct your attention,
 14   I cannot identify the next person to his        14   still within the flight logs to -- starting
 15   right and the next person in the picture is     15   on the next page from where you just were
 16   myself.                                         16   which is going to be              And the date at
 17       Q. Is the individual all the way to         17   the top says         you will see           and I'm
 18   the left at the beginning of the picture,       18   directing your attention down towards the
 19   does that resemble Emmy Taylor. You might       19   middle to the bottom where you will see the
 20   want to look at the color version if that       20   numbers                   .
 21   helps you at all, I know it's not the marked    21       A. Uh-huh.
 22   one. I don't if that's easier to see, they      22       Q. And we've got actually I'm going to
 23   are both dark.                                  23   direct your attention to the one that starts
 24       A. That does not look like Emmy Taylor      24   with
 25   at all.
                                       Page 143                                                  Page 145
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Do you recall --                           2   and in the line, the remarks line you will
  3          MR. PAGLIUCA: Let's mark this then        3   see JE, GM,
  4      as deposition Exhibit 8 since we are
  5      referring to it and then you can give us      5         MR. PAGLIUCA: Are you reading the
  6      copies as well.                               6      29th, is that what you're reading?
  7          MS. MENNINGER: It's different             7         MS. McCAWLEY: I'm reading the
  8      because it has other people in this           8      29th, yes.
  9      color photo.                                  9      Q. Below that you will see JE, GM,
 10          (Maxwell Exhibit 8, photo, marked
 11      for identification.)
 12      Q. Do you recall who took this               12         Do you see that?
 13   photograph?                                     13      A. I do.
 14      A. I do not.                                 14      Q. Do you recall a trip from Teterboro
 15      Q. Do you recall this photograph being       15   to Santa Fe and Santa Fe back to Palm Beach
 16   taken by Virginia?                              16   with these individuals?
 17      A. First of all, I don't know where we       17      A. I don't.
 18   are.                                            18      Q. Do you recall being on a plane with
 19      Q. So you don't recognize the                19                  and Virginia Roberts?
 20   building?                                       20      A. I don't.
 21      A. I don't recognize the building and        21      Q. Do you recall ever witnessing any
 22   I don't recognize -- the only two people I      22   sexual interaction on one of Jeffrey's planes
 23   recognize in the picture are Jeffrey and        23   with any of these individuals?
 24   myself.                                         24      A. I do not, absolutely not.
 25      Q. Does this like look a picture of a        25      Q. Did Jeffrey have a fold out bed on




                                                                     37 (Pages 142 to 145)
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                                        Page 146                                               Page 148
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   one of his planes?                               2   excerpts from -- we will identify what they
  3       A. There was a bed on one of his             3   are but from the message pads.
  4   planes that folded out, yes.                     4          Did you want to correct anything?
  5       Q. Do you recall whether with respect        5       A. I want to make an addendum.
  6   to this being in Santa Fe, do you recall         6          Would you mind rereading the last
  7   whether you were there for some form of a        7   question back to me?
  8   party?                                           8          (Record read.)
  9          MR. PAGLIUCA: Objection to the            9       A. I also just want to say that at
 10       form and foundation.                        10   this point I cannot recollect flying to
 11       A. I don't recall the trip at all and       11   parties. Jeffrey went for work so -- was
 12   this looks like a total work trip, not a        12   this in Santa Fe, this flight as well.
 13   party trip.                                     13       Q. The flight we were looking at, yes
 14       Q. What would be the difference             14   but it was to Santa Fe --
 15   between a work trip and a party trip?           15       A. I don't recall going to any parties
 16       A. Just that I would be on trips for        16   in Santa Fe at any time but certainly flying
 17   work and I believe that this looks like,        17   to Santa Fe for a party seems highly
 18   looks like it's one of the -- probably one of   18   improbable.
 19   the designers and the time would meet with a    19       Q. So I'm going to direct your
 20   trip to decorate the house, just the timing     20   attention to the document that I set before
 21   of it.                                          21   you which is Bates number                 and it
 22       Q. So would Virginia be brought on          22   has different Bates numbers because it's a
 23   trips that were for the purpose of work and     23   smaller version of the larger production.
 24   decorating the house?                           24   These are the pages I will be asking about.
 25       A. Like I said, I never worked with         25          In the time that you were working
                                        Page 147                                               Page 149
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   her but you would have to ask Jeffrey what he    2   with Jeffrey in Palm Beach, do you recall a
  3   brought her on the trip for.                     3   process for taking, anybody at the house
  4       Q. But she would travel with him when        4   taking messages when incoming phone calls
  5   there was a work trip like this?                 5   came in?
  6       A. I can't -- I'm seeing that she is         6       A. You are supposed to take a message
  7   on this flight but I have no idea what she is    7   and receive the message and write the message
  8   doing, he invited her, it would not be my        8   down. Who was the message was for, what time
  9   job.                                             9   it was taken and who took it and what the
 10       Q. What about Nadia Bjorlin, would she      10   message was, obviously.
 11   regularly travel with Jeffrey on flights?       11       Q. Does what's in front of you look
 12       A. I have no idea, you would have to        12   familiar with respect to the message pads
 13   look through the flight logs. I have no         13   that you would have used at the house?
 14   idea.                                           14       A. It is familiar.
 15       Q. Your recollection is -- what is          15       Q. I'm going to direct your attention
 16   your recollection, do you recollect Nadia       16   to the second page of it?
 17   traveling often on flights with Jeffrey?        17          MR. PAGLIUCA: These all have SAO
 18       A. Absolutely not. No, not at all. I        18       numbers on them or Bates ranges and I
 19   don't recollect her actually on the flight at   19       don't see any of your Bates ranges on
 20   all.                                            20       these. I know you have produced message
 21       Q. I think you can set that aside for       21       pads but those have your Bates range
 22   the moment.                                     22       numbers on them and I'm wondering if
 23          (Maxwell Exhibit 9, message pad          23       these are different documents.
 24       pages, marked for identification.)          24          MS. McCAWLEY: It's the same, just
 25       Q. We will mark as Exhibit 9 these          25       ours have the Bates underneath them.




                                                                    38 (Pages 146 to 149)
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                                            Page 150                                                Page 152
  1        G Maxwell - Confidential                          1        G Maxwell - Confidential
  2       These were produced as part of the rule            2   for JE, date          , message
  3       26 discovery. We can get the additional            3   and then it's signed GM.
  4       Bates if you want.                                 4          Is that your signature?
  5       Q. The one I'm asking about first is               5      A. That's not my handwriting.
  6   the             . You can look at that and then        6      Q. Would other people take a message,
  7   I will identify the Bates number referenced            7   how did this process work, is there someone
  8   in this case.                                          8   else in the house with the initials GM?
  9          I want to direct your attention to              9          MR. PAGLIUCA: Objection to the
 10   the top right-hand corner just so I have an           10      form and foundation.
 11   understanding of how these messages were              11      A. I cannot answer that. It's not my
 12   taken. So I see that it says at the top it            12   handwriting.
 13   says in the for line it says Ms. Maxwell and          13      Q. I'm trying to understand how this
 14   the date of            and then I see under the       14   gets there. If you took a message and didn't
 15   M line it looks like                  or              15   write it down, would someone else record that
 16   something like that, a phone number and a             16   message for you?
 17   message saying returning your call and on the         17          MR. PAGLIUCA: Objection to the
 18   bottom it looks like                                  18      form and foundation.
 19          Explain to me, is this -- does this            19      A. All I can tell you, this is not my
 20   represent          taking down a message for you      20   handwriting so I cannot -- I have no idea
 21   from              , is that how these work?           21   what that is.
 22          MR. PAGLIUCA: Objection to the                 22      Q. Was the practice that, what was the
 23       form and foundation. Go ahead.                    23   practice when someone answered the phone with
 24       Q. My question is, I'm trying to                  24   these message pads, what were they supposed
 25   understand how the messages were taken.               25   to do?
                                            Page 151                                                Page 153
  1         G Maxwell - Confidential                         1        G Maxwell - Confidential
  2   Looking at this message pad, where it says             2      A. They were supposed to take a
  3   signed          can you tell me who            was?    3   message and the time and date and give the
  4       A. I cannot.                                       4   message.
  5       Q. You do not know.                                5      Q. Were they supposed to indicate who
  6          Typically when these messages were              6   took the message?
  7   taken in your practice when you were there,            7      A. They were but it wasn't -- I don't
  8   would the individual who took the message              8   really recall the actual process. I can see
  9   write their name on the message?                       9   from here it looks like you were supposed to
 10          MR. PAGLIUCA: Objection to the                 10   but that's not my handwriting so I can't say
 11       form and foundation.                              11   what that was.
 12       A. I don't recollect, you can ask who             12      Q. Do you know who                       is?
 13   wrote it so you can find out who it was.              13      A. No, I don't.
 14       Q. Do you know who                        is?     14      Q. Do you know whether
 15       A. I don't.                                       15   was under the age of 18?
 16       Q. I'm going to direct your                       16      A. I just testified I couldn't
 17   attention -- do we have a Bates number for            17   remember who she was so it would be difficult
 18   that?                                                 18   to know how old she was.
 19          MR. EDWARDS:                                   19      Q. Do you know if she was coming to
 20       Q. Giuffre            for that one.               20   the house to provide massages?
 21          I will direct your attention to the            21      A. I don't remember who she is at all,
 22   first page which has the               on it.         22   so no.
 23       A. Okay.                                          23      Q. And then I would like to direct
 24       Q. Now at the top of that document, on            24   your attention to the message right
 25   the right-hand side, the message that reads           25   underneath it. Which says JE,




                                                                          39 (Pages 150 to 153)
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                                          Page 154                                               Page 156
  1        G Maxwell - Confidential                       1       G Maxwell - Confidential
  2   and has a phone number and the message says,        2      Q. In 2003?
  3   wants to know if she should bring her friend        3      A. The end of 2003?
  4          tonight.                                     4      Q. January, the beginning.
  5          What is that message referring to?           5      A. I don't know, I could have been
  6          MR. PAGLIUCA: Objection to the               6   anywhere, Jeffrey and I were leading almost
  7       form and foundation.                            7   separate lives by then.
  8       A. I can't possibly know.                       8      Q. If you were at the house that day,
  9       Q. Did individuals at the house take            9   did you recall seeing anybody by the name of
 10   messages for underage girls to come over and       10
 11   bring friends for the purpose of providing         11          MR. PAGLIUCA: Objection to the
 12   massages?                                          12      form and foundation.
 13          MR. PAGLIUCA: Objection to the              13      A. I don't know if I was at the house,
 14       form and foundation.                           14   so I can't testify to that.
 15       A. How would I possibly know what you          15      Q. Let's flip back to the next page,
 16   are talking about.                                 16   the one we were on before the             , the
 17       Q. Did you record messages at the              17   message towards the bottom that says, for
 18   house?                                             18   Jeffrey, message of Ghislaine. And it says,
 19       A. It's not my job.                            19   Would it be helpful to have and then redacted
 20       Q. You did from time to time record            20   come to Palm Beach today to stay here and
 21   messages?                                          21   help train new staff with Ghislaine. Who
 22       A. Hardly ever.                                22   were you referring to in that message; do you
 23       Q. But you did from time to time do            23   remember?
 24   it?                                                24          MR. PAGLIUCA: Objection to the
 25       A. I'm just saying I hardly ever took          25      form and foundation.
                                          Page 155                                               Page 157
  1         G Maxwell - Confidential                      1       G Maxwell - Confidential
  2   messages, very, very, very, very                    2      Q. The question is, do you recall this
  3   infrequently.                                       3   message?
  4       Q. Do you know if               brought her     4      A. I do not recall this message.
  5   friend         over on that night?                  5      Q. Do you recall training a female
  6           MR. PAGLIUCA: Objection to the              6   under the age of 18 at Jeffrey's home?
  7       form and foundation.                            7          MR. PAGLIUCA: Objection to the
  8       A. One, I don't know what this message          8      form and foundation.
  9   is, I don't know if I was in Palm Beach, I          9      A. I never trained a female under the
 10   don't know who              is, I don't know who   10   age of 18 at Jeffrey's home.
 11           is and I don't know what this message      11      Q. Did you ever say it would be
 12   is referring to.                                   12   helpful to have a female under the age of 18
 13       Q. So on January 2nd of 2003, were you         13   come to Palm Beach today to stay here and
 14   in Palm Beach?                                     14   help train new staff with Ghislaine?
 15       A. I don't know.                               15      A. I never asked anyone under the age
 16       Q. Where would you have been other             16   of 18 come to help train new staff.
 17   than Palm Beach at the time?                       17      Q. I'm going to flip to the next page
 18       A. I could have been anywhere.                 18   which is             .
 19       Q. Where did you typically live?               19      A. By the way, that is not my
 20       A. What are you asking me?                     20   handwriting and it's not dated and I couldn't
 21       Q. So for example, in 2003, where was          21   possibly tell you who that is.
 22   your primary residence, was it wherever            22          Did you hear that?
 23   Jeffrey was living and staying or was it           23      Q. You got your testimony on the
 24   independent of that?                               24   record.
 25       A. What was the date again.                    25




                                                                       40 (Pages 154 to 157)
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                                           Page 158                                           Page 160
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2       A. Yes.                                        2   available on Tuesday, no one for tomorrow.
  3          MR. EDWARDS: Giuffre                        3          Is this a message you took?
  4       Q. I'm going to direct your attention          4       A. It's not my handwriting and I don't
  5   to the top right-hand corner, for Mr.              5   know who R is.
  6   Epstein,        , message            a phone       6       Q. So when it says Ms. Maxwell in the
  7   number and called.                                 7   line there, is that you calling for Mr.
  8          Do you know who              is?            8   Epstein?
  9       A. I don't.                                    9          MR. PAGLIUCA: Objection to the
 10       Q. Do you know that              was 15 at    10       form and foundation.
 11   the time she left this message?                   11       A. I didn't write it, I don't know
 12          MR. PAGLIUCA: Objection to the             12   when this message was taken. I don't even
 13       form and foundation.                          13   know what it's referring to and I don't know
 14       A. I don't know who             is.           14   what my name is doing on that message pad.
 15       Q. And then I'm going to direct your          15       Q. I know you said you only took them
 16   attention to the bottom left which is a           16   a few times. Do you have a recollection of
 17   message JE message of                and the      17   taking messages of females who would call the
 18   message says, He just did a good one, 18          18   house to indicate whether or not they were
 19   years, she spoke to me and said I love            19   coming over?
 20   Jeffrey.                                          20          MR. PAGLIUCA: Objection to the
 21          Was             referring to sex with      21       form and foundation.
 22   an 18 year old in that message?                   22       A. Give me a date range.
 23          MR. PAGLIUCA: Objection to the             23       Q. On 7/9/04.
 24       form and foundation.                          24       A. How would I know if I'm in Palm
 25       A. How could I know what                 is   25   Beach, most likely not.
                                           Page 159                                           Page 161
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   referring to.                                      2      Q. I'm asking if you have a
  3       Q. Do you know if              had sex         3   recollection of taking messages for girls who
  4   with an 18 year old that he referenced to          4   would call the house --
  5   Jeffrey Epstein?                                   5      A. Girls.
  6          MR. PAGLIUCA: Objection to the              6      Q. Females, who would call the
  7      form and foundation.                            7   house --
  8       A. How could I possibly know.                  8      A. Over the age of 18.
  9       Q. Did Jeffrey Epstein or                      9      Q.           is 15.
 10   ever tell you that           had sex with an      10      A. I don't know who            is, so I
 11   18 year old?                                      11   can't testify anything to
 12          MR. PAGLIUCA: Objection to the             12      Q. Your name is on the message.
 13       form and foundation.                          13      A. I didn't put it there and I don't
 14       A. I have no idea what you are talking        14   know what it's doing there.
 15   about.                                            15      Q. So your testimony is you didn't
 16       Q. Did they ever tell you that?               16   take this message?
 17       A. I have no recollection of ever             17      A. I obviously didn't take the
 18   hearing such a ridiculous thing.                  18   message, it's signed by somebody R, it's not
 19       Q. I will turn to the next page which         19   my handwriting. We don't know if I'm in Palm
 20   is SAO 2841?                                      20   Beach.
 21          MS. MENNINGER: Do you have the             21      Q. Did you arrange for            to have
 22       Bates number?                                 22   his friend           come over on Tuesday of
 23       Q. The bottom right-hand corner, Mr.          23   this week?
 24   Epstein, the date        , Ms. Maxwell, it        24      A. I don't know who            is so it
 25   says,         it says, quote,         is          25   would be hard for me to arrange anything with




                                                                      41 (Pages 158 to 161)
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                                        Page 162                                                Page 164
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   someone I don't know.                            2   messages, I don't know about how I would
  3      Q. Why is your name reflected on this         3   possibly know if somebody I spoke to, one or
  4   message pad?                                     4   two times I took a message is, how old they
  5         MR. PAGLIUCA: Objection to the             5   would be but I have never taken a message
  6      form and foundation.                          6   where I was aware of anything being under the
  7      A. I have no idea. You would have to          7   age of 18 and I probably took it so
  8   ask whoever took the message.                    8   infrequently, it would be impossible.
  9      Q. Did you, in the course of your             9      Q. Can you turn to                , it
 10   work, regularly take messages for Jeffrey       10   should be the next page.
 11   Epstein?                                        11      A. Uh-huh.
 12      A. I already testified I hardly ever         12      Q. Do you see at the top, it says, for
 13   did.                                            13   Mr. J. 11/8/04 and then the name is
 14      Q. Would you, in the course of your          14   redacted. It says, I have a female for him.
 15   work, regularly set up appointments for         15         Why would a minor be calling
 16   females to come over and give massages for      16   Jeffrey to say they have a female for him?
 17   Jeffrey Epstein?                                17         Do you know?
 18         MR. PAGLIUCA: Objection to the            18         MR. PAGLIUCA: Objection to the
 19      form and foundation.                         19      form and foundation.
 20      A. Can you specify, females, you mean        20      A. First of all, I don't know that's a
 21   adults over the age of 18.                      21   minor, I don't know who took the message.
 22      Q. Did you regularly set up for              22      Q. I will represent to you these are
 23   Jeffery adults over the age of 18 to come for   23   police reports and minor's names have to be
 24   massages?                                       24   redacted for privacy purposes?
 25      A. I didn't regularly do that, no.           25         MR. PAGLIUCA: Objection to the
                                        Page 163                                                Page 165
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       Q. Would you take messages with              2       form and foundation.
  3   respect to females over the age of 18 to come    3       Q. Do you know why a minor child would
  4   over for a massage?                              4   be calling Jeffrey and leaving a message to
  5       A. I already testified I hardly ever         5   say, quote, I have a female for him?
  6   did take messages.                               6          MR. PAGLIUCA: Objection to the
  7       Q. But would you?                            7       form and foundation.
  8       A. I already testified, I hardly             8       A. I can't testify anything about this
  9   ever --                                          9   message, I don't know anything about it.
 10       Q. I know hardly ever, but did you?         10       Q. I'm going to direct your attention
 11       A. Over the course of time it is            11   to the next page             . If you look at
 12   possible I may have taken a couple, I have no   12   the bottom left, you are going to see a
 13   recollection. I hardly ever did and I did so    13   message for Jeffrey, from                     , it
 14   irregularly that it would hard for me to        14   says she doesn't have a number and left a
 15   pinpoint.                                       15   message that she called.
 16       Q. Did you ever take a message for a        16          Do you know who                        is?
 17   female under the age of 18 to come over for a   17       A. I do not.
 18   massage or for any other reason to be with      18       Q. Do you know that                        was
 19   Jeffrey Epstein?                                19   13 at the time she placed this call to
 20          MR. PAGLIUCA: Object to the form         20   Jeffrey?
 21       and foundation.                             21       A. I don't know who                       is.
 22       A. I hardly ever took a message. I          22       Q. Would Jeffrey regularly have 13
 23   have absolutely no way of knowing, maybe one    23   year olds call and leave messages?
 24   of my friends' daughters called to say they     24          MR. PAGLIUCA: Objection to the
 25   were coming to visit me. I have never taken     25       form and foundation.




                                                                     42 (Pages 162 to 165)
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                                          Page 166                                              Page 168
  1          G Maxwell - Confidential                     1        G Maxwell - Confidential
  2        A. How would I possibly, these were            2      off the record.
  3   messages taken when I was not at the house          3         (Recess.)
  4   and I have no idea who they are nor how old         4       AFTERNOON SESSION
  5   they are nor anything.                              5          (Time noted: 1:21 p.m.)
  6        Q. How do you know you weren't at the          6   G H I S L A I N E M A X W E L L,
  7   house on this day?                                  7   resumed and testified as follows:
  8        A. I was hardly at the house in 2005.          8   EXAMINATION BY (Cont'd.)
  9        Q. So you could have been there, you           9   MS. McCAWLEY:
 10   just don't know?                                   10         THE VIDEOGRAPHER: It's now 1:21,
 11        A. In the five days I might have been         11      we're starting disk No. 4. We are back
 12   there in 2005, I suppose it's possible but         12      on the record.
 13   it's unlikely.                                     13      Q. Ms. Maxwell, before the break, we
 14            MR. PAGLIUCA: Do you know why this        14   were talking about and I think it's one of
 15        isn't redacted if you are representing        15   the exhibits that's marked in front of you,
 16        all the names of people who are underage      16   I'm not sure of the number, but the police
 17        have been redacted from these records.        17   report that I showed you earlier today.
 18            MS. McCAWLEY: I think it was -- my        18         Now that you have knowledge of the
 19        assumption is it was a miss by the            19   police report and the criminal investigation
 20        police department.                            20   with respect to Jeffrey Epstein, do you
 21        Q. I will direct your attention to            21   believe that Jeffrey Epstein abused any minor
 22           so you will skip a page and go back,       22   children?
 23   it's the final page in the message pads and        23         MR. PAGLIUCA: Objection to the
 24   you will see on the top left for Jeffrey, on       24      form and foundation.
 25   6/1/2005 from                       with a phone   25      A. Can you repeat the question please
                                          Page 167                                              Page 169
  1        G Maxwell - Confidential                       1         G Maxwell - Confidential
  2   number. It says, quote, He has a teacher for        2   and break it down so it's more
  3   you to teach you how to speak Russian. She          3   understandable.
  4   is two times eight years old. Not blond.            4       Q. Now that you have the police report
  5   Lessons are free and you can have your first        5   that I showed you this morning that you had
  6   today if you call.                                  6   an opportunity to look at.
  7          Do you know whether                          7       A. You gave it to me, I did not look
  8   sent a Russian girl that was 16 years old           8   at it.
  9   over to Jeffrey Epstein's home?                     9       Q. The questions that I asked you
 10          MR. PAGLIUCA: Objection to the              10   about the police report -- you are aware
 11       form and foundation.                           11   there is a police report?
 12       A. I do not know.                              12       A. I am aware there is a police
 13       Q. Did you ever observe a Russian girl         13   report.
 14   that was 16 years old come to Jeffrey              14       Q. You are aware there was a criminal
 15   Epstein's home?                                    15   investigation of Jeffrey Epstein?
 16       A. I am not aware of any 16 year old           16       A. I am aware that there was that.
 17   Russian girl that I can recall in Jeffrey          17       Q. Now that you are aware of those two
 18   Epstein's home.                                    18   things and having talked to Jeffrey Epstein,
 19       Q. Do you know whether Jeffrey Epstein         19   do you believe Jeffrey Epstein sexually
 20   had sex with a 16 year old Russian girl?           20   abused minors?
 21          MR. PAGLIUCA: Objection to the              21          MR. PAGLIUCA: Objection to the
 22       form and foundation.                           22       form and foundation.
 23       A. I do not know.                              23       A. Can you reask the second part of
 24          THE VIDEOGRAPHER: It's 12:25.               24   that question please.
 25       This will be the end of disk 3, we are         25       Q. Sure. The two documents we were




                                                                       43 (Pages 166 to 169)
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                                       Page 170                                             Page 172
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   talking about, the document and the              2   sentenced for sexual abuse, are you aware of
  3   investigation, you said you are aware of and     3   that?
  4   after having talked to Jeffrey Epstein, do       4          MR. PAGLIUCA: Objection to the
  5   you believe Jeffrey Epstein sexually abused      5      form and foundation.
  6   minors?                                          6      Q. Are you aware that Jeffrey Epstein
  7          MR. PAGLIUCA: Objection to the            7   served time for sexual abuse of a minor?
  8       form and foundation.                         8          MR. PAGLIUCA: Objection to the
  9       A. What do you mean I talked to              9      form and foundation.
 10   Jeffrey, you need to break the question down    10      A. I don't believe that's what he was
 11   further.                                        11   sentenced for, actually.
 12       Q. So you have the police report.           12      Q. So you don't know that Jeffrey
 13       A. I do.                                    13   Epstein served time for sexually abusing a
 14       Q. And you are aware of the criminal        14   minor?
 15   investigation?                                  15          MR. PAGLIUCA: Objection to the
 16       A. I am.                                    16      form and foundation.
 17       Q. Let's take those two things. After       17      A. I don't believe that's what he was
 18   knowing those two things, do you believe that   18   sentenced for.
 19   Jeffrey Epstein abused minor children?          19      Q. Do you know that Jeffrey Epstein
 20          MR. PAGLIUCA: Objection to the           20   was convicted for procuring a minor for
 21       form and foundation.                        21   prostitution?
 22       A. Can you explain what you mean by         22          MR. PAGLIUCA: Objection to the
 23   the question actually.                          23      form and foundation.
 24       Q. I think the question speaks for          24      A. I don't know exactly what he was
 25   itself. I will try again. I will say it one     25   convicted of. I don't know that he was
                                       Page 171                                             Page 173
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   more time because I want you to be able to       2   convicted. I know he spent time in jail.
  3   understand it.                                   3       Q. Do you know that he spent time in
  4         Knowing that you have the police           4   jail related to an issue with a minor child?
  5   report here and knowing about the criminal       5           MR. PAGLIUCA: Objection to the
  6   investigation, do you believe that Jeffrey       6       form and foundation.
  7   Epstein sexually abused minors?                  7       A. I did not know that.
  8         MR. PAGLIUCA: Same objection.              8       Q. What did you think he was spending
  9      A. I know what you put in front of me         9   time in jail for?
 10   and I know what I read.                         10       A. I only know he went to jail for --
 11      Q. I'm asking what you believe, do you       11   it was alleged that he hired -- had an
 12   believe Jeffrey Epstein sexually abused         12   underage prostitute.
 13   minors?                                         13       Q. So knowing that, do you believe
 14      A. I can only tell you what I read and       14   that Jeffrey Epstein sexually abused minors?
 15   what you showed me.                             15           MR. PAGLIUCA: Objection to the
 16      Q. I'm asking what you believe, from         16       form and foundation.
 17   your own belief, do you believe that Jeffrey    17       A. I can only tell you what he went to
 18   Epstein abused minors?                          18   jail for.
 19      A. I can only go from what I know            19       Q. I'm asking what you believe. I'm
 20   personally and what I know personally about     20   not asking what he went to jail for. I'm
 21   what Virginia's lies talked about. She is       21   asking for your belief.
 22   the only person I know that actually claimed    22       A. I cannot testify to what I believe.
 23   that. And I can say with certitude that         23   I can only say what I have seen in the
 24   everything Virginia said was a lie.             24   reports and I know he went to jail.
 25      Q. You are aware Jeffrey Epstein was         25       Q. You can testify to what you




                                                                    44 (Pages 170 to 173)
Case 1:15-cv-07433-LAP Document 1307-20 Filed 08/25/23 Page 46 of 106

                                        Page 174                                            Page 176
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   believe. Do you believe --                      2      Q. Do you believe Jeffrey Epstein
  3      A. I can only testify --                     3   sexually abused minors?
  4      Q. Let me finish the question so the         4      A. Again, I repeat, the only person I
  5   record is clear.                                5   know who has talked about these things that I
  6          Do you believe Jeffrey Epstein           6   have personal -- was personally present, was
  7   sexually abused minors?                         7   Virginia and I can only talk to Virginia and
  8          MR. PAGLIUCA: Objection to the           8   she is a liar.
  9      form and foundation.                         9      Q. Setting aside Virginia. Take her
 10      Q. You can answer.                          10   out of the picture. It's my question.
 11      A. I can only testify to what I know.       11      A. We are here today because of
 12   I know that Virginia is a liar and I know      12   Virginia and her lies because this is a
 13   what she testified is a lie. So I can only     13   defamation suit.
 14   testify to what I know to be a falsehood and   14      Q. Setting aside Virginia, do you
 15   half those falsehoods are enormous and so I    15   believe Jeffrey Epstein sexually abused
 16   can only categorically deny everything she     16   minors?
 17   has said and that is the only thing I can      17      A. I cannot set aside Virginia because
 18   talk about because I have no knowledge of      18   that's why we are here and this is the only
 19   anything else.                                 19   reason I am sitting here in this room and I
 20      Q. I'm not asking about Virginia. I'm       20   will not set her aside and I cannot comment
 21   asking whether you believe that Jeffrey        21   about anything else except her because she is
 22   Epstein sexually abused minors?                22   the only person I actually know about.
 23      A. Again, I repeat, I can only go on        23      Q. Are you refusing to answer that
 24   what I know and what I know is a falsehood     24   question?
 25   based on what Virginia said.                   25      A. I am not refusing the question. I
                                        Page 175                                            Page 177
  1        G Maxwell - Confidential                   1         G Maxwell - Confidential
  2      Q. Do you believe Jeffrey Epstein            2   can only testify about Virginia who is an
  3   sexually abused minors?                         3   absolute total liar and you all know she is.
  4      A. Again, I repeat, Virginia is a liar       4   She lied about her age, you know she lied
  5   and based on Virginia's stories, that is        5   about absolutely everything. So I can only
  6   what -- she lied and I can only then talk       6   go on what I know as a liar and she is a
  7   about what you've showed me in the police       7   liar, an exaggerator, a fantasist and
  8   reports and I know he went to jail.             8   absolutely true terrible person.
  9      Q. Do you believe that Jeffrey Epstein       9       Q. I want you to listen very
 10   sexually abused minors? I'm asking about       10   carefully. I am asking you to set aside
 11   your belief.                                   11   Virginia.
 12      A. Again, I just repeat, I can only         12       A. I can't set aside Virginia.
 13   go -- my belief is Virginia is a liar.         13       Q. I am asking you to do that for
 14      Q. What is that belief?                     14   purposes of this question.
 15      A. She is an absolute liar and              15          MR. PAGLIUCA: She doesn't have to.
 16   everything she said is a lie and therefore,    16          MS. McCAWLEY: She can refuse to
 17   everything that stems from that is a lie.      17       answer the question.
 18      Q. So do you believe that Jeffrey           18       A. I'm not refusing to answer the
 19   Epstein sexually abused minors?                19   question.
 20      A. Again -- can we move on from here?       20       Q. You are refusing.
 21      Q. No. You are going to answer the          21          My question has nothing to do with
 22   question.                                      22   Virginia. Let me make the record here. My
 23      A. I have already.                          23   question has nothing to do with Virginia. I
 24      Q. No, you haven't.                         24   want it to be clear for the court. My
 25      A. I have.                                  25   question has nothing to do with Virginia.




                                                                   45 (Pages 174 to 177)
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                                        Page 178                                             Page 180
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          What I'm asking you is whether you        2   said is a lie. Therefore, based on those
  3   believe Jeffrey Epstein abused minors?           3   lies I cannot speculate on what anybody else
  4          MR. PAGLIUCA: I object to the form        4   did or didn't do because if Virginia is the
  5      and you made your record, she answered        5   example of what that story is and everything
  6      the question. A fair reading of her           6   she said is false, so everything that leads
  7      answer is she doesn't have a belief           7   from that is false.
  8      because she doesn't have any personal         8       Q. So the 30 other minor children in
  9      knowledge.                                    9   the police report are also telling lies about
 10          MS. McCAWLEY: Now you are                10   being sexually abused during massages with
 11      testifying for the witness. Let her          11   Mr. Epstein?
 12      answer the question.                         12           MR. PAGLIUCA: Objection to the
 13          MR. PAGLIUCA: It's a fair answer         13       form and foundation. Counsel, can you
 14      to the question.                             14       show me in these police reports who the
 15      A. Again, I testified my only personal       15       30 minors are?
 16   knowledge concerns Virginia and everything      16           MS. McCAWLEY: I'm asking my
 17   Virginia has said is an absolute lie, which     17       question.
 18   is why we are here in this room. If you are     18           MR. PAGLIUCA: You are making a
 19   asking me to testify about things I have no     19       representation about numbers, you are
 20   knowledge of other than the police report       20       making a representation on the record
 21   that you showed me, I am not in a position to   21       about what people said or didn't say.
 22   make a statement based on that because you      22       We have no knowledge about that. These
 23   are asking me to speculate and I cannot         23       are all redacted records so these are
 24   speculate.                                      24       bad questions. They don't lead to any
 25      Q. I'm asking you about your belief.         25       admissible evidence. It is only being
                                        Page 179                                             Page 181
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   I'm not asking you to speculate at all. I'm      2      propounded to the witness to harass her.
  3   asking what you believe.                         3      So we are done with these questions.
  4       A. You are asking me to speculate and        4          MS. McCAWLEY: Are you done?
  5   I won't speculate.                               5          MR. PAGLIUCA: Yes.
  6       Q. I'm not asking you to speculate.          6      Q. My question is, are you aware that
  7   I'm asking what you believe.                     7   Jeffrey Epstein was convicted of having
  8          MR. PAGLIUCA: She answered the            8   relations with a minor child?
  9       question and we can move on.                 9          MR. PAGLIUCA: She answered that
 10          MS. McCAWLEY: She hasn't answered        10      question already.
 11       the question.                               11          MS. McCAWLEY: I'm getting to my
 12          MR. PAGLIUCA: We are not going to        12      next question.
 13       engage in this debate. She answered the     13          MR. PAGLIUCA: Ask your next
 14       question. If you want to mark it and        14      question. Don't keep asking the same
 15       move to compel an answer to the             15      question.
 16       question, have at it. Okay.                 16          MS. McCAWLEY: You are now
 17       Q. Ms. Maxwell, is it your belief that      17      shouting, I want the record to reflect
 18   Jeffrey Epstein interacted sexually with        18      that you are interrupting the
 19   minors?                                         19      deposition. I ask you to calm down,
 20       A. Again, you are asking me the same        20      take a deep breath and please let me ask
 21   type of question exactly but with different     21      my questions.
 22   language. Again, my only knowledge of           22          MR. PAGLIUCA: Your behavior is
 23   somebody who claims these things that I have    23      inappropriate.
 24   personal knowledge of is Virginia. Virginia     24      Q. I will ask you again.
 25   is an absolute liar and everything she has      25          Do you believe that Jeffrey Epstein




                                                                    46 (Pages 178 to 181)
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                                       Page 182                                             Page 184
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   interacted sexually with minors?                 2   is a registered sex offender?
  3       A. Again, I go back to this, my only         3       A. I am.
  4   actual knowledge is with Virginia and            4       Q. Are you aware that Jeffrey Epstein
  5   Virginia is a liar, so I can only talk to        5   paid considerable amounts of money to settle
  6   what Virginia's story and as I said before       6   lawsuits with the minor children that he had
  7   and there are so many examples, I mean           7   sexual contact with?
  8   thousands of examples of her lies, that that     8           MR. PAGLIUCA: Objection to the
  9   is the only thing I can talk to.                 9       form and foundation.
 10       Q. Based on that you do not believe         10       A. I have no knowledge of those
 11   that Jeffrey Epstein sexually abused minors?    11   issues.
 12       A. Again, as I said, I'm only talking       12       Q. Why did you continue to maintain
 13   to what I know, I can only talk to Virginia.    13   contact with Jeffrey Epstein after he pled
 14       Q. So is it your belief that Jeffrey        14   guilty?
 15   Epstein did not sexually abuse minors?          15       A. I'm a very loyal person and Jeffrey
 16       A. Again, I can only talk to what I         16   was very good to me when my father passed
 17   know and I know that Virginia is a liar and     17   away and I believe that you need to be a good
 18   that what she said is a lie. So I can only      18   friend in people's hour of need and I felt
 19   testify to what she accused and you guys put    19   that it was a very thoughtful, nice thing for
 20   in the press for salacious purposes and         20   me to do to help in very limited fashion
 21   whatever terrible, inappropriate, unethical     21   which was helping if he had any issue with
 22   and terrible reasons you chose to do that       22   his homes, in terms of the staffing issues.
 23   about me and I can testify those are all        23   It was very, very minor but I felt it was
 24   lies.                                           24   thoughtful in somebody's hour of need.
 25       Q. Do you know whether Jeffrey Epstein      25       Q. Did he continue to pay you during
                                       Page 183                                             Page 185
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   sexually abused any minor children?              2   that time period?
  3       A. Again, I only know 1000 percent           3       A. I was paid a little.
  4   that Virginia is a liar. I can only talk to      4       Q. You were paid?
  5   Virginia, her lies and your inappropriate,       5       A. Yes.
  6   unethical, really unattractive, terrible use     6       Q. When you say a little, what you did
  7   of her and the way that you have abused the      7   mean by that?
  8   system, used the press for purposes that are     8       A. I don't recall exactly the amount.
  9   unethical, inappropriate and appalling.          9       Q. So in 2009 when you left him, what
 10       Q. Do you believe that Jeffrey Epstein      10   were you being paid?
 11   used massages to lure minors to have sex with   11       A. I just told you, I don't recall.
 12   him?                                            12       Q. Were you being paid $100,000?
 13       A. Again, that is Virginia's                13       A. I just don't you I don't recall.
 14   testimony, which is a lie.                      14       Q. Were you paid over a million
 15       Q. But do you believe that?                 15   dollars?
 16       A. Again, I refer back to Virginia.         16       A. I think I would remember over a
 17       Q. I'm asking whether you believe it        17   million dollars.
 18   or not?                                         18       Q. So it was under a million dollars?
 19       A. I can only go with what I know and       19       A. It was under a million dollars.
 20   I know Virginia is a liar and therefore         20       Q. Was it over $500,000?
 21   that's a lie.                                   21       A. I just told you, it was under 500,
 22       Q. So you don't believe that?               22   it was an amount of money less than $500,000,
 23       A. I said, I only know that Virginia        23   less than a million dollars and I did it out
 24   is lying.                                       24   of thoughtfulness and consideration for
 25       Q. Are you aware that Jeffrey Epstein       25   somebody who was in trouble.




                                                                    47 (Pages 182 to 185)
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                                       Page 186                                              Page 188
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Did you have an attorney to consult        2   people could use -- just like you would use
  3   with during the criminal investigation of        3   if you needed to go online to get something,
  4   Jeffrey Epstein?                                 4   that people could use.
  5      A. I don't believe I did.                     5       Q. Was that on a desk that you would
  6      Q. When did you learn that a search           6   use in your work capacity when you were at
  7   warrant was executed for the Palm Beach          7   the house?
  8   house?                                           8       A. It was a desk, it was a room I was,
  9      A. I don't recall exactly.                    9   I didn't really use that computer.
 10      Q. Were you present at the house in          10       Q. Were there images of naked girls
 11   advance of the search warrant being executed?   11   whether they be under the age of 18 or over
 12          MR. PAGLIUCA: Object to the form         12   the age of 18 on that computer?
 13      of the question.                             13       A. I have no recollection of any naked
 14      A. I don't remember when the search          14   people on that computer when I was there in
 15   warrant was executed and I don't remember the   15   2003, we are talking.
 16   year that the search warrant was executed and   16       Q. What about from say '99 to 2003?
 17   whenever that was, I already testified, I was   17       A. No, I can't recollect any naked
 18   very, very infrequently at the house. So        18   pictures.
 19   highly unlikely but I was there a couple of     19       Q. Why were the computers removed from
 20   days, I just don't know which days it was in    20   the house before the search warrant was
 21   relation to the police situation.               21   executed?
 22      Q. Did you have a computer at the Palm       22          MR. PAGLIUCA: Objection to the
 23   Beach home that was a computer that you would   23       form and foundation.
 24   use?                                            24       A. I have no knowledge of anything
 25      A. No.                                       25   like that.
                                       Page 187                                              Page 189
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Was there a computer available for         2      Q. Do you know where the computers are
  3   use in the Palm Beach house?                     3   now?
  4      A. Can you be more specific.                  4          MR. PAGLIUCA: Objection to the
  5      Q. Was there anywhere in the Palm             5      form and foundation.
  6   Beach house where there was a computer where     6      A. I don't know what computers you are
  7   you said you worked for him and there were       7   talking of and I have no idea what you are
  8   other staff in the house, was there ever a       8   referencing.
  9   computer in the Palm Beach mansion that was      9      Q. In 2003 you said there was a
 10   accessible by you or other staff?               10   computer in a room on a desk?
 11          MR. PAGLIUCA: Objection to the           11      A. Right.
 12      form and foundation.                         12      Q. Do you know where that computer is
 13      A. I stopped being regularly at the          13   now?
 14   house sometime in 2003 so from 2003 to when     14      A. I do not.
 15   the police search was executed, I have no       15      Q. Did you take pictures of nude
 16   memory of what there was or what there was      16   females in any of Epstein's homes or in and
 17   not. I can only testify for what was there      17   around the homes, out by the pool or anywhere
 18   when I was present largely.                     18   like, in the Palm Beach home, the New York
 19      Q. So in 2003 when you were still            19   home, USVI home or the New Mexico home?
 20   there, was there a computer that was            20          MR. PAGLIUCA: Objection to the
 21   accessible to you or other staff at the         21      form and foundation.
 22   house?                                          22      A. Can you repeat the question.
 23          MR. PAGLIUCA: Objection to the           23      Q. Did you take pictures of nude woman
 24      form and foundation.                         24   over 18 or under 18, females, in any of
 25      A. There was a desktop computer that         25   Jeffrey Epstein's homes, inside or outside in




                                                                    48 (Pages 186 to 189)
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                                        Page 190                                            Page 192
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   or around the home?                              2       Q. Not as a gift.
  3      A. I think we need to distinguish             3           Do you recall ever giving Jeffrey
  4   between anyone under the age of 18 and over      4   Epstein pictures that you've taken of these
  5   the age of 18.                                   5   individuals in a naked state?
  6      Q. We will start with, did you take           6           MR. PAGLIUCA: Objection to the
  7   pictures of nude females in or around any of     7       form and foundation.
  8   Jeffrey's homes of women or females that were    8       A. First of all, we've already
  9   under the age of 18?                             9   established that they are not naked state
 10      A. No.                                       10   photographs.
 11      Q. Did you take pictures of nude             11       Q. A piece of them being naked as you
 12   females --                                      12   described.
 13      A. Nude you mean with no clothing on.        13       A. I said they would be attractive as
 14      Q. Or half nude, with no top on, any         14   you would see in mainstream magazines and
 15   sort of nakedness to an individual.             15   those pictures could be a picture of a hand
 16          In any of Jeffrey's homes, either        16   or a foot, they didn't necessarily
 17   Palm Beach, New Mexico, USVI or New York        17   constitute -- I know where you are headed
 18   either outside by the pool, anywhere in or      18   with this and it's nowhere appropriate and
 19   around those homes of females over the age of   19   it's really unattractive.
 20   18?                                             20       Q. I'm not headed anywhere. I'm just
 21      A. So it is possible that I took             21   asking the questions. Did you give Jeffrey
 22   pictures of people that were somehow semi or    22   Epstein any of these pictures that you took
 23   had some clothing on or no clothes on but at    23   of females in the state that you described?
 24   no time were any of these pictures remotely     24       A. I can't recall ever giving him
 25   inappropriate. They were, you could see them    25   pictures but it is possible that I took
                                        Page 191                                            Page 193
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   in a mainstream magazine today, there would      2   pictures of people that would end up -- or a
  3   be no inappropriateness, they would be           3   friend of his that he would have -- not naked
  4   covered, concealed, you wouldn't see anything    4   or not inappropriate in any way, that he
  5   at all.                                          5   might have somewhere in his house.
  6           The types of -- first, I took very       6       Q. Name for me all the individuals who
  7   few and they were always by request, this was    7   you took these pictures of?
  8   a picture you could put on your -- gift to       8       A. It's entirely impossible for me to
  9   your parent or to your grandparents to put on    9   name people. First of all, it was just -- it
 10   their mantel piece . It would be a very         10   would not be possible, I took thousands of
 11   benign sort of attractive picture where you     11   photos, not of people, I mostly take pictures
 12   wouldn't see anything.                          12   of landscapes and things. I have no
 13       Q. Who would request those pictures?        13   recollection specifically of people that I
 14       A. From time to time, people, men and       14   took pictures of.
 15   women would ask to have nice photographs of     15       Q. So you can't remember, is it your
 16   them taken.                                     16   testimony you can't remember one person that
 17       Q. And did Jeffrey Epstein request          17   you took a picture of in either a naked or
 18   those pictures?                                 18   semi naked state?
 19       A. I don't ever recall him asking me        19       A. I seriously cannot recall. I just
 20   to take pictures.                               20   don't recall.
 21       Q. Did you give him pictures of naked       21       Q. Did you take a picture of Virginia
 22   females as a present?                           22   Roberts either alone or with another
 23       A. I don't recall ever giving a             23   individual in a naked state?
 24   present of -- I don't know why a photograph     24       A. I have never taken, I believe, any
 25   would constitute a gift.                        25   pictures of two people in any type of




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                                        Page 194                                              Page 196
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   situation, naked as you describe.                2   about those things.
  3       Q. Did you take a picture of Virginia        3       Q. What has Jeffrey Epstein told you
  4   Roberts on her own without another individual    4   about Virginia Roberts?
  5   in it in a naked state?                          5       A. That she is a liar.
  6       A. I don't recall ever taking a              6       Q. What does he base that on?
  7   picture of Virginia -- naked, we are not         7          MR. PAGLIUCA: Objection to the
  8   referring to someone with no clothing on at      8       form and foundation.
  9   all, we are referring to someone that could      9       A. You would have to check with him.
 10   be semi clad or could have a towel or we are    10   I can tell you why I think she is a liar, I'm
 11   not referring to anything inappropriate.        11   happy to do that.
 12       Q. Was this a hobby of yours to take        12       Q. Did he tell you he did not have
 13   pictures of the type that you are describing?   13   sexual relations with Virginia Roberts?
 14           MR. PAGLIUCA: Object to the form.       14       A. I can only testify what I know.
 15       A. I just testified, I didn't take          15       Q. I'm asking, has he told you that he
 16   pictures of many people. My preference is       16   did not have sexual relations with Virginia
 17   pictures for landscapes and for architectural   17   Roberts?
 18   pieces.                                         18       A. I can only tell you what I know
 19       Q. Where are those pictures today?          19   about Virginia Roberts, I cannot tell you
 20       A. I have no idea.                          20   what he knows about Virginia Roberts.
 21       Q. Do you have them in your home?           21       Q. I'm asking, did he tell you that he
 22       A. I do not.                                22   did not have sexual relations with Virginia
 23       Q. Do you have them on your computer?       23   Roberts?
 24       A. I do not.                                24       A. All he told me is she is a liar.
 25       Q. What has Jeffrey Epstein told you        25       Q. That's all he said about Virginia
                                        Page 195                                              Page 197
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   about the allegations related to the criminal    2   Roberts?
  3   investigation that he was involved in?           3      A. We went through all the lies that
  4       A. I really can't say, not because I         4   you have sold to the papers and sold in
  5   don't want to say but I just think of what he    5   general and we have analyzed her lies and
  6   has said to me over the course of this time.     6   your lies and your inappropriate behavior in
  7       Q. Did he explain it to you and              7   detail.
  8   explain what the charges were against him?       8      Q. Did he ever say that he did not
  9       A. I never had a detailed conversation       9   have sexual relations with Virginia Roberts?
 10   with him, as I recall.                          10      A. I just testified that we went
 11       Q. Not detailed, just did he explain        11   through all of her lies.
 12   anything that was happening to him?             12      Q. I understand what you said. I'm
 13       A. I haven't spoken to him for so           13   asking you a question.
 14   long. I can't possibly testify to what          14           Did he ever tell you that he never
 15   conversations I had with him over the course    15   had sex with Virginia Roberts?
 16   of time.                                        16      A. I don't recall whether he ever -- I
 17       Q. Did he talk to you about any of the      17   don't know I ever had that question. We
 18   girls that were making allegations against      18   focused on the lies she did say she had with
 19   him other than Virginia?                        19   him as relates to me. I don't remember
 20          MR. PAGLIUCA: Objection to the           20   asking him about his problems with her. I'm
 21       form and foundation.                        21   interested in what she says about myself.
 22       A. You are talking about the police         22      Q. Did you also talk about what things
 23   records again, all of that?                     23   that Virginia Roberts was saying that were
 24       Q. Yes.                                     24   true?
 25       A. I have never had a conversation          25      A. There isn't anything that she said




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  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   that was true.                                  2      communications subject to a joint
  3       Q. Nothing she said that you are aware      3      defense agreement or common interest
  4   of is true?                                     4      agreement, I'm telling her not to
  5       A. I think she is correct when she          5      answer. To the extent she has
  6   talks about what her name is.                   6      information outside of those things, she
  7       Q. Anything else?                           7      is permitted to answer.
  8       A. I'm sure there must be one or two        8      Q. Do you understand?
  9   other details but they are so far and few       9          So if it was a conversation with a
 10   between, I would have to look in detail at     10   lawyer which I'm not asking about, I don't
 11   all of her allegations to pinpoint what        11   want you to tell me about your conversations
 12   possibly could be true.                        12   with lawyers.
 13       Q. Did you ever ask Jeffrey if he had      13          I want you to tell me whether
 14   sex with minors?                               14   Jeffrey Epstein ever told you what he
 15       A. I have never been asked that            15   analyzed in order to determine which of -- of
 16   question.                                      16   what Virginia were saying were lies?
 17       Q. You never asked him that question.      17      A. I do not know what he did, no.
 18           What analysis did Jeffrey do to        18          So you agree she is lying, Singrid.
 19   determine that the statements Virginia         19      Q. I do not agree with that and I'm
 20   Roberts were making were lies?                 20   asking the questions.
 21           MR. PAGLIUCA: Objection to the         21      A. You just said her lies.
 22       form and foundation.                       22      Q. I'm repeating a statement you made.
 23       A. Ask me again, please.                   23      Q. Are you saying it's an obvious lie
 24       Q. What analysis did Jeffrey do to         24   that Jeffrey Epstein engaged in sexual
 25   determine that the statements that Virginia    25   conduct with Virginia while Virginia was
                                        Page 199                                            Page 201
  1         G Maxwell - Confidential                  1        G Maxwell - Confidential
  2   Roberts were making were lies?                  2   underage?
  3           MR. PAGLIUCA: Objection to the          3       A. I can only testify to what I saw
  4       form and foundation. And to the extent      4   and what I was present for, so if you are
  5       that any of this answer calls for any       5   asking me what I saw then I am happy to
  6       privileged communication, I'm               6   testify. I cannot testify to what somebody
  7       instructing, with myself or another         7   else did or didn't do.
  8       lawyer representing you or in any common    8       Q. Did you issue a statement
  9       interest agreement, I'm instructing you                                  in 2015, stating that
 10       not to answer.                             10   Virginia Roberts' claims were, quote, obvious
 11           MS. McCAWLEY: The court ruled she      11   lies?
 12       is entitled and you had to produce         12          MR. PAGLIUCA: Objection to the
 13       documents about communications with        13       form and foundation.
 14       Jeffrey, that's what I'm asking about.     14       Q. You can answer.
 15       I'm not asking about communications with   15       A. You need to reask me the question.
 16       lawyers.                                   16       Q. Sure.
 17       Q. I'm asking what analysis did            17          Did you issue a press statement
 18   Jeffrey do to determine that the statements    18                                          , in
 19   that Virginia Roberts was making were lies,    19   January of 2015, stating that Virginia
 20   if you know?                                   20   Roberts' claims were, quote, obvious lies?
 21           MR. PAGLIUCA: My objection is to       21          MR. PAGLIUCA: Objection to the
 22       the extent she learned any of that         22       form and foundation.
 23       information as a result of either a        23       A. Can you ask it a different way,
 24       privileged communication from a lawyer,    24   please?
 25       one of her lawyers or a privileged         25       Q. I will ask it again and you can




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  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   listen carefully.                                2          and                decided to put -- I can
  3          Did you issue a press statement           3   testify to what Virginia's obvious lies are
  4                                          , in      4   as regards to me. I cannot make
  5   January of 2015, where you stated that           5   representations about all the many lies she
  6   Virginia Roberts' claims were, quote, obvious    6   may or may not have told about Jeffrey.
  7   lies?                                            7       Q. So is Virginia lying when she says,
  8          MR. PAGLIUCA: Objection to the            8   is it an obvious lie when she says that she
  9       form and foundation.                         9   had sex with Jeffrey Epstein while she was
 10       A. So my lawyer,                            10   underage?
 11   instructed             to issue a statement.    11           MR. PAGLIUCA: Objection to the
 12       Q. Today, did you say that Virginia         12       form and foundation.
 13   lied about, quote, absolutely everything?       13       A. Again, I'm testifying to what I
 14       A. I said that there are some things        14   know to be true. I can only testify to all
 15   she may not have lied about.                    15   the many lies she told about me. I cannot
 16       Q. So are you saying it's an obvious        16   testify to what lies she told about somebody
 17   lie that Jeffrey Epstein engaged in sexual      17   else. Given she told so many about me, one
 18   contact with Virginia while Virginia was        18   can probably infer she is lying about
 19   underage?                                       19   everything.
 20          MR. PAGLIUCA: Objection to the           20       Q. So you think she is lying when she
 21       form and foundation.                        21   said she had sex with Jeffrey Epstein when
 22       A. Can you ask the question again,          22   she was underage?
 23   please?                                         23           MR. PAGLIUCA: Objection to the
 24       Q. Are you saying it's an obvious lie       24       form and foundation.
 25   that Jeffrey Epstein engaged in sexual          25       A. Again, I can only talk about what I
                                        Page 203                                               Page 205
  1         G Maxwell - Confidential                   1        G Maxwell - Confidential
  2   conduct with Virginia while Virginia was         2   can positively say myself, not what somebody
  3   underage?                                        3   else is going to represent.
  4           MR. PAGLIUCA: Objection to the           4       Q. When you were saying that she was,
  5       form and foundation.                         5   her claims of having sex with Jeffrey Epstein
  6       Q. You can answer.                           6   were obvious lies, are you saying she is
  7       A. Try again, please.                        7   lying about engaging in sexual conduct with
  8       Q. Are you saying that it's an obvious       8   Jeffrey Epstein when she was underage?
  9   lie that Jeffrey Epstein engaged in sexual       9          MR. PAGLIUCA: Objection to the
 10   conduct with Virginia while Virginia was        10       form and foundation.
 11   underage?                                       11       Q. You can answer.
 12           MR. PAGLIUCA: Objection to the          12       A. Again, this was a statement that
 13       form and foundation.                        13   was put out from my lawyer
 14       A. Again, I'm telling you, first of         14                      . And I can only testify to
 15   all, it was a statement that was issued by my   15   the obvious lies that she says about me. I
 16   lawyer and -- through my lawyer to            . 16   cannot make representations about lies she
 17       Q. I understand that. I'm asking you,       17   says about someone else, but she lies so many
 18   are you saying that it's an obvious lie that    18   times about me, one can probably infer she is
 19   Jeffrey Epstein engaged in sexual conduct       19   lying about everything.
 20   with Virginia while Virginia was underage.      20       Q. So is she not lying when -- is she
 21           Is that a lie?                          21   telling the truth when she says she had sex
 22           MR. PAGLIUCA: Objection to the          22   with Jeffrey Epstein when she was underage?
 23       form and foundation.                        23          MR. PAGLIUCA: Objection to the
 24       Q. You can answer.                          24       form and foundation.
 25       A. So I cannot testify to what              25       A. Again, I don't know how else to




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                                        Page 206                                              Page 208
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   tell you, I can only talk about what I know      2       pounding, no stomping, no, that's not
  3   to be true. What I know is her story about       3       appropriate,.
  4   how she claims that initial situation            4       A. Can we be clear, I didn't threaten
  5   happened is so egregiously false and such a      5   anybody.
  6   giant fat enormous, repulsive, disgusting,       6          MR. PAGLIUCA: Stop, you made your
  7   inappropriate, vile lie, that that I can         7       record, there is no dent in the table.
  8   testify to.                                      8       I don't see any chips. Can we take a
  9       Q. Was she lying when she said she met       9       break now.
 10   you at Mar-a-Lago?                              10          MS. McCAWLEY: I think it's
 11       A. Again I already testified I don't        11       appropriate to take a break.
 12   recall meeting her at Mar-a-Lago.               12          THE VIDEOGRAPHER: It's 1:56 and we
 13       Q. We showed you a document where you       13       are off the record.
 14   said you met her at Mar-a-Lago when she was     14          (Recess.)
 15   17, is that correct?                            15          THE VIDEOGRAPHER: It's now 2:13,
 16          MR. PAGLIUCA: Objection to the           16       we're starting disk No. 5 and we are
 17       form and foundation.                        17       back on the record.
 18       A. I think I already testified to           18       Q. Ms. Maxwell, how old was Virginia
 19   that. What I remembered based on all the        19   Roberts when you met her in Mar-a-Lago?
 20   rubbish she has written and all the many        20          MR. PAGLIUCA: Objection to the
 21   articles I have read, maybe in the moment       21       form and foundation.
 22   when I wrote that, have caused me to have       22       A. I know today that she was 17 years
 23   that but on reflection I don't recall it as I   23   old.
 24   sit here today.                                 24       Q. Are you saying that it's an obvious
 25       Q. Are you saying that it was an            25   lie that Virginia traveled on Jeffrey
                                        Page 207                                              Page 209
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   obvious lie that you approached Virginia         2   Epstein's airplanes?
  3   while she was under age at Mar-a-Lago?           3          MR. PAGLIUCA: Objection to the
  4           MR. PAGLIUCA: Objection to the           4       form and foundation.
  5       form and foundation.                         5       Q. You can answer.
  6       A. First of all, we can all agree            6       A. Are you referring to my statement
  7   here, all of you sitting here that the lies      7   where that says that?
  8   that you perpetrated in the press that she       8       Q. I'm referring to the language you
  9   was 15 and we should all agree now that that     9   use in your statement that says, obvious
 10   is fake, a lie that was perpetrated between     10   lies?
 11   all of you to make the story more exciting,     11       A. Can you read my entire statement?
 12   can we agree on that?                           12       Q. Sure, let me pass it out.
 13       Q. That is not my question.                 13          (Maxwell Exhibit 10, email,marked
 14       A. Can we agree she was not the age         14      for identification.)
 15   she said and you put that in the press, that    15       Q. This is Bates GM 00068 and we will
 16   is obviously, manifestly, absolutely, totally   16   mark it as -- what you have in front of you
 17   a lie.                                          17   is a statement at the top. This was produced
 18           MS. McCAWLEY: I am going to put on      18   by your counsel, it is indicated Bates No.
 19       the record, Ms. Maxwell very                19   GM 00068. At the top the date reflects
 20       inappropriately and very harshly pounded    20   January 2, 2015 from, appears to be
 21       our law firm table in an inappropriate      21                       , subject line, is you and
 22       manner. I ask she take a deep breath,       22   then there is a number of individuals you can
 23       and calm down. I know this is a             23   see at the top that are copied on this that
 24       difficult position but physical assault     24   is sent to and bcc'd on this statement.
 25       or threats is not appropriate, so no        25          The statement, there are two parts




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  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   of it. There is an opening email that says,      2   testified those aren't federally mandated
  3   please find an attached quotable statement on    3   things and I can see her name on it but
  4   behalf of Ms. Maxwell and there is more          4   that's what I -- I told you I don't recall
  5   language there and it's from             and     5   her on any planes.
  6   then it says in the body of it, Jane Doe No.     6      Q. Is is that one of Virginia's
  7   3 or Jane Doe 3 is Virginia Roberts so not a     7   obvious lies?
  8   new individual. The allegations made by, and     8      A. There are more obvious ones.
  9   it says Victoria but I believe that means        9      Q. Is that one of them?
 10   Virginia Roberts, against Ghislaine Maxwell     10      A. I can't testify to her being on a
 11   are not true. The original allegations are      11   plane or not.
 12   not new and have been fully responded to and    12      Q. So is that an obvious lie?
 13   shown to be untrue. And the next paragraph      13      A. There are more obvious lies, like
 14   says, Each time the story is retold, it         14
 15   changes with new salacious details about        15      Q. I understand there are more obvious
 16   public figures and world leaders and now it     16   ones. I'm asking you, is the fact that she
 17   is alleged by Ms. Roberts that                  17   said she traveled on Epstein's planes an
 18   is involved in having sexual relations with     18   obvious lie?
 19   her which he denies. Ms. Roberts claims are     19      A. I think we can probably say because
 20   obvious lies and should be treated as such      20   you see her name on a plane record and she
 21   and not publicized as news as they are          21   went from A to B, that would not be the
 22   defamatory.                                     22   obvious lie that I would pick.
 23          The last paragraph states,               23      Q. What obvious lie were you picking
 24   Ghislaine Maxwell's original response to the    24   when you made this statement?
 25   lies and defamatory claims remains the same.    25      A. There are so many that I would be
                                        Page 211                                              Page 213
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   Maxwell strongly denies allegations of the --    2   thrilled to go through all of them.
  3   strongly denies allegations of an unsavory       3       Q. Let's go through them.
  4   nature which have appeared in the British        4          What's the first one?
  5   press and elsewhere and reserves her right to    5       A. Her characterization of the first
  6   seek redress at the repetition of such old       6   meeting at Mar-a-Lago.
  7   defamatory claims.                               7       Q. What part of that was an obvious
  8          Are you saying that it's an obvious       8   lie?
  9   lie that Virginia Roberts traveled on Jeffrey    9       A. The characterization that she said
 10   Epstein's planes?                               10   that she said she was accosted. She looked
 11          MR. PAGLIUCA: Objection to the           11   like, as best as I can recall, if I met her
 12       form and foundation.                        12   in Mar-a-Lago as she claims, she worked at
 13       A. I'm saying what's an obvious lie         13   Mar-a-Lago, she claims, and her statement she
 14   and I think we can all agree, you just had      14   worked at Mar-a-Lago, she would have been
 15   the case tossed out by                   . He   15   dressed as all the spa people in Mar-a-Lago
 16   just got removed from the case because you      16   would have been. It would have been
 17   put him in a case that he wasn't supposed to    17   impossible to identify her as someone other
 18   be in so what was said about him is not true.   18   than someone who worked at a spa. She made
 19       Q. Are you saying that it's an obvious      19   many claims, she has been a bathroom
 20   lie that Virginia Roberts traveled on Jeffrey   20   attendant, front of house attendant, we don't
 21   Epstein's plane?                                21   know what she was, so her obvious lies are
 22          MR. PAGLIUCA: Objection to the           22   her contradictory of her own personal
 23       form and foundation.                        23   statements within that.
 24       A. You have given me plane records          24       Q. So what part of her statement
 25   that has her name on it but as I already        25   relating to Mar-a-Lago --




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                                        Page 214                                             Page 216
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2      A. I'm carrying on.                           2           MR. PAGLIUCA: Objection to the
  3      Q. I'm sorry. I thought you were              3       form and foundation.
  4   done.                                            4       A. I was talking to her mother so...
  5      A. Please. Her statement also that            5       Q. Do you know whether that's an
  6   she was driven by her father to Palm Beach.      6   obvious lie, whether she had sex in that room
  7   She was driven by her mother, as a matter of     7   or not?
  8   fact. Her whole entire characterization of       8       A. Her story about what happened --
  9   the first meeting with Jeffrey, as I was         9   let's also be -- the story as first hit the
 10   outside speaking to her mother.                 10   press was that somebody else led her to
 11      Q. Let me stop you there, so we don't        11   Jeffrey's room, it was not me and then it
 12   get too far ahead. Let me make sure I           12   turned to being me so we have an obviously
 13   understand your testimony.                      13   important inconsistency, lie in my -- that's
 14          The first, in the first piece when       14   how I would characterize a lie. It cannot be
 15   you were talking, I believe you said and        15   me or somebody else, it can only be one or
 16   correct me if I'm wrong, that her               16   the other.
 17   characterization of the first meeting at        17       Q. Who is the other person she said
 18   Mar-a-Lago was an obvious lie.                  18   took her to the room?
 19          What part of that meeting was an         19       A. Why don't you ask her.
 20   obvious lie?                                    20       Q. I'm asking you.
 21      A. By her own testimony, all her             21       A. How would I possibly know.
 22   various many different descriptions of what     22       Q. You are saying that's a lie.
 23   she was or wasn't or where she was or wasn't,   23       A. It was a lie in the papers, she
 24   they have all changed. She was either front     24   said it in the newspaper, it was in the
 25   of house or bathroom attendant. I don't know    25   newspaper.
                                        Page 215                                             Page 217
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   what she was, so just by her own words, one      2      Q. How do you know she wasn't
  3   doesn't know what's true and what isn't true.    3   identifying you?
  4      Q. Are you saying what position she           4      A. She said somebody.
  5   said she was working in, is that what you are    5      Q. How do you know that somebody
  6   considering the obvious lie?                     6   wasn't you?
  7      A. I said inconsistency within her own        7      A. Why did it suddenly become me, why
  8   statement from everything, so in the             8   not say it was me and be done with it.
  9   beginning it starts off with different           9      Q. So it's a lie because she
 10   statements.                                     10   originally may not have named you and then
 11      Q. Then I believe you said the second        11   named you later?
 12   piece was that she was driven by her father?    12      A. It's obviously inconsistent to
 13      A. I said she was driven by her              13   somebody who wasn't me.
 14   mother.                                         14      Q. How do you know it wasn't you?
 15      Q. That's the obvious lie?                   15      A. I know it wasn't me because I was
 16      A. It's an obvious lie to me.                16   talking to her mother.
 17      Q. You said why don't you state it in        17      Q. But she then named you, is what you
 18   your own words but the characterization of      18   are saying?
 19   how she was with Jeffrey, what about that is    19      A. That's an obvious lie.
 20   an obvious lie?                                 20      Q. She named you?
 21      A. I was standing outside talking to         21      A. It's an obvious lie because I
 22   her mother so the entire story is a             22   wasn't even in the house.
 23   fabrication.                                    23      Q. Is it an obvious -- who did lead
 24      Q. Did she not have sex with Jeffrey         24   her up to Jeffrey's room while you were
 25   Epstein during that first massage?              25   talking to her mother?




                                                                    55 (Pages 214 to 217)
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                                          Page 218                                          Page 220
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       A. You would have to ask Virginia, I        2   up to the room and start a massage?
  3   don't know if she was led up to his room.       3       A. He would not.
  4       Q. You were standing with the mother,       4       Q. So the young girls in the police
  5   is that correct?                                5   report who say they came over and were led up
  6       A. That's correct.                          6   to the room on the first day, would they be
  7       Q. Who was working at the house that        7   wrong about that?
  8   day?                                            8          MR. PAGLIUCA: Objection to form
  9       A.                                          9       and foundation.
 10       A. Would               typically lead      10       A. I can't comment what happened when
 11   someone up to the room where Jeffrey was       11   I was not at the house. I can only comment
 12   having a massage?                              12   when I was at the house.
 13       A. I don't know she was led up to the      13       Q. Was there ever a time where a woman
 14   room to have a massage.                        14   came to the house for the first time to give
 15       Q. She would have found her way on her     15   a massage and Jeffrey had the massage that
 16   own?                                           16   day?
 17       A. I would suggest that that entire        17          MR. PAGLIUCA: Objection to the
 18   story never happened at all in any of its      18       form and foundation.
 19   form.                                          19       A. Can we talk about adult
 20       Q. If you stood outside with the           20   professional masseuses, please?
 21   mother, what did you think happened inside     21       Q. I'm asking, whether adult or
 22   then?                                          22   underage?
 23       A. I believe that somebody, it wasn't      23       A. I'm not interested in talking about
 24   me,              probably took her to meet     24   underage. I can only testify to what I know,
 25   Jeffrey Epstein                                25   professional masseuses, adult, I cannot
                                          Page 219                                          Page 221
  1       G Maxwell - Confidential                    1        G Maxwell - Confidential
  2                                   .               2   testify to anything else.
  3      Q. Did Jeffrey tell you that?                3       Q. Why can't you testify to an
  4      A. No but that would have been a             4   underage girl that came over and was led up
  5   normal interaction. I don't believe for a       5   to the room for a massage?
  6   second -- I know her entire characterization    6          MR. PAGLIUCA: Objection to the
  7   didn't happen because I was outside talking     7       form and foundation.
  8   to her mother the entire time.                  8       A. The police records you are
  9      Q. Why would she have come for a             9   referring to?
 10   massage and not given a massage?               10       Q. You are saying that didn't happen.
 11          MR. PAGLIUCA: Objection to the          11   You're saying I can only testify to adults
 12      form and foundation.                        12   that came for an interview and were led up to
 13      A. We are talking about her                 13   the room. Why can't you testify to whether
 14   characterization of the first time that she    14   an underage girl was brought in for an
 15   came to the house.                             15   interview and led up --
 16      Q. If I'm following you correctly,          16          MR. PAGLIUCA: Objection to the
 17   you're saying she walked in and would have     17       form and foundation.
 18   gone to -- it's your assumption she would      18       Q. Go ahead.
 19   have gone and talked to Jeffrey and left?      19       A. Can you reask the question.
 20      A. When I was working for Jeffrey,          20       Q. Why can't you testify as to an
 21   typically he would meet someone before         21   underage girl who came over for an interview
 22   getting a massage from them to see if he       22   and then was then led up to the room for the
 23   wanted to have a massage from them,            23   massage?
 24   typically.                                     24       A. You've mangled your entire
 25      Q. So he would not have someone come        25   question. Can you please reask that in a way




                                                                   56 (Pages 218 to 221)
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                                       Page 222                                              Page 224
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   that I can answer it correctly?                  2   time for a massage at that time or B, whether
  3      Q. Why can you not testify as to              3   he could have a massage at that moment.
  4   whether an underage girl, you said you can       4       Q. Was Virginia an adult when she came
  5   testify as to females that were over the age     5   over, was she over 18?
  6   of 18, why can't you testify as to whether an    6          MR. PAGLIUCA: Objection to the
  7   underage girl came over for an interview and     7       form and foundation.
  8   on the same day --                               8       A. I think we established, as of
  9      A. I don't know what you mean by              9   today, we are all aware, everyone in this
 10   interview.                                      10   room that she was 17.
 11      Q. You just said that Jeffrey Epstein        11       Q. So you have been present when a
 12   interviewed, it was your word, interviewed      12   minor was brought over for a massage for
 13   the masseuses before they gave massages, is     13   Jeffrey?
 14   that correct?                                   14       A. Can I say, as you are able to have
 15      A. The word interview is making me --        15   a massage at 17, so she came as a masseuse.
 16   I'm English, so you could have some             16       Q. I'm not saying whether or not you
 17   difficulty understanding the way I              17   are able to. I'm saying you've been present
 18   communicate.                                    18   at Jeffrey's home when an underage minor has
 19      Q. I'm using your word.                      19   come over to give him a massage?
 20      A. Then I will reuse it a different          20       A. That's just not how that works.
 21   word. He would meet them because receiving a    21   You are able to be a masseuse at 17 so she
 22   massage is something you want to make sure      22   came to give -- for a massage, at 17 you are
 23   you are comfortable with the person and so      23   able to come and give a massage.
 24   interview is not the correct word but you       24       Q. I'm not asking whether she is able
 25   would meet them to have a conversation with     25   to do it. I'm asking whether you were
                                       Page 223                                              Page 225
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   them to see if you want to have a massage        2   present at the home when a girl under the age
  3   with that person.                                3   of 18 came over for the purposes of giving a
  4      Q. Did Jeffrey Epstein ever meet an           4   massage?
  5   underaged girl and on the same day receive a     5          MR. PAGLIUCA: Objection to the
  6   massage from that girl?                          6       form and foundation.
  7         MR. PAGLIUCA: Objection to the             7       Q. You can answer.
  8      form and foundation.                          8       A. You can be a professional masseuse
  9      A. I can't possibly testify to what           9   at 17 in Florida, so as far as I am aware, a
 10   happened after I was not at the house.          10   professional masseuse showed up for a
 11      Q. If you are aware, at any time you         11   massage. There is nothing inappropriate or
 12   were at the house, did you ever see that?       12   incorrect about that and your
 13         MS. MENNINGER: Let her finish the         13   mischaracterization of it, I think is
 14      question.                                    14   unfortunate.
 15      A. I can only testify to people who          15       Q. How many teenagers did he have that
 16   were adult professional masseuses who came to   16   were professional masseuses that worked in
 17   the house. I cannot testify to something I'm    17   his home?
 18   not party to and don't know about. I can        18          MR. PAGLIUCA: Objection to the
 19   only testify to what I saw. So when             19       form and foundation.
 20   professional adult masseuse, male and/or        20       Q. How many?
 21   females would come to the house, typically      21       A. First of all, I am not aware of
 22   when I was there, typically he would meet       22   teenagers who worked in his home.
 23   with them prior, to have a conversation with    23       Q. You are aware of Virginia Roberts
 24   them about their experience, whatever, to       24   and you've stated she was 17 and she worked
 25   decide whether it would then A, if he had       25   for him, correct?




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                                        Page 226                                             Page 228
  1         G Maxwell - Confidential                   1         G Maxwell - Confidential
  2       A. No. I did not state that at all,          2   absolutely 1000 percent that she did not have
  3   you are mischaracterizing my words and what I    3   any type of sexual relations as described by
  4   said.                                            4   you in your court papers that took place
  5          What I said was that we can all           5   because those allegedly according to her lies
  6   agree and I think at this point there is not     6   involved some aspect of me.
  7   one person in this room, however much you        7           As I was standing outside with her
  8   would like her to be younger, to say she was     8   mother the entire time, her entire story is a
  9   not 17 because that has been a very offensive    9   lie. Therefore, to ask me what she did or
 10   thing that you have all done. So she was 17.    10   didn't do during that time, I can only
 11   At 17 you are allowed to be a professional      11   testify to what she said about me, which was
 12   masseuse and as far as I'm concerned, she was   12   1000 percent false.
 13   a professional masseuse. There is nothing       13       Q. So let's not take the first time,
 14   inappropriate or incorrect about her coming     14   let's take the next time she comes.
 15   at that time to give a massage. Her entire      15       A. No no, how can do you that, when
 16   characterization of her first time at the       16   the basis of this entire horrible story that
 17   house was to me an obvious lie, given it was    17   you have put out is based on this first
 18   impossible for her entire story to take place   18   appalling story that was written, repeated,
 19   given I was speaking to her mother the entire   19   multiply by the press that lied about her
 20   she was at the house.                           20   age, lied about the first time she came, lied
 21       Q. So it was impossible that day, that      21   about and characterized the entire first
 22   first day she came and you were speaking to     22   time. I have been so absolutely appalled by
 23   the mother, for Virginia Roberts to have had    23   her story and appalled by the entire
 24   sex with Jeffrey Epstein during the time that   24   characterization of it and I apologize
 25   you were outside with her mother?               25   sincerely for my banging at the table
                                        Page 227                                             Page 229
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the            2   earlier, I hope you accept my apology. It's
  3       form and foundation.                         3   borne out of years of feeling the pressure of
  4       A. You, again, are completely                4   this entire lie that she has perpetrated from
  5   mischaracterizing. I can only testify to         5   our first time and whilst I recognize that
  6   what I heard obvious lies about me and her       6   was -- I hope you forgive me sincerely
  7   obvious lies about me are that she, as you       7   because it was just the length of time that
  8   put out to the papers and every other which      8   that terrible story has been told and retold
  9   way, went upstairs with her, didn't happen.      9   and rehashed when I know it to be 100 percent
 10   So that to me is an absolute, obvious lie. I    10   false.
 11   also don't believe that her -- her              11       Q. So not the first time she came, but
 12   mischaracterization of the length of time she   12   the second time she came or the third time or
 13   was there because as I recall, she just met     13   any time she came, did you ever participate
 14   with Jeffrey and then left with her mother.     14   in a massage with her in Jeffrey Epstein's
 15   That's my recollection.                         15   room?
 16       Q. So you were standing outside the         16       A. I have never participated at any
 17   entire time that Virginia was in the house,     17   time with Virginia in a massage with Jeffrey.
 18   is that correct?                                18       Q. Have you ever participated at any
 19       A. That is correct.                         19   time with Virginia in any kind of sexual
 20       Q. So can you testify as to whether or      20   contact or sexual touching with Jeffrey and
 21   not, do you know either from Jeffrey or any     21   Virginia?
 22   other source whether or not Virginia Roberts    22       A. I have not.
 23   had sex with Jeffrey on that first day that     23       Q. So we were going through the list
 24   she was at the house?                           24   of obvious lies and you were talking about
 25       A. We can categorically state,              25   the first time which I believe we have




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                                           Page 230                                                Page 232
  1        G Maxwell - Confidential                        1       G Maxwell - Confidential
  2   completed but you can add to that if you need        2   actually photographed in your town home in
  3   to.                                                  3   London --
  4          What other obvious lies did                   4      A. I don't recognize that picture.
  5   Virginia Roberts tell that you were referring        5   I'm not sure if that's a real picture or not.
  6   to in your statement?                                6      Q. And have you talked to
  7       A. Oh my goodness. Well, I think we              7            about that picture?
  8   can totally cover the           story, the           8      A. We discussed Virginia's entire tail
  9   story that I flew him with                    and    9   and he asked me if he even knew her.
 10   there was a dinner with other people and that       10      Q. So did                      tell you that
 11   entire thing is 100 percent fictitious. I           11   he did not have sex with Virginia Roberts?
 12   have testified for the record and I'm happy         12      A. He doesn't even know who Virginia
 13   to do it again, that I have never flown             13   Roberts is.
 14             myself as a pilot in a helicopter at      14      Q. Did he tell you that he didn't have
 15   any time, anyplace, at any time, to any part        15   sex with her?
 16   of the world.                                       16      A. It would be difficult to have sex
 17       Q. What other obvious lies were you             17   with someone you don't know.
 18   referring to?                                       18      Q. He may not remember her?
 19       A. She was referring to             , she       19      A. I think the inference is he didn't
 20   is referring to a bunch of people. I don't          20   know who she was, he didn't have any
 21   believe            ever came to the island at       21   recollection of her whatsoever.
 22   any time ever. I don't even know                    22      Q. Has                      ever come to your
 23   actually.                                           23   London town home?
 24       Q. Just one moment, I want to hear all          24      A. Yes. Ever being the entire time I
 25   of them, but when you say you don't believe         25   owned my house, yes.
                                           Page 231                                                Page 233
  1       G Maxwell - Confidential                         1         G Maxwell - Confidential
  2             ever came to the island, do you know       2           Can I go on on her obvious lies?
  3   whether           ever came to the island?           3       Q. If you have more.
  4      A.            never came to the island.           4       A. I have -- her entire
  5      Q. How do you know that?                          5   characterization -- I took her shopping into
  6      A. Jeffrey doesn't know him, I don't              6   Burberry and bought her a very expensive
  7   know him and I think had             -- I don't      7   dress and if this photo were real and if this
  8   think -- had          gone to the island             8   is -- I would never -- the outfit doesn't
  9   during the period when I would have been             9   work at all so --
 10   involved in organizing a trip, I would have         10       Q. Do you not remember taking her
 11   been aware of it.                                   11   shopping or are you saying it's an obvious
 12      Q. So go ahead, you had another one.             12   lie, you know you did not take her shopping?
 13      A. It would be easier if I could see,            13       A. I did not take her shopping. I did
 14   do you mind if a take a reference at some of        14   not by her a $5,000 handbag.
 15   these newspaper articles or you just want me        15       Q. Did Jeffrey by her a $5,000
 16   to go from memory.                                  16   handbag?
 17          Her entire characterization of what          17       A. Her accusation was that I did.
 18   took place in London at my house with               18       Q. Do you know if Jeffrey bought her a
 19                                                       19   handbag during that trip to London?
 20       Q. Was it an obvious lie that she was           20       A. I don't know what he did. She
 21   at your house in London?                            21   accused me, I can't physically remember
 22       A. We can't really establish the                22   buying a $5,000 not for her, not for anyone,
 23   photograph and all that. I don't know if            23   not for me.
 24   that's true, if that's a real picture or not.       24       Q. Did you ever go shopping with
 25       Q. So you dispute that you were                 25   Virginia?




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                                          Page 234                                              Page 236
  1         G Maxwell - Confidential                     1          G Maxwell - Confidential
  2       A. I don't recall ever shopping with           2                        . She characterized
  3   Virginia.                                          3   that
  4       Q. Did you have more to go over or did                              .
  5   you want me to ask my questions?                   5          She then characterized things took
  6       A. The entire characterization of what         6   place in my bathroom in the bathtub itself.
  7   took place in my house in London would have        7   The tub is too small for any type of activity
  8   been impossible.                                   8   whatsoever.
  9       Q. Can I ask, do you still have it,            9      Q.
 10   the picture of the London town home with you
 11   in it, Giuffre 00407.
 12           As you are looking at this picture,
 13   Ms. Maxwell, as I'm looking at it it's on the     13      Q. That would be a
 14   right-hand side, there appears to be a
 15   picture hanging on the wall, do you recall        15       A. Yes.
 16   that in your London town home?                    16       Q. Are you saying that it was an
 17       A. It's a little difficult to see.            17   obvious lie when Virginia said that you made
 18       Q. Do you recall having a picture on          18   her dress up in a school girl outfit?
 19   the wall there by the room where you're           19           MR. PAGLIUCA: Objection to the
 20   standing?                                         20       form and foundation.
 21       A. I do have a picture.                       21       A. I already testified that, first of
 22       Q. Do you recall on the left-hand side        22   all, I don't know what you are taking about,
 23   having a railing that looks like that with        23   I already testified I didn't get her outfits
 24   sort of a bubble wood top?                        24   and all of that.
 25       A. I do.                                      25       Q. Is it an obvious lie that Virginia
                                          Page 235                                              Page 237
  1        G Maxwell - Confidential                   1           G Maxwell - Confidential
  2       Q. So are you saying that it's an           2      was paid to go to give a massage to Glenn
  3   obvious lie that Virginia's statement that      3      Dubin at the Breakers?
  4   she had sex with                  is an obvious 4            MR. PAGLIUCA: Objection to the
  5   lie?                                            5         form and foundation.
  6       A. What I'm representing is that her        6         A. I cannot testify to what Virginia
  7   entire ludicrous and absurd story of what       7      did outside of -- I can't testify to what she
  8   took place in my house is an obvious lie.       8      did, who she gave massages to.
  9       Q. Including she had sex with               9         Q. So you don't know on that one?
 10                                                  10         A. Of course I don't know.
 11       A. She claimed things took place in my     11         Q. Do you agree that it's
 12   bathroom in London. Her characterizations is   12      psychologically harmful to have sex with a
 13   just not possible.                             13      minor?
 14       Q. So you're saying it's an obvious        14            MR. PAGLIUCA: Objection to form
 15   lie -- that she was telling an obvious lie     15         and foundation.
 16   when she said she had sex with               ? 16         A. What are you asking me?
 17           MR. PAGLIUCA: Objection to the         17         Q. I'm asking if is it psychologically
 18       form and foundation. The witness           18      harmful for an adult to have sex with a
 19       answered the question.                     19      minor?
 20       A. I'm saying within the context of        20            MR. PAGLIUCA: Objection to the
 21   all the stories she told, this particular      21         form and foundation.
 22   story -- back up, she claimed we went out at   22         A. I don't know what you are asking.
 23   night.                                         23      This has nothing to do with Virginia Roberts.
                                                     24         Q. It does.
                                                     25         A. How does it?




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                                        Page 238                                             Page 240
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       Q. I ask the questions, you answer.          2   harm.
  3   If you can't answer, you can say I don't         3          MR. PAGLIUCA: Object to the form
  4   know.                                            4       form and foundation.
  5           But my question is, do you agree         5       A. I would like to say all the
  6   that it's psychologically harmful to have sex    6   terrible things Virginia Roberts said about
  7   with a minor?                                    7   me is extremely harmful and you should turn
  8           MR. PAGLIUCA: Objection to the           8   that around. All the lies she has said and
  9       form and foundation.                         9   you have backed her on have been extremely
 10       A. Are you giving me a random question      10   damaging to me.
 11   and as not relates to this case and not         11          So what I can testify to is that
 12   relates to anything. It's obviously not         12   somebody who has made these outrageous
 13   something that you want to have happen.         13   allegations and who is a serious liar and
 14       Q. Do you agree that Jeffrey Epstein        14   that I know for a fact is a liar, that I can
 15   has harmed many minors by having sex with       15   testify is damaging to me.
 16   them?                                           16       Q. Do you agree that calling a sexual
 17           MR. PAGLIUCA: Objection to the          17   abuse victim a liar when she speaks out about
 18       form and foundation.                        18   her abuse can cause psychological harm?
 19       A. I can't testify to what Jeffrey did      19          MR. PAGLIUCA: Are you asking a
 20   or didn't do. I have no knowledge of what       20       hypothetical question?
 21   you are asking me.                              21          MS. McCAWLEY: Yes.
 22       Q. If Jeffrey had sex with minors,          22       A. You are asking me to speculate?
 23   would you agree that that could harm a minor?   23       Q. I'm not asking you to speculate .
 24           MR. PAGLIUCA: Object to the form        24   If somebody is a sexual abuse victim --
 25       and foundation.                             25       A. I can't testify to what some random
                                        Page 239                                             Page 241
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2      A. Again, I am not testifying to what         2   hypothetical person that you are asking me to
  3   Jeffrey did or did not do because I cannot.      3   speculate on their mental state or health
  4      Q. You don't know whether Jeffrey             4   versus speculative statement. I can't do
  5   Epstein ever had sex with a minor?               5   that, that's just not right.
  6      A. Again, I cannot testify to what            6       Q. Do you agree that by calling
  7   Jeffrey did or didn't do. I cannot.              7   Virginia Roberts a liar when she was subject
  8      Q. You never observed him having sex          8   to sexual abuse by Jeffrey Epstein can cause
  9   with a minor?                                    9   psychological harm?
 10      A. I never observed Jeffrey having sex       10           MR. PAGLIUCA: Objection to the
 11   with a minor.                                   11       form and foundation. Assumes facts not
 12      Q. Do you agree that calling a sex           12       in evidence.
 13   abuse victim a liar when she speaks about her   13       A. I can only tell you about what I
 14   abuse can cause psychological harm?             14   know of Virginia's lies. She lied
 15         MR. PAGLIUCA: Objection to the            15   repeatedly, often and I know for a fact she
 16      form and foundation.                         16   is a liar so I can only testify to what I
 17      A. Can you repeat the question.              17   know and the fact that she has lied about me
 18      Q. Do you agree calling a sex abuse          18   from the beginning to the end and repeatedly
 19   victim when she speaks about her abuse can      19   causes me to question anything that she may
 20   cause psychological harm?                       20   feel.
 21         MR. PAGLIUCA: Objection to form           21       Q. Is it an obvious lie you had sex
 22      and foundation.                              22   toys in Jeffrey Epstein's Palm Beach house?
 23      A. Say it again.                             23           MR. PAGLIUCA: Objection to the
 24      Q. Do you agree that calling a sexual        24       form and foundation.
 25   abuse victim a liar can cause psychological     25       A. Can you repeat the question,




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                                        Page 242                                            Page 244
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   please?                                          2   I took of people would only have been
  3      Q. Is it an obvious lie that you had          3   mainstream type magazine type photos and any
  4   sex toys in Jeffrey Epstein's Palm Beach         4   photos I took could have been very happily
  5   house?                                           5   and expected to be displayed on your parents'
  6          MR. PAGLIUCA: Objection to the            6   mantel piece or grandparents' mantel piece.
  7      form and foundation.                          7       Q. Is it a lie that you approached
  8      A. Did Virginia say that?                     8   females to bring them to Jeffrey Epstein?
  9      Q. I'm asking you a question.                 9          MR. PAGLIUCA: Objection to the
 10          Is it an obvious lie that you had        10       form and foundation.
 11   sex toys in Jeffrey Epstein's house?            11       A. Please ask the question, again.
 12      A. I don't recall any sex toys.              12       Q. Sure. Is it a lie that you
 13      Q. If someone said had you sex toys,         13   approached females to bring them to Jeffrey
 14   would that be an obvious lie?                   14   Epstein?
 15          MR. PAGLIUCA: Objection to the           15       A. I don't know what you are asking
 16      form and foundation.                         16   me.
 17      A. Like I said -- can you be more            17       Q. I'm asking you, if it's a lie that
 18   specific about the house or whatever, what      18   you approached females to bring them to
 19   exactly you are referring to, what's a sex      19   Jeffrey Epstein?
 20   toy?                                            20          MR. PAGLIUCA: Objection to the
 21      Q. Yes. How would you define a sex           21       form and foundation.
 22   toy?                                            22       A. You are not asking me a good
 23      A. No. I need you to define a sex            23   question, sorry.
 24   toy, I don't have enough knowledge of sex       24       Q. You don't get to choose the
 25   toys.                                           25   questions.
                                        Page 243                                            Page 245
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       Q. I will define it based on the             2       A. I would like to answer your
  3   dictionary's definition, which is an object      3   questions but you are not asking me a
  4   or device used to sexually stimulate or          4   question that I can answer.
  5   enhance sexual pleasure.                         5       Q. What about that is causing you
  6       A. What's your question, please?             6   pause where you can't answer the question?
  7       Q. The question is, is it an obvious         7       A. You are trying to trap me and
  8   lie that you had sex toys in Jeffrey             8   that's not fair, so I already testified that
  9   Epstein's Palm Beach house?                      9   I hire people across the board, so I would
 10          MR. PAGLIUCA: Same objection.            10   hire architects, decorators, pool people,
 11       Q. You can answer.                          11   exercise instructors, gardeners, cooks,
 12       A. Like I said, I do not have any           12   chefs, cleaning people. So I, in the course
 13   recollection of sex toys in Jeffrey's house.    13   of a very long time when I would hire people
 14       Q. Is it a lie, is it an obvious lie        14   I hired people to work for Jeffrey. So I'm
 15   that you took pictures of nude girls?           15   happy to testify to hiring people for every
 16          MR. PAGLIUCA: Object to the form         16   possible conceivable proper job that you
 17       and foundation.                             17   could conceive of within the context of
 18       A. We already covered this. Girls we        18   Jeffrey's life and homes.
 19   are not referring to -- I can only testify to   19       Q. Is it a lie that you approached
 20   taking pictures of adult people and I already   20   females to bring them to Jeffrey Epstein for
 21   testified they are not nude, per se. That       21   the purpose of performing massages?
 22   every picture that I ever took and which they   22          MR. PAGLIUCA: Objection to the
 23   were very limited, always by request, the       23       form and foundation.
 24   people would be covered or it would be a hand   24       A. Again, I have already testified
 25   or a foot. There was never any pictures that    25   that part of the job that I had was to hire




                                                                    62 (Pages 242 to 245)
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                                       Page 246                                              Page 248
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   lots of different types of people. In terms      2   of 18?
  3   of whatever -- very small part of my job,        3      A. I think we can establish what adult
  4   Jeffrey enjoyed getting massages. I think        4   would be.
  5   that is something we can all agree in this       5      Q. You never interviewed or I know you
  6   room and within the context of that, very        6   don't want to use the word hired, whatever
  7   infrequently I would go to spas and myself       7   your role was, you brought in an exercise
  8   happily receive a professional nonsexual         8   instructor that was under the age of 18 to
  9   massage from a man and/or from a woman and if    9   work at the house?
 10   that massage was something that I thought was   10         MR. PAGLIUCA: Object to the form
 11   something that was good, I would ask if that    11      and foundation.
 12   man or woman would come back and does home      12      A. I have already testified that what
 13   visits. If that person said that they did,      13   I was responsible for was to find people who
 14   they would sometimes come, from time to time,   14   had competencies in whatever area I was
 15   not always, come back to the house to perform   15   looking for. The competencies I was looking
 16   a nonsexual professional male or female         16   for were professional and adult.
 17   massage.                                        17      Q. So there was no exercise instructor
 18       Q. Were any of the exercise                 18   that worked at the Palm Beach house or the
 19   instructors you hired under the age of 18?      19   New York house or the New Mexico house or the
 20       A. Again, I don't hire, we've already       20   USVI under the age of 18?
 21   established that I don't hire people. I         21         MR. PAGLIUCA: Objection to the
 22   interview people to see if they are competent   22      form and foundation.
 23   in the job that they do and/or whether they     23      A. I can only testify to when I was at
 24   are someone who seemed that they can do home    24   the house.
 25   visits.                                         25      Q. Yes.
                                       Page 247                                              Page 249
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          At the point where I think that           2      A. I can only testify to the years
  3   there is somebody that has, can be either        3   when I was present.
  4   whatever the job may be, pool, gardener, chef    4      Q. Right.
  5   and/or exercise instructor and I think they      5      A. And I can also only testify to
  6   could be good at whatever it is at whatever      6   people I personally either met and/or worked
  7   skill that they had and they did a home visit    7   with and/or invited, to find the correct
  8   which would obviously be mandatory and Mr.       8   word, I don't know what the correct word is,
  9   Epstein would meet with them and decide if he    9   to come to do exercise or whatever it was at
 10   wanted to have whatever skill it was that he    10   the house.
 11   would do it and then he would then either       11          Of the people that I, male and/or
 12   have them come back or hire them.               12   female that I brought were all appropriate
 13      Q. Were there any exercise instructors       13   and age appropriate adults.
 14   that worked at the home that were under the     14      Q. Over the age of 18?
 15   age of 18?                                      15      A. We've established them as an adult.
 16          MR. PAGLIUCA: Objection to the           16      Q. You are saying appropriate adults,
 17      form and foundation.                         17   so we are clear, you didn't hire or bring in
 18      A. Again, I keep coming back to this,        18   or know of any exercise instructors that were
 19   that the people that I employed or -- not the   19   under the age of 18 at any of those homes?
 20   right word, the people I would meet to come     20      A. I am also testifying that when I
 21   and work at the house, under any guise          21   was present at the house and with the people
 22   whatsoever, again, from any of the many         22   that I brought in, were all age appropriate
 23   positions that I filled, were all over --       23   adults.
 24   were adults.                                    24      Q. How do you define age appropriate
 25      Q. When you say adults, over the age         25   adults, is that over the age of 18, can we




                                                                    63 (Pages 246 to 249)
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                                        Page 250                                             Page 252
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   agree to that?                                   2   Epstein had a sexual preference for underage
  3          MR. PAGLIUCA: Objection to the            3   minors?
  4      form and foundation.                          4          MR. PAGLIUCA: Object to the form
  5      Q. Are they under the age of 18?              5      and foundation.
  6      A. We already established that you can        6      A. I cannot testify to what
  7   be a masseuse in Florida at age 17. That         7   Jeffrey's --
  8   does not make it inappropriate.                  8      Q. You don't know his preference?
  9      A. I'm not saying appropriate or              9      A. You handed me a stack of papers
 10   inappropriate. I'm just asking if there were    10   from the police reports and that's what I've
 11   any exercise instructors that were under the    11   read but I have no knowledge, direct
 12   age of 18.                                      12   knowledge, of what you are referencing.
 13      A. I am not aware if anybody was but I       13      Q. So you don't know, you don't know
 14   don't want to full out and say you oh she       14   in your own mind that Jeffrey Epstein had a
 15   said, we already established you can be a 17    15   sexual preference for underage minors, is
 16   year old masseuse and have it not be            16   that correct?
 17   something that is not appropriate. So when      17          MR. PAGLIUCA: Objection to the
 18   you say that and then you go, well, you come    18      form and foundation.
 19   back and say something, now we can establish    19      Q. Is that correct?
 20   that Virginia was 17 but you can be a 17 year   20      A. Please ask the question again.
 21   old legal masseuse, but I am not aware to       21      Q. You don't know in your own mind
 22   your point.                                     22   that Jeffrey Epstein had a sexual preference
 23      Q. Who were the other 17 year old            23   for underage minors?
 24   masseuses that you were aware of?               24          MR. PAGLIUCA: Objection to the
 25      A. I am not aware of any.                    25      form and foundation. You have to pause,
                                        Page 251                                             Page 253
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Were there any 16 year year old            2       let me object, answer the question.
  3   masseuse that you are aware of?                  3       Listen to her question, pause, I object,
  4      A. I am not aware.                            4       you answer.
  5      Q. Any 15?                                    5       Q. So you don't know in your own mind
  6      A. I just want to be clear. The only          6   that Jeffrey Epstein had a sexual preference
  7   person that I am aware of who claims to have     7   for underage minors?
  8   been a -- we have to -- we established           8           MR. PAGLIUCA: Objection to the
  9   Virginia now is 17, given she has changed her    9       form and foundation.
 10   age so many times. The only person that I am    10       Q. You can answer.
 11   aware of that was a masseuse at the time when   11       A. I cannot tell you what Jeffrey's
 12   I was present in the house was Virginia.        12   story is. I'm not able to.
 13      Q. Is it an obvious lie that Jeffrey         13       Q. Did Jeffrey Epstein have a scheme
 14   Epstein had a sexual preference for underage    14   to recruit underage girls to use them for
 15   miners?                                         15   purposes of sexual massages?
 16         MR. PAGLIUCA: Objection to the            16           MR. PAGLIUCA: Objection to the
 17      form and foundation.                         17       form and foundation.
 18      A. Can you ask the question again?           18       A. Can you ask me again, please?
 19      Q. It is it an obvious lie that              19       Q. Did Jeffrey Epstein have a scheme
 20   Jeffrey Epstein had a sexual preference for     20   to recruit underage girls to recruit them for
 21   underage minors?                                21   sexual massages?
 22         MR. PAGLIUCA: Objection to the            22           MR. PAGLIUCA: Objection to the
 23      form and foundation.                         23       form and foundation.
 24      A. Can you ask the question again?           24       A. Can you ask it a different way?
 25      Q. Is it an obvious lie that Jeffrey         25       Q. Did Jeffrey Epstein have a scheme




                                                                    64 (Pages 250 to 253)
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                                            Page 254                                              Page 256
  1        G Maxwell - Confidential                          1        G Maxwell - Confidential
  2   to recruit underage girls for sexual                   2      Q. During any period of time you
  3   massages?                                              3   worked, did you observe that?
  4          MR. PAGLIUCA: Objection to the                  4      A. I did not observe any such
  5       form and foundation.                               5   photographs.
  6       Q. If you know.                                    6      Q. Are you aware if they took those
  7       A. I don't know what you are talking               7   kinds of photos?
  8   about.                                                 8      A. I am not aware.
  9       Q. Is it an obvious lie that Virginia              9         MR. PAGLIUCA: Can we take a
 10   Giuffre was a minor the first time she was            10      five-minute break.
 11   taken to Jeffrey Epstein's house?                     11         THE VIDEOGRAPHER: It's 2:58 and we
 12          MR. PAGLIUCA: Objection to the                 12      are off the record.
 13       form and foundation.                              13         (Recess.)
 14       A. So we've already established that              14         THE VIDEOGRAPHER: It's now 3:10.
 15   Virginia was 17 and we have established that          15      We're starting disk No. 6 and we are
 16   her mother brought her to the house and that          16      back on the record.
 17   she came as a masseuse, age 17, which is              17      Q. Ms. Maxwell, was it an obvious lie
 18   legal in Florida.                                     18   when Virginia said she was sent to Thailand
 19       Q. Would Jeffrey Epstein's assistants             19   by Epstein in September of 2002?
 20   arrange times for underage girls to come to           20         MR. PAGLIUCA: Objection to the
 21   the house for sexual massages?                        21      form and foundation.
 22          MR. PAGLIUCA: Objection to the                 22      A. I have no knowledge of Virginia
 23       form and foundation.                              23   being sent to Thailand.
 24       A. What are you talking about?                    24         But may I say something?
 25       Q. Sure. Would Jeffrey Epstein's                  25      Q. There is not a question pending
                                            Page 255                                              Page 257
  1        G Maxwell - Confidential                          1        G Maxwell - Confidential
  2   assistants, I think earlier you mentioned, we          2   unless you want to clarify something.
  3   talked about                 who worked in the         3          Did you want to clarify that?
  4   role as an assistant or                    .           4       A. No, I just wanted to say something.
  5   Would Jeffrey Epstein's assistants arrange             5       Q. Is it an obvious lie when Virginia
  6   times for underage girls to come over the              6   said she was given instructions to maintain
  7   house for sexual massages?                             7   telephone contact with you while she was in
  8           MR. PAGLIUCA: Objection to the                 8   Thailand?
  9      form and foundation.                                9          MR. PAGLIUCA: Objection to the
 10      A. Again, I read the police reports so             10       form and foundation.
 11   this is all happening according to the police         11       A. Can you repeat the question?
 12   reports when I am no longer at the house so I         12       Q. Is it an obvious lie when Virginia
 13   can't testify to what Jeffrey's assistants            13   said she was given instructions to maintain
 14   did when this kind of activity as alleged in          14   telephone contact with you when she was in
 15   the reports.                                          15   Thailand?
 16      Q. So you don't know?                              16          MR. PAGLIUCA: Same objection.
 17      A. No.                                             17       A. I have no idea what instructions
 18      Q. Would Jeffrey Epstein's assistants,             18   Virginia was given, if any, when she went to
 19   meaning                                      or any   19   Thailand.
 20   other assistant that you are aware of from            20       Q. So you know she went to Thailand?
 21   the time you worked there take nude                   21       A. I know she claimed she went to
 22   photographs of underage girls?                        22   Thailand from having read it but given that
 23           MR. PAGLIUCA: Object to the form              23   she lied about everything it's hard to know
 24      and foundation.                                    24   what is true and not true.
 25      A. During what period of time?                     25       Q. Would it make any sense for her to




                                                                          65 (Pages 254 to 257)
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                                        Page 258                                              Page 260
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   be in contact with you, would there be any       2   your cell phone number, is that number on
  3   reason why she needed to be in contact with      3   this document?
  4   you?                                             4      A. It is.
  5          MR. PAGLIUCA: Objection to the            5      Q. And do you know who authored this
  6      form and foundation.                          6   document?
  7      A. When are we talking about?                 7      A. I do not.
  8      Q. When she went to Thailand.                 8      Q. Who is
  9          MR. PAGLIUCA: Same objection.             9      A. I don't know who        is on this
 10      Q. In 2002, would there be any reason        10   document because I don't know what this
 11   for her to remain in contact with you?          11   document is.
 12          MR. PAGLIUCA: Objection to the           12      Q. Do you know someone by the name of
 13      form and foundation.                         13
 14      A. Can you ask the question again,           14      A. I do know someone by the name of
 15   please?                                         15
 16      Q. Would there be any reason for             16      Q. Would he know your phone number?
 17   Virginia to maintain contact with you in 2002   17          MR. PAGLIUCA: Object to the form.
 18   when she went to Thailand?                      18      A. I have to idea.
 19          MR. PAGLIUCA: Same objection.            19      Q. Why would Virginia be instructed to
 20      A. First of all, I didn't know that          20   call Ms. Maxwell at your number on this form?
 21   she went to Thailand. I had had nothing to      21          MR. PAGLIUCA: Objection to the
 22   do with her trip to go to Thailand and there    22      form and foundation.
 23   would absolutely no reason for her to be in     23      A. I don't know what this document is.
 24   touch with me, whatsoever.                      24   I don't know when it was done, I don't know
 25      Q. Did you ever have a phone number          25   anything about it other than I can see it has
                                        Page 259                                              Page 261
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   that was                ?                        2   my name and my number on it.
  3      A. I did.                                     3       Q. So         -- you said       -- is he
  4      Q. Was that a cell phone number?              4   employed by Mr. Epstein?
  5      A. Yes.                                       5       A. Again, it is not the only one
  6      Q. Is that your current cell phone            6   on the planet.
  7   number?                                          7       Q. I understand.
  8      A. Yes.                                       8          Do you know a          that is employed
  9      Q. I'm going to mark a couple of              9   by Mr. Epstein?
 10   things here?                                    10          MR. PAGLIUCA: Objection to the
 11          (Maxwell Exhibit 11, photos, marked      11       form and foundation.
 12      for identification.)                         12       A. Can you ask me the question again?
 13          THE WITNESS: Can I say something         13       Q. Do you know someone by the name of
 14      now?                                         14         that was employed by Mr. Epstein back in
 15          MR. PAGLIUCA: No.                        15   2002?
 16          THE WITNESS: Will you let me know        16       A. I do know somebody who was employed
 17      when I can?                                  17   by Mr. Epstein known as
 18          MR. PAGLIUCA: When she asks you a        18       Q. Do you recognize the other numbers
 19      question:                                    19   listed at the top of this document?
 20      Q. So we've marked this as Exhibit 11.       20       A. I do not.
 21   I'm showing you what's been marked as Exhibit   21       Q. Would you have known                cell
 22   11 which is Giuffre 003191 and 003192.          22   number at that time in 2002?
 23          Can you take a look at that              23          MR. PAGLIUCA: Objection to the
 24   document for me. Is that number that you        24       form and foundation.
 25   just identified the               as being      25       A. I have no idea.




                                                                    66 (Pages 258 to 261)
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                                       Page 262                                            Page 264
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2      Q. Can I ask you to turn to the next         2      Q. The front form, the front page, do
  3   page, please.                                   3   you recognize this Shopper Travel form, have
  4          Do you know who                          4   you ever used them as a travel agent with
  5   is who is mentioned on this document?           5   Jeffrey Epstein?
  6      A. I do not.                                 6          MR. PAGLIUCA: Same objection.
  7      Q. If you look on the bottom lines of        7      Q. You can answer.
  8   the document, it says, Still in Thailand        8      A. I don't recognize this.
  9   during your stay, if she is, she will be        9      Q. Turning to the second page which is
 10   staying at the same hotel.                     10   the 00376, do you see at the top of that
 11          Do you recall ever giving Virginia      11   document where it says Jeffrey Epstein, J.
 12   instructions to meet a girl in Thailand?       12   Epstein 457 Madison Avenue 4th floor New York
 13          MR. PAGLIUCA: Objection to the          13   New York.
 14      form and foundation.                        14          Is that an address you are familiar
 15      A. I have already testified that I          15   with that is Jeffrey Epstein's?
 16   didn't even know that Virginia was going to    16      A. I am.
 17   Thailand.                                      17      Q. Do you see below that, travel on
 18      Q. So you didn't give her instructions      18   Singapore Airlines, and you are going to have
 19   to meet a girl in Thailand?                    19   to go from New York JFK to Singapore Bangkok.
 20      A. Like I said, I didn't even know she      20          Do you see that?
 21   was going to Thailand.                         21          MR. PAGLIUCA: What?
 22      Q. Do you know whether Jeffrey Epstein      22      Q. The first entry is going to be on
 23   would have given her instructions to meet a    23   September 27, New York.
 24   girl in Thailand?                              24          MR. PAGLIUCA: I see it.
 25          MR. PAGLIUCA: Objection to the          25          MS. McCAWLEY: I'm not talking to
                                       Page 263                                            Page 265
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       form and foundation.                        2       you. I'm talking to the witness.
  3       A. I cannot possibly tell you what          3       A. I see it.
  4   Jeffrey did or didn't do. I wouldn't know.      4       Q. To Singapore Bangkok?
  5       Q. Do you know whether Jeffrey Epstein      5       A. Singapore Bangkok I'm afraid are
  6   paid for Virginia to go to Thailand?            6   not the same place.
  7       A. Again, I wouldn't know if he did.        7       Q. Singapore, then Bangkok:
  8          (Maxwell Exhibit 12, documents,          8       Q. I'm going to turn you to page
  9       marked for identification)                  9   Giuffre, it's a little further back 000919.
 10       Q. I'm going to direct -- you can take     10   And do you see at the top where it says J.
 11   a look at it and then I'm going to direct      11   Epstein, underneath, Royal Princess, change
 12   your attention to a couple of pages.           12   mine?
 13          MR. PAGLIUCA: So the record should      13       A. I do.
 14       be clear, this exhibit which is 12 is      14       Q. Does this refresh your recollection
 15       375, 6, 7, 8, 9, 80, 1, and then skips     15   that Virginia Roberts' trip to Thailand was
 16       to 919, 920, 921, 922, 923, 924, 925 and   16   paid for by Jeffrey Epstein?
 17       926.                                       17          MR. PAGLIUCA: Objection to the
 18       Q. So I'm going to direct your             18       form and foundation.
 19   attention to the first page, have you ever     19       A. I can only testify to the piece of
 20   traveled with Jeffrey Epstein where you've     20   paper you showed me that has that
 21   received a document like this from Shoppers    21   information. I cannot testify from direct
 22   Travel in your own independent travel.         22   memory.
 23          Do you recognize this?                  23       Q. When Virginia was traveling to
 24          MR. PAGLIUCA: Objection to the          24   Thailand, which the dates, again, I'm going
 25       form and foundation.                       25   to refer you back to the first page so you




                                                                   67 (Pages 262 to 265)
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                                          Page 266                                              Page 268
  1        G Maxwell - Confidential                       1         G Maxwell - Confidential
  2   can see the dates.                                  2           MR. PAGLIUCA: Are you asking her
  3           MR. PAGLIUCA: Can you identify a            3       to compare the documents or are you
  4       Bates number, please.                           4       asking her what her personal knowledge
  5       Q.           which was at the top says,         5       is.
  6                         . I'm going to refer you,     6           MS. McCAWLEY: I'm asking if she can
  7   at the same time, to the flight logs which          7       look at the doubts and tell me if she
  8   were marked, the thicker document that looks        8       recalls that she traveling with
  9   like this with all the log entries on it.           9                           at the same time this
 10   I'm going to refer you to page --                  10       document reflects Virginia was in
 11           MR. PAGLIUCA: That's Exhibit No.           11       Thailand.
 12       6, correct? I'm trying to keep the             12       A. I can't testify to any dates. I
 13       record straight.                               13   couldn't tell you. I can see a date and I
 14           MS. McCAWLEY: I don't have Exhibit         14   can see a date but I can't tell you that I
 15       numbers on mine. That's Giuffre                15   have a memory of the dates. I have a memory
 16           MR. PAGLIUCA: Hang on one second.          16   of the trip, I don't have a memory of the
 17       A. Can you repeat the number please.           17   time.
 18       Q.             And if you will look on         18       Q. Who is                   ?
 19   that page at the entry, under                      19       A.                        .
 20          starting with the      and then it runs     20       Q. What is her address?
 21   down to the, looks like the         that first     21       A. I don't know.
 22   entry has                                      ,   22       Q. Does she live in the United States?
 23                   Jeffrey Epstein and the            23       A. She does.
 24   initials GM.                                       24       Q. In what state?
 25           Do you remember taking a trip with         25       A. I believe in New Jersey somewhere.
                                          Page 267                                              Page 269
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2                     during                 ?          2      Q. Do you have her phone number?
  3           MR. PAGLIUCA: Objection to the              3      A. Not memorized.
  4      form and foundation.                             4      Q. Do you have the ability to get her
  5      A. Can you repeat the question,                  5   phone number?
  6   please?                                             6      A. Of course.
  7      Q. Do you remember taking a trip with            7      Q. Has she ever asked -- has
  8                     during                 ,          8           ever asked other girls to come over to
  9   that's the    it looks like, through the            9   see Jeffrey Epstein for the purpose of a
 10                                                      10   sexual massage?
 11      A. I don't remember the dates. I                11         MR. PAGLIUCA: Objection to the
 12   couldn't testify to when we actually did it        12      form and foundation.
 13   but I do remember the trip itself.                 13      A. Can you ask the question again
 14      Q. So you were traveling with Jeffrey           14   please.
 15   Epstein and                     at the same        15      Q. Has                  ever asked girls to
 16   time Virginia was headed to Thailand, is that      16   come over to see Jeffrey Epstein for the
 17   correct?                                           17   purpose of a sexual massage?
 18          MR. PAGLIUCA: Objection to the              18         MR. PAGLIUCA: Object to form and
 19      form and foundation.                            19      foundation.
 20      A. I don't know, is that right?                 20      A. Can you ask again, please?
 21      Q. If you look at                  on the       21      Q. Has                  ever asked girls to
 22   document that I gave you, the first document       22   come over to see Jeffrey Epstein for the
 23   and then you referred to, if you look in the       23   purpose of sexual massage?
 24   same as above lines, you will see the travel       24      A. I have no personal knowledge.
 25   group with                    ?                    25      Q. What does                   do for you?




                                                                       68 (Pages 266 to 269)
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                                       Page 270                                               Page 272
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2      A. She helps with my not-for-profit          2       Q. Is it your testimony that
  3   ocean foundation and any other related          3            knows Jeffrey Epstein through the work
  4   activities that I may have.                     4   that she does for you?
  5      Q. Is she paid for by Jeffrey Epstein?       5          MR. PAGLIUCA: Objection to the
  6      A. No.                                       6       form and foundation.
  7      Q. She is paid for by you?                   7       A. I don't recollect, and I don't
  8      A. Yes.                                      8   recollect how I met        and I can't testify
  9      Q. When did you first meet                   9   to what         relationship is or is not with
 10                                                  10   Jeffrey.
 11     A. I don't recollect exactly, sometime       11       Q. Have you ever talked to Jeffrey
 12   maybe 2002, 2003.                              12   about       ?
 13     Q. How did you meet her?                     13       A. I don't know what you mean.
 14     A. I don't recollect exactly how we          14       Q. In any way, have you ever had a
 15   met.                                           15   conversation with Jeffrey about                 ?
 16     Q. Did Jeffrey introduce you to her?         16       A. In what context.
 17     A. I don't recollect how we met.             17       Q. In any context. Have you ever
 18     Q. Does she know Jeffrey Epstein?            18   talked to Jeffrey Epstein about                ?
 19         MR. PAGLIUCA: Objection to the           19       A.        works for me so it's entirely
 20     form and foundation.                         20   possible that in the course of conversations
 21     A. Can you ask again, please?                21   since 2002, 2003 that a conversation in which
 22     Q. Does                 know Jeffrey         22           name would have come up is entirely
 23   Epstein?                                       23   possible.
 24     A. What do you mean by know?                 24       Q. I provided you with and I'm sorry,
 25     Q. Has she met her him before?               25   I don't know all the numbers, but the
                                       Page 271                                               Page 273
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the           2   statement that was issued by                that
  3      form and foundation.                         3   should be a single page still in your stack
  4      A. I can't recollect a time when             4   of exhibits there.
  5          -- I've seen      with Jeffrey but --    5          MR. PAGLIUCA: Exhibit 10.
  6      Q. You are not sure --                       6       Q. Did you authorize                to issue
  7      A. I know they know either other. I          7   that statement on your behalf in January of
  8   can't testify to a meeting between them.        8   2015?
  9      Q. Do you know where in New Jersey she       9       A. I already testified that that was
 10   lives?                                         10   done by my lawyers.
 11      A. No                                       11       Q. So did you authorize your lawyers
 12      Q. You don't know a city?                   12   to issue a statement on your behalf through
 13      A. No.                                      13               in January of 2015?
 14      Q. How long has she worked for you?         14       A. It was determined that I had to
 15      A. Sometime 2002, 2003.                     15   make a statement in the United Kingdom
 16      Q. To the present?                          16   because of the appalling lies and I just
 17      A. Yeah.                                    17   thought of some new ones.
 18      Q. Why do you think that                    18          Virginia's statement that I
 19   might know Jeffrey?                            19   celebrated her 16 birthday with her. We can
 20          MR. PAGLIUCA: Objection to the          20   all agree that that's entirely impossible. I
 21      form and foundation.                        21   didn't meet her until she was 17 and other
 22      A. Because you know, I know Jeffrey.        22   lies she perpetrated that she had a diary and
 23      Q. Have you seen them together?             23   we all know is a complete fake. That's not a
 24      A. I already testified I have not seen      24   diary. It was just a book she was writing
 25   them together, to my recollection.             25   that you helped sell to the press, as if it




                                                                   69 (Pages 270 to 273)
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                                        Page 274                                             Page 276
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   was a diary, when it was just a story that       2       A. I'm not sure I even understand your
  3   she is writing of fiction, fictional story       3   question.
  4   for money.                                       4       Q. I will go slower.
  5       Q. How did you arrive at the words           5          Are you aware of any interstate,
  6   that were put in that statement?                 6   meaning between states, or international,
  7          MR. PAGLIUCA: I'm going to object         7   meaning oversees transportation, of women
  8       and instruct you to the extent this          8   aged 18 to 28, for the purposes of
  9       calls for any privileged communications      9   prostitution?
 10       between yourself and                 or     10          MR. PAGLIUCA: Objection to the
 11       another lawyer representing you, we're      11       form and foundation.
 12       asserting privilege. If you can answer      12       A. Are you asking -- I'm still not
 13       that without that, feel free to answer.     13   sure I understand the question.
 14       Q. So what your counsel is saying, and      14       Q. I will try to make it clearer.
 15   I will exclude any privileged communications    15          I'm asking you if you are aware of
 16   you had with your lawyers.                      16   any interstate, meaning between states, or
 17          The question is, how did you arrive      17   international transportation, meaning by
 18   at the words that were put in that statement,   18   flight or by car or by train, of women aged
 19   if you can tell me without disclosing           19   18 to 28, their ages are between the ages of
 20   privileged communications?                      20   18 and 28, for the purposes of prostitution?
 21       A. I'm not sure that I can.                 21          MR. PAGLIUCA: Objection to the
 22       Q. Is the statement that you issued         22       form and foundation.
 23   true?                                           23       A. In the world I'm sure that that
 24       A. What do you mean by that?                24   happens, I read about it all the time.
 25       Q. Is the statement that you issued,        25       Q. Not in the world. Are you aware of
                                        Page 275                                             Page 277
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   the statement that's in front of you, is it a    2   it, in your experience with Jeffrey Epstein,
  3   true statement?                                  3   of any interstate or international
  4      A. As in that Virginia is a liar?             4   transportation of women aged 18 to 28, for
  5      Q. The words you put in there, is that        5   the purposes of prostitution?
  6   true?                                            6           MR. PAGLIUCA: Objection to the
  7      A. Of course they're true.                    7        form and foundation.
  8      Q. When did you become aware that the         8        A. So whilst I appreciate this might
  9   statement was being released?                    9   not seem like a smart question, what do you
 10      A. I don't recollect exactly.                10   mean by prostitution, what are you asking me
 11      Q. What day it was?                          11   exactly?
 12      A. No.                                       12        Q. That would be sex for hire, any
 13      Q. I'm sorry. Did you identify, I            13   kind of sexual act that's paid for.
 14   might not have caught it, did you identify      14           MR. PAGLIUCA: Objection to the
 15   the name of the lawyer that you said you        15        form and foundation.
 16   retained for purposes of this statement?        16        A. Who's paying, what are you asking
 17      A. I think                  .                17   me.
 18      Q. Did you pay that lawyer                   18        Q. It can be paid for by anybody.
 19                                                   19   It's a sexual act that's paid for.
 20      A. Yes.                                      20           I'm asking if you are aware of any
 21      Q. Are you aware of any interstate or        21   interstate or international transportation of
 22   international transportation of a woman aged    22   women aged 18 to 28, for the purposes of
 23   18 to 28 for the purposes of prostitution?      23   prostitution?
 24         MR. PAGLIUCA: Objection to the            24           MR. PAGLIUCA: Objection to the
 25      form and foundation.                         25        form and foundation.




                                                                    70 (Pages 274 to 277)
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                                       Page 278                                              Page 280
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       A. I have no idea what you are talking       2   Epstein?
  3   about.                                           3           MR. PAGLIUCA: Objection to the
  4       Q. So you are not aware of that?             4      form and foundation.
  5       A. No.                                       5      A. Again, I'm not aware of anybody
  6       Q. Are you aware of any interstate or        6   that, if you are asking for specifics to
  7   international transportation of women, aged      7   someone else, I have no knowledge of that.
  8   18 to 28, for the purposes of having sex with    8      Q. So you are not aware of any
  9   Epstein where they would receive compensation    9   interstate or international transportation of
 10   of any type?                                    10   a woman aged 18 to 28 for the purposes of
 11          MR. PAGLIUCA: Objection to the           11   providing a massage to any person other than
 12       form and foundation.                        12   Jeffrey Epstein?
 13       A. I don't know what you are referring      13           MR. PAGLIUCA: Objection to the
 14   to.                                             14      form and foundation.
 15       Q. Do you want me to repeat the             15      A. I don't recall what any single
 16   question?                                       16   person being on a plane for a massage with
 17       A. Sure, go ahead.                          17   someone else other than Jeffrey, for the sole
 18       Q. Are you aware of any interstate or       18   purpose, if that's the question, I don't have
 19   international transportation of woman, aged     19   any recollection of that.
 20   18 to 28, for the purpose of having sex with    20      Q. Earlier in your testimony, you
 21   Jeffrey Epstein where they would receive        21   stated that Virginia Roberts was 17 at the
 22   compensation of any type?                       22   time you met her.
 23          MR. PAGLIUCA: Objection to form          23           How do you know she was 17?
 24       and foundation.                             24           MR. PAGLIUCA: Objection to the
 25       A. I am not aware of what you are           25      form and foundation. And to the extent
                                       Page 279                                              Page 281
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   talking about.                                   2      that calls for a privileged response,
  3      Q. Are you aware of any interstate or         3      I'm instructing you not to answer.
  4   international transportation of women, aged      4      Q. How do you know Virginia Roberts
  5   18 to 28, for the purposes of providing a        5   was 17 at the time you met her?
  6   massage for Jeffrey Epstein?                     6          MR. PAGLIUCA: Again, if you
  7          MR. PAGLIUCA: Objection to the            7      learned that information from your
  8      form and foundation.                          8      lawyer, I'm instructing you not to
  9      A. So I you need to repeat that               9      answer.
 10   question for me.                                10      A. I will follow my counsel's advice.
 11      Q. Sure.                                     11      Q. Are you able to answer that
 12          Are you aware of any interstate,         12   question without telling me information you
 13   meaning between states, or international,       13   learned from a lawyer?
 14   oversees, transportation of women, aged 18 to   14      A. I'm not.
 15   28, for the purposes of providing massage for   15      Q. So you don't have independent
 16   Jeffrey Epstein?                                16   knowledge that Virginia, according to your
 17          MR. PAGLIUCA: Objection to the           17   statement, was 17 at the time you met her?
 18      form and foundation.                         18      A. Again, my lawyer has instructed me
 19      A. I think we can agree he did travel        19   not to answer.
 20   from time to time with a professional adult     20      Q. I'm asking you a different
 21   masseuse.                                       21   question. Whether you have any independent
 22      Q. Are you aware of any interstate or        22   knowledge, outside your lawyers, that
 23   international transportation of women, aged     23   Virginia was 17 at the time you met her?
 24   18 to 28, for the purposes of providing a       24      A. Following the instructions of my
 25   massage to any person other than Jeffrey        25   lawyers, I can only remember or testify to




                                                                    71 (Pages 278 to 281)
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                                        Page 282                                             Page 284
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   what she --                                      2       calls for a communication that you had
  3           MR. PAGLIUCA: She is asking you a        3       with one of your lawyers, I'm
  4       different question. She is asking other      4       instructing you not to answer that
  5       than what your lawyers have told you, do     5       question.
  6       you have any knowledge about her being       6       Q. I assume you, as part of the
  7       17, that's what she is asking.               7   discovery process, had to collect documents
  8       A. I can't recollect where I got all         8   that were relevant to this action, is that
  9   the information that I have that definitively    9   correct?
 10   shows that.                                     10       A. I did.
 11       Q. Earlier in your testimony, I             11       Q. Did you collect documents that
 12   believe you said all of us would know that      12   would show that Virginia was 17 at the time
 13   Virginia was 17 at the time you met her.        13   that you met her?
 14           How would we know that?                 14       A. I think you have everything that
 15       A. I think you know that by her own         15   relates, that I had, contemporaneously per
 16   dates, now that it was in 2000, so her entire   16   what you asked for that I have that relates
 17   tail of me celebrating her 16th birthday is     17   to that.
 18   clearly another giant falsehood.                18       Q. Did you have a document that
 19       Q. But she was 16 and 17 that year,         19   identified that Virginia was 17 at the time
 20   wasn't she?                                     20   that you met her?
 21       A. Which year?                              21       A. You have all of the documents that
 22       Q. You said it was 2000.                    22   I had.
 23       A. I think the information that I have      23       Q. I'm not asking what documents. I'm
 24   that indicates that definitively was            24   asking, do you have a document that
 25   something that is privileged, so I can't        25   identifies Virginia being 17 at the time you
                                        Page 283                                             Page 285
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   share with you.                                  2   met her?
  3       Q. So you have privileged information        3      A. You have every document that I
  4   that definitively tells you that she was 17      4   have. You have seen every document that I
  5   at the time you met her?                         5   have.
  6       A. I believe I do.                           6      Q. That's not what I'm asking.
  7       Q. How would we know that?                   7      A. I don't recall every document that
  8       A. What are you asking me?                   8   I gave you, so I don't know. I would have to
  9       Q. Earlier today you testified that we       9   look at every single document I gave you and
 10   would know that she was 17 at the time that     10   then review it but as I recall you have every
 11   you met her.                                    11   document that I have.
 12          How would we know that?                  12      Q. What are you planning to show the
 13       A. I imagine you have access to             13   jury that will prove that Virginia was 17
 14   exactly the same information that I do.         14   when you met her?
 15       Q. What is that information?                15      A. Again that's privileged so I can't
 16       A. Again, it's privileged, I can't          16   share that with you.
 17   share it with you but you have been on this     17      Q. If you're showing the jury, it
 18   case for, I don't know, much much longer than   18   wouldn't be privileged, so is there a
 19   I have and I imagine you have all the           19   document you have produced in this matter
 20   information that I do.                          20   that shows that Virginia was 17 at the time
 21       Q. Do you know whether your lawyers         21   you met her?
 22   have produced documents from you that would     22          MR. PAGLIUCA: She answered that
 23   show the age that Virginia was at the time      23      question already. She said she doesn't
 24   that you met her?                               24      know, she has given you everything. If
 25          MR. PAGLIUCA: To the extent that         25      there is a decision -- assuming for the




                                                                    72 (Pages 282 to 285)
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                                        Page 286                                              Page 288
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      moment there is such a document, just          2   hand puppets, all sorts of puppets.
  3      hypothetically, and assuming for the           3       Q. Is there any puppet you've ever
  4      moment that it is going to get produced        4   seen in Jeffrey Epstein's home in the
  5      somewhere, if it hasn't already been           5   presence of                 ?
  6      produced, obviously that would involve a       6       A. Again, puppet, you know, there is
  7      waiver, a future waiver of the                 7   lots of types of puppets.
  8      privilege. I think that's the answer to        8       Q. Any type of puppet.
  9      the question.                                  9       A. If you want to give me a
 10      Q. Has the document been produced, do         10   description of the puppet, I would be perhaps
 11   you know?                                        11   be able to say.
 12      A. You have everything that I have            12       Q. Any type of puppet?
 13   given you, so if you can't -- if it's not in     13       A. Can you be more detailed?
 14   those documents, I don't know what to tell       14       Q. Have you ever seen a puppet in
 15   you.                                             15   Jeffrey Epstein's home in the presence of
 16      Q. Your lawyers haven't withheld any          16                   ?
 17   documents?                                       17       A. My understanding of a puppet is a
 18      A. They are right here. You can ask           18   small handheld item you have in a circus. I
 19   them.                                            19   have never seen that.
 20      Q. I'm asking you.                            20       Q. Have you ever seen a puppet which
 21      A. I don't know what -- they're               21   is defined as a movable model of a person or
 22   lawyers.                                         22   animal that is used in entertainment and
 23      Q. When we were talking earlier about         23   typically moved either by strings or
 24                   , I asked you whether you had    24   controlled from above or by a hand inside it?
 25   ever given him a gift of a puppet.               25          MR. PAGLIUCA: Objection to the
                                        Page 287                                              Page 289
  1       G Maxwell - Confidential                      1        G Maxwell - Confidential
  2          Did you ever, not as a gift, did           2       form and foundation.
  3   you ever see in the presence of                   3       A. I have not seen a puppet that fits
  4   a puppet?                                         4   exactly that description.
  5          MR. PAGLIUCA: Objection to the             5       Q. Have you seen any puppet that fits
  6      form and foundation.                           6   any description?
  7      A. Can you be more direct, please?             7          MR. PAGLIUCA: Objection to the
  8      Q. Sure. Were you ever in a room with          8       form and foundation.
  9                   where there was a puppet?         9       A. Can you reask the question, please?
 10          MR. PAGLIUCA: Objection to the            10       Q. Yes.
 11      form and foundation.                          11          Have you seen any puppet that fits
 12      A. Can you be more specific please and        12   any description in the presence of
 13   can you bound it by time and be more             13            in Jeffrey Epstein's home?
 14   specific, whatever you are actually asking       14          MR. PAGLIUCA: Objection to the
 15   me?                                              15       form and foundation.
 16      Q. Were you ever in a room with               16       A. I am not aware of any small
 17            in New York in Jeffrey Epstein's home   17   handheld puppet that was there. There was a
 18   where there was a puppet?                        18   puppet -- not a puppet -- there was a -- I
 19          MR. PAGLIUCA: Objection to the            19   don't know how would you describe it really,
 20      form and foundation.                          20   I don't know how would you describe it. Not
 21      A. What sort of puppet are you asking         21   a puppet, I don't know how you would describe
 22   me?                                              22   it. A caricature of                that was
 23      Q. Any kind of puppet?                        23   in Jeffrey's home.
 24      A. You need to be more descriptive. I         24       Q. Did you use that caricature to put
 25   don't know what you mean by puppet, there is     25   the hand of the caricature on




                                                                     73 (Pages 286 to 289)
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                                         Page 290                                                   Page 292
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2             breast?                                   2   recollect this caricature, you recollect
  3          MR. PAGLIUCA: Objection to the               3                     being there. Do you recollect
  4      form and foundation.                             4   a party going on at the time of that
  5      A. I don't recollect. I recollect the            5   interaction with                   and the
  6   puppet but I don't recollect anything around        6   caricature?
  7   the puppet. You characterized puppet, I             7           MR. PAGLIUCA: Objection to the
  8   characterize it as, I don't know, as a              8      form and foundation.
  9   characterization of                                 9      A. I don't recollect a party -- first
 10      Q. Do you recollect asking Virginia             10   of all, they weren't really parties -- I
 11   Roberts to sit on                   lap with       11   don't recollect a party -- I don't know what
 12   the caricature of                 ?                12   you mean by party in the context of that
 13      A. I do not recollect that.                     13   scenario.
 14      Q. What do you remember about the               14      Q. Who do you recollect being at the
 15   caricature of the                  caricature      15   home during the time                     was there
 16   when you were in the presence of                   16   with this caricature?
 17             Virginia Roberts and                   ? 17           MR. PAGLIUCA: Objection to the
 18          MR. PAGLIUCA: Objection to the              18      form and foundation.
 19      form and foundation.                            19      A. I only recollect myself with
 20      A. I don't recollect the story as told          20              I don't recollect anybody else.
 21   by           or Virginia. I don't even know        21      Q. You don't recollect Jeffrey Epstein
 22   who -- I remember the caricature of                22   being there?
 23            and I remember                    but I   23      A. Actually, no.
 24   don't recall anything else around the              24      Q. You don't recollect
 25   caricature.                                        25   being there?
                                         Page 291                                                   Page 293
  1        G Maxwell - Confidential                     1          G Maxwell - Confidential
  2       Q. Did you give it to him?                    2         A. No.
  3       A. I did not.                                 3         Q. You don't recollect Virginia
  4       Q. Who gave it to him?                        4     Roberts being there?
  5       A. I don't think it was given to him          5         A. No.
  6   at all.                                           6         Q. It was just you and                   ?
  7       Q. Did he bring it?                           7         A. I am not saying it was just me and
  8       A. No.                                        8                     , you are asking me do you
  9       Q. Was it something that was at the           9     remember. I only remember                      ,I
 10   house?                                           10     remember                     and the caricature but
 11       A. As best I recollect.                      11     I can't place the caricature and everybody
 12       Q. Was it something that you saw at          12     else in the same context, the same timeframe
 13   the house in advance of                          13     you are asking me.
 14   arrival?                                         14         Q.
 15       A. Again, I don't real -- I recollect
 16   the caricature, I recollect               ,I
 17   don't recollect much else around the
 18   caricature.
 19       Q. Was there a party going on in the
 20   house at the time you recollect the
 21   caricature?
 22           MR. PAGLIUCA: Objection to the
 23       form and foundation.
 24       A. You have to be way more specific?         24           MR. PAGLIUCA: Objection to the
 25       Q. Do you remember, you said you             25        form and foundation.




                                                                        74 (Pages 290 to 293)
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                                         Page 294                                          Page 296
  1        G Maxwell - Confidential                  1          G Maxwell - Confidential
  2      A. Typically, there is no typical           2    all -- sometime last year.
  3   because there is no standard procedure, so I   3        Q. So you haven't talked to him like,
  4   can't comment or testify to what               4    for example, last week you didn't talk to
  5                                                  5    him?
  6      Q. Do you remember them being in the        6        A. I did not.
  7   house?                                         7        Q. How many times have you had either
  8      A. Not specifically.                        8    direct or indirect, meaning, in the presence
  9          Do you mind if I take a bathroom        9    of him or calling or emailing, contact with
 10   break.                                        10    Jeffrey Epstein from December 30, 2014 until
 11          THE VIDEOGRAPHER: It's now 3:51 11           now?
 12      and we are off the record.                 12        A. I'm sorry, can you just --
 13          (Recess.)                              13        Q. Either in person or by phone or by
 14          THE VIDEOGRAPHER: It's now 4:04. 14          email, from December 30, 2014 until present.
 15      We are back on the record and we're        15        A. I can't really characterize that
 16      starting disk No. 7.                       16    but not very much. There was a period when
 17      Q. Ms. Maxwell, during what time           17    in January when you filed your, whatever you
 18   period, I know you said, I believe you said   18    filed, where we spoke and then, since then
 19   you met Jeffrey in 1991, if I'm correct there 19    not much at all.
 20   and you've known him through the present.     20        Q. Can you estimate how many emails
 21          During what time period within         21    you would have sent Jeffrey from the period
 22   those years would you say your relationship   22    of December 30, 2014 to the present?
 23   was the closest with Jeffrey?                 23        A. Not very many at all.
 24          MR. PAGLIUCA: Objection to the         24        Q. More than 20?
 25      form and foundation.                       25        A. I really wouldn't be able to
                                         Page 295                                          Page 297
  1        G Maxwell - Confidential                   1       G Maxwell - Confidential
  2      A. What do you mean by close, sorry.         2   characterize it because it wouldn't be that
  3      Q. I think earlier today you testified       3   many. I wouldn't know.
  4   that at some point in time you considered       4      Q. More than 50?
  5   yourself to be his girlfriend, is that the      5      A. It would be on the lesser side, not
  6   closest you would say that your relationship    6   on the more side.
  7   was with him and if so, what time period was    7      Q. Can you give me a number?
  8   that?                                           8      A. I honestly couldn't. I would be
  9          MR. PAGLIUCA: Objection to the           9   guessing.
 10      form and foundation.                        10      Q. How many emails has Jeffrey sent
 11      A. I don't think I said I was his           11   you from the period December 30, 2014 to the
 12   girlfriend, I would like to think of myself    12   present?
 13   as maybe, I don't think I -- sometime in the   13      A. I would say less emails, even less
 14   mid '90s.                                      14   emails than I sent him.
 15      Q. How close was your relationship?         15      Q. More than 20?
 16      A. We were very friendly.                   16      A. I would say on the lesser side.
 17      Q. Without going into details, was          17      Q. Less meaning 10?
 18   your relationship with him intimate?           18      A. I really can't recall, very little.
 19      A. Yes.                                     19      Q. When you spoke with Jeffrey in
 20      Q. When was the last time you had           20   January of 2015, what did he say to you?
 21   contact with Jeffrey Epstein?                  21      A. I really couldn't remember exactly
 22      A. What do you mean by contact.             22   what he said to me.
 23      Q. Either a phone call or email or          23      Q. Did you talk about Virginia
 24   anything of that nature?                       24   Roberts?
 25      A. As best as I can recollect when          25      A. I'm sure we did but I couldn't




                                                                  75 (Pages 294 to 297)
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                                        Page 298                                             Page 300
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   recall the exact conversation.                   2   deny whether he had sex with Virginia
  3       Q. Does Jeffrey Epstein send you text        3   Roberts?
  4   messages?                                        4         MR. PAGLIUCA: Objection to the
  5       A. No.                                       5      form and foundation.
  6       Q. Do you send him text messages?            6      A. I can't say what Jeffrey would say.
  7       A. No.                                       7      Q. Has he discussed that with you?
  8       Q. How many phone calls have you had         8      A. He has not.
  9   with Jeffrey Epstein since December 30, 2014?    9      Q. Would Jeffrey be able to confirm or
 10       A. Again, very few.                         10   deny whether he had a sexual massage from
 11       Q. More than five?                          11   Virginia that first time she came to his
 12       A. Probably as many as the few emails       12   mansion in Palm Beach?
 13   that I would characterize, so just very few.    13         MR. PAGLIUCA: Objection to the
 14   I mean a small number.                          14      form and foundation.
 15       Q. Are you aware of any disagreement        15      A. I cannot speak for what he would
 16   between your views about Virginia Roberts and   16   say. I can only speak for what I would say.
 17   Jeffrey's views about Virginia Roberts?         17   So as I testified everything that she said
 18          MR. PAGLIUCA: Object to the form         18   about that first meeting didn't happen so...
 19       and foundation                              19      Q. Has he told that you everything
 20       A. I cannot speculate to his views. I       20   about that first meeting didn't happen?
 21   can only testify on my views.                   21      A. I know it didn't happen because she
 22       Q. Earlier you went through the series      22   put me in that room.
 23   of lies. Have you talked to Jeffrey about       23      Q. I understand you know. But has
 24   the lies and does he agree with you?            24   Jeffrey said when you are talking about the
 25       A. I have discussed some of the issues      25   obvious lies, oh yeah, that never happened?
                                        Page 299                                             Page 301
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   with him, I can't remember specifically which    2          MR. PAGLIUCA: Objection to the
  3   ones. I just don't recall. I'm sorry.            3       form and foundation.
  4      Q. Do you recall him telling you that         4       A. I can't specifically recall that.
  5   he didn't agree with you on any of those?        5   I don't know, but he has to agree with me
  6      A. I don't recall him saying that.            6   because it didn't happen.
  7      Q. Do you have a joint defense                7       Q. Can Jeffrey Epstein, would he be
  8   agreement with                   ?               8   able to confirm or deny whether he had sex
  9      A. I believe I do.                            9   with underage girls?
 10      Q. Do you have a joint defense               10          MR. PAGLIUCA: Objection to the
 11   agreement with Alan Dershowitz?                 11       form and foundation.
 12      A. I don't believe I do.                     12       A. I can't testify to what Jeffrey
 13      Q. Earlier today in your testimony,          13   would say.
 14   when I was asking you some questions, you       14       Q. Can Jeffrey confirm or deny whether
 15   said that you couldn't answer but that          15                was on Jeffrey's island?
 16   Jeffrey Epstein could answer that question.     16          MR. PAGLIUCA: Objection to the
 17          Would Jeffrey Epstein be in a            17       form and foundation.
 18   position to confirm or deny some of the         18       A. I can't say what Jeffrey would say.
 19   obvious lies that we've discussed today?        19   I can only say what I know to be true.
 20          MR. PAGLIUCA: Objection to the           20       Q. Has Jeffrey talked to you about the
 21      form and foundation.                         21   fact whether               was on his island?
 22      A. I can't possibly testify to what          22       A. As best as I can recollect, he said
 23   Jeffrey could or would say. I can't speak       23   he was not on the island. As best as I can
 24   for him.                                        24   recollect.
 25      Q. Would Jeffrey be able to confirm or       25       Q. Can Jeffrey Epstein confirm whether




                                                                    76 (Pages 298 to 301)
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                                         Page 302                                               Page 304
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   he and Virginia Roberts were together in the       2   Dubin a massage?
  3   presence of                  ?                     3         MR. PAGLIUCA: Objection to the
  4          MR. PAGLIUCA: Objection to the              4      form and foundation.
  5      form and foundation.                            5      A. I didn't know that she did say
  6      A. I can't speak to what Jeffrey would          6   that.
  7   say.                                               7      Q. Do you know whether Jeffrey Epstein
  8      Q. Has he talked to about Virginia              8   has ever sent anybody to Glenn Dubin to
  9   Roberts' statement that she was in the             9   perform a massage for him?
 10   presence of                  ?                    10         MR. PAGLIUCA: Objection to the
 11          MR. PAGLIUCA: Objection to the             11      form and foundation.
 12      form and foundation.                           12      A. I couldn't possibly recollect
 13      A. I have not discussed individual             13   whether he did anything like that.
 14   presences with Virginia. That's not -- I'm        14      Q. Did you ever send anybody, not
 15   only concerned with what I know to be the         15   Virginia, anybody else over to Glenn Dubin's
 16   stuff about me. So my focus has always been       16   home for a massage?
 17   the lies and the obvious lies as something I      17      A. Not to the best of my knowledge.
 18   can personally attest to. I cannot possibly       18      Q. Do you know one of
 19   talk for anything else.                           19           friend by the name of
 20      Q. Has Jeffrey Epstein said to you             20
 21   anything along the lines of Virginia is lying     21     A. I do recollect a person of that
 22   when she says she met                   ?         22   name.
 23          MR. PAGLIUCA: Objection to the             23     Q. How do you know her?
 24      form and foundation.                           24     A. I don't recollect.
 25      A. Again, I'm not talking about what           25     Q. Did you meet her through Jeffrey?
                                         Page 303                                               Page 305
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   she says as regards to other people. I can         2       A. I don't recollect.
  3   talk to things as regards to me.                   3       Q. Do you recall when you met her?
  4       Q. I'm asking if Jeffrey ever said             4       A. I do not recollect.
  5   that to you?                                       5       Q. How many times have you seen
  6       A. I don't recollect specific                  6               in your life?
  7   conversations along those things.                  7       A. The only reason I remember is
  8       Q. You don't recollect him saying that         8   because it's an unusual name but I couldn't
  9   to you?                                            9   tell you anything else.
 10       A. I don't recollect him saying to me         10       Q. You didn't see her on a regular
 11   that Virginia didn't meet                 . I'm   11   basis, she wasn't one of your friends?
 12   sure that wouldn't be a conversation that we      12       A. No.
 13   would have. It doesn't effect me whether --       13       Q. Was                       a masseuse?
 14   so I'm really only concerned about the lies       14       A. Not to my knowledge.
 15   that were told as regards to me.                  15       Q. Do you have knowledge of whether
 16       Q. Can Jeffrey Epstein confirm or deny        16   she had a sexual relationship with Jeffrey
 17   whether you sent Virginia to give Glenn Dubin     17   Epstein?
 18   a massage?                                        18       A. I have no knowledge of that.
 19          MR. PAGLIUCA: Objection to the             19       Q. When was the last time you spoke
 20       form and foundation.                          20   with her?
 21       A. I can't say what Jeffrey would say,        21       A. A very long -- I have no idea.
 22   I can tell you I didn't. I can't tell you         22       Q. Would it be years?
 23   what anybody else.                                23       A. Yes.
 24       Q. Have you discussed with him                24       Q. What do you remember about
 25   Virginia's allegation that she gave Glenn         25




                                                                      77 (Pages 302 to 305)
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                                        Page 306                                              Page 308
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       A. Nothing really.                           2   massages from her.
  3       Q. Do you remember what she looks            3      Q. Did you ever have any sexual
  4   like?                                            4   interaction with her?
  5       A. I would just be speculating on how        5          MR. PAGLIUCA: Object to the form
  6   I remember. I couldn't describe her.             6      and foundation and I'm going to instruct
  7       Q. Do you recall traveling with her?         7      you if we're talking about any
  8       A. I don't.                                  8      consensual adult contact, you are not
  9       Q. Did you ever go to her home?              9      allowed to answer the question.
 10       A. I don't believe I did.                   10      Q. Did you have any sexual contact
 11       Q. Do you know where she lives?             11   with her in the presence of Jeffrey Epstein?
 12       A. I don't.                                 12          MR. PAGLIUCA: Same instruction.
 13       Q. Would you have met her through           13      Q. Did you have any sexual contact
 14   Jeffrey Epstein?                                14   with her in the presence of anybody other
 15          MR. PAGLIUCA: Objection to the           15   than Jeffrey Epstein?
 16       form and foundation.                        16          MR. PAGLIUCA: Same instruction.
 17       A. I already testified I don't              17      Q. How many massages did you receive
 18   recollect how I met her and I remember her      18   from
 19   because her name is very unusual.               19      A. I really don't recall but a fair
 20       Q. So what's your -- what recollection      20   amount.
 21   do you have of her, do you have a specific      21      Q. Did the massages involve sex?
 22   recollection of meeting her somewhere, you      22          MR. PAGLIUCA: I'm going to
 23   just don't know when that was or how do you     23      instruct you not to answer.
 24   know that name                     ?            24      Q. Have you ever engaged in sex with
 25          MR. PAGLIUCA: Objection to the           25   any female?
                                        Page 307                                              Page 309
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       form and foundation.                         2           MR. PAGLIUCA: I'm going to
  3       A. I don't know why the name is -- I'm       3       instruct you not to answer.
  4   sorry -- I can't -- I have no idea. I            4           MS. McCAWLEY: I want the record to
  5   recognize the name but that's it.                5       reflect that Ms. Maxwell's attorney is
  6       Q. Was                       a masseuse?     6       directing her not to answer this series
  7          MR. PAGLIUCA: Objection to the            7       of questions.
  8       form and foundation.                         8           MR. PAGLIUCA: It definitely does.
  9       A. What are you asking me, I'm sorry?        9       Q. Were you responsible for
 10       Q. When                        worked for   10   introducing           to Jeffrey Epstein?
 11   Jeffrey Epstein, did she perform massages?      11           MR. PAGLIUCA: Objection to the
 12       A. I've testified that when                 12       form and foundation.
 13   came originally, she came to answer             13       A. I already testified that I don't
 14   telephones. I believe at some point she         14   really recall
 15   became a masseuse. I don't recollect when       15       Q. Were you responsible for
 16   and I personally had massages from              16   introducing            to Jeffrey Epstein?
 17       Q. What did              do for Jeffrey     17           MR. PAGLIUCA: Objection to the
 18   Epstein, did she perform massages, anything     18       form and foundation.
 19   else?                                           19       A. Again, I don't like the
 20          MR. PAGLIUCA: Objection to the           20   characterization of introduction.
 21       form and foundation.                        21   came to answer telephones.
 22       A. When she came she answered phones        22       Q. When did you -- were you the person
 23   and at some point, I believe, I don't have      23   who brought or introduced or met            for
 24   any firm recollection, but I believe she went   24   purposes of bringing her to Jeffrey Epstein's
 25   to school and became a masseuse and I had       25   home?




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                                          Page 310                                               Page 312
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the               2      Q. Would you visit more than one
  3       form and foundation.                            3   university to try to find individuals to work
  4       A. That's not how I would characterize          4   for Jeffrey Epstein?
  5   that.                                               5      A. As I recollect, I think that's, in
  6       Q. How would you characterize it?               6   fact, the only university I went to.
  7       A. I have testified that I'm                    7      Q. Did you go there more than once?
  8   responsible for finding professional people         8      A. I think I went twice.
  9   to work in the homes, age appropriate adult         9      Q. Who else did you find from that
 10   people, so from pool attendants, to                10   university, was there anybody other than
 11   gardeners, to chefs, to housekeepers, to           11
 12   butlers, to chauffeurs and one of the              12      A. I don't recollect, I'm sorry.
 13   functions was to be able to answer the             13      Q. We are going to mark this as
 14   telephones and in the context of finding           14   Maxwell 13?
 15   someone to answer the telephones, I did look       15          (Maxwell Exhibit 13, documents,
 16   to try to find appropriate people to answer        16      marked for identification.)
 17   the phones.                                        17      Q. Can you take a look at the document
 18       Q. So did you find Johanna for                 18   I put in front of you, please.
 19   purposes of that role?                             19          Are you familiar with this
 20       A. So in the course of looking for             20   document?
 21   somebody to answer phones at the house,            21      A. I'm familiar with this actual
 22   Johanna was one of the people who said that        22   document.
 23   she was willing to answer phones.                  23      Q. How was this document created?
 24       Q. Did you approach her at her school          24          MR. PAGLIUCA: Objection to the
 25   campus?                                            25      form and foundation.
                                          Page 311                                               Page 313
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to form              2       A. I don't know how this document was
  3      and foundation.                                  3   created.
  4      A. I honestly don't recall how, in               4       Q. You were involved in the creation
  5   that moment, how I met             and how she      5   of this document?
  6   came to get the job but...                          6       A. I think you can see from the date
  7      Q. Did you typically, in your work for           7   that it's 2004, 2005, so no.
  8   Jeffrey Epstein, would you typically go to          8       Q. You weren't involved in the
  9   school campuses to try to find individuals to       9   creation of this document.
 10   work for Jeffrey Epstein?                          10           Did you -- we talked earlier about
 11          MR. PAGLIUCA: Objection to the              11   Mr. Epstein's house, I'm talking about the
 12      form and foundation.                            12   Palm Beach house where you said there was a
 13      A. I never -- what do you mean by               13   computer on the desk, that employees had
 14   school? Let's characterize school.                 14   access to -- people who worked for Jeffrey
 15      Q. Any kind of school.                          15   Epstein may have had access to?
 16      A. Obviously not. I never went to any           16       A. I think anybody could have had
 17   school with young people.              I believe   17   access to that.
 18   came from an adult university, as I would          18       Q. Was that computer used, if you know
 19   know in England, so university, I went there       19   to keep a log of addresses and phone contact
 20   but I never went, as I best recollect,             20   information for Jeffrey Epstein?
 21   anywhere else.                                     21       A. Are we talking about when this
 22      Q. Did you -- what university was it            22   document was created.
 23   that you went to?                                  23       Q. In general, was there, on that
 24      A. I don't recall the university that           24   computer during the time that you were
 25   she went to right now.                             25   present with Jeffrey Epstein, was there a




                                                                       79 (Pages 310 to 313)
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                                        Page 314                                            Page 316
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   mechanism by which you kept electronic           2       form and foundation.
  3   information of names and addresses of            3       Q. Was there a hard copy book as well
  4   individuals that he knew?                        4   as something on the computer or was there
  5          MR. PAGLIUCA: Objection to the            5   only electronic information on the phone
  6      form and foundation.                          6   numbers?
  7      A. I can't testify to what was on that        7          MR. PAGLIUCA: Objection to the
  8   computer or not after I was gone.                8       form and foundation.
  9      Q. Not when you were gone, when you           9       A. I can only testify to what I know
 10   were there. If Jeffrey wanted to call, for      10   obviously, and I believe that this is a copy
 11   example, say              , would someone be    11   of a stolen document. I would love to know
 12   able to go to that computer to pull up the      12   how you guys got it.
 13   address information and phone contact           13       Q. I'm asking during the time you
 14   information for that individual?                14   worked for Jeffrey Epstein, was there a
 15          MR. PAGLIUCA: Objection to the           15   hardcopy document of any kind that kept phone
 16      form and foundation.                         16   numbers for Jeffrey Epstein, if he needed to
 17      A. I couldn't possibly say.                  17   contact someone?
 18      Q. Did you ever have to keep track of        18       A. The stolen document I have in front
 19   address or phone contact information for        19   of me that you have is what you are referring
 20   Jeffrey Epstein?                                20   to.
 21      A. That was not my job.                      21       Q. So there was, during your time when
 22      Q. Did you ever do it?                       22   you were there, there was no other, you
 23      A. I am not responsible for keeping          23   mentioned there was information on a
 24   his numbers so that wasn't my job at all.       24   computer. Was there any hardcopy document
 25      Q. But did you ever do it? I know            25   that you could refer to to find someone's
                                        Page 315                                            Page 317
  1         G Maxwell - Confidential                   1         G Maxwell - Confidential
  2   it's not your job but did you ever do it, did    2   number?
  3   you ever keep phone contact information for      3       A. You have the stolen document in
  4   him?                                             4   front of you.
  5       A. During the course of the time we          5       Q. You had access to this when you
  6   were together, if he gave me a telephone         6   worked for Jeffrey Epstein?
  7   number, I would give it to an assistant to       7       A. This is, I believe, the book that
  8   put in the computer, I could do that.            8   was stolen, that was the hardcopy of whatever
  9       Q. Would he ask you for contact              9   was there.
 10   information for different individuals, if he    10       Q. So when you were working for
 11   wanted to contact someone?                      11   Jeffrey Epstein, you were able to access this
 12          MR. PAGLIUCA: Objection to the           12   book?
 13       form and foundation.                        13       A. This book -- if this is what this
 14       A. In the course of the long period of      14   is, I believe it was, this is the stolen
 15   time when I was there, it certainly would be    15   document from his house.
 16   possible for him to ask me for a telephone      16       Q. And you were able to access it when
 17   number and if I had the -- I wouldn't always    17   you worked for him?
 18   have it -- I'm sure it happened.                18       A. It was a document that was printed
 19       Q. Was there a hardcopy book in             19   that you could, if you needed to, look for a
 20   addition to the computer, a hardcopy book       20   number.
 21   that you could look for numbers that were       21       Q. Do you know how this book was
 22   relevant to Jeffrey Epstein's life and          22   created?
 23   something on the computer or was it just an     23       A. No.
 24   electronic version?                             24       Q. When you referred to it a moment
 25          MR. PAGLIUCA: Objection to the           25   ago, to a stolen document, when




                                                                    80 (Pages 314 to 317)
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                                        Page 318                                             Page 320
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2               turned this document over to the     2   2004, 2005, so, no.
  3   FBI, are you aware he described it as a          3      Q. But I'm sorry, correct me if I'm
  4   document that came from your computer?           4   misunderstanding your testimony, I thought
  5          MR. PAGLIUCA: Objection to the            5   you said when you were working with Jeffrey,
  6      form and foundation.                          6   that this document existed and it was
  7      A. I have no idea what he said or             7   something you utilized?
  8   didn't say, so if you want me to reference       8      A. I can't possibly tell you what
  9   something he said, you need to show it to me.    9   numbers were added or not added subsequent to
 10      Q. Did you keep this document, an            10   my departure.
 11   electronic copy of it, on your personal         11      Q. So you can't recall if you added
 12   computer?                                       12   any of these numbers?
 13      A. I don't recollect.                        13          MR. PAGLIUCA: Objection to the
 14      Q. If you had to update something, for       14      form and foundation, mischaracterizes
 15   example, if there was a new number, a new       15      the witness' testimony.
 16   individual that Jeffrey had hired that you      16      Q. Are there any numbers on here or
 17   were going to track, would you input that       17   names that you recognize that you would have
 18   information into this document on your          18   entered into this section?
 19   computer?                                       19      A. I already testified that I'm not
 20          MR. PAGLIUCA: Objection to the           20   responsible for inputting numbers and names
 21      form and foundation.                         21   into this so I would not be able to tell you.
 22      A. I've already testified that I'm not       22      Q. Are there any names or numbers
 23   responsible for updating and keeping these      23   under this section, Massage Florida, that you
 24   records.                                        24   would have provided to an assistant to input
 25      Q. Did you have this document on your        25   into this document?
                                        Page 319                                             Page 321
  1       G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   computer, your personal computer?                2      A. I can't possibly say.
  3      A. I told you, I don't recollect              3      Q. Do you see under Massage Florida,
  4   having this document on my computer.             4   about halfway down the first column, do you
  5      Q. Do you know what computers this            5   see a number that says             cell?
  6   document was on, if more than one?               6          MR. PAGLIUCA: What page?
  7      A. I'm sorry, this is a long time ago         7      Q. It's 91, Bates number 001663.
  8   and I don't recall exactly how this was all      8   About halfway down, it says in the first
  9   managed.                                         9   column, it says              cell.
 10      Q. If you didn't create this document,       10          Do you see that?
 11   do you know who did?                            11      A. I do.
 12          MR. PAGLIUCA: Objection to the           12      Q. Would you have provided after, I
 13      form and foundation.                         13   know you didn't hire her, Jeffrey hired her
 14      A. I don't.                                  14   but after you brought her to Jeffrey, would
 15      Q. I'm going to direct your attention        15   you have given her cell phone number to an
 16   to part of this document. It's towards the      16   assistant to input into this document?
 17   back, it's going to be page 91 and it has       17          MR. PAGLIUCA: Objection to form
 18   bates label Giuffre 001663. I'm going to        18      and foundation.
 19   direct your attention to the section that       19      A. I didn't bring her to Jeffrey, the
 20   says, Massage Florida.                          20   way you characterize and I would have no
 21          Did you input any of the names or        21   knowledge of how this number ended up in this
 22   numbers under that section?                     22   book.
 23          MR. PAGLIUCA: Objection to form          23      Q. I believe you, and I will try to
 24      and foundation.                              24   use your words so we are clear, you met
 25      A. So this document is produced in           25             is that correct?




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                                        Page 322                                              Page 324
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      A. Yes.                                        2   number of masseuses listed under the Florida
  3      Q. And then she began working for              3   massage section?
  4   Jeffrey?                                          4       A. When I was there, I would have, of
  5      A. Yes.                                        5   course there would have been some masseuses
  6      Q. Would you have provided whomever            6   listed but I could not tell you who or how
  7   was in charge of keeping this updated with        7   many and this -- I could not possibly because
  8              cell number so you would be able to    8   I wouldn't remember.
  9   contact her if needed?                            9       Q. Do you know why Jeffrey would have
 10          MR. PAGLIUCA: Objection to the            10   had so many names listed under his massage
 11      form and foundation.                          11   Florida?
 12      A. I don't know. It could have been a         12          MR. PAGLIUCA: Objection to form
 13   number of different ways, it it could have       13       and foundation.
 14   been Jeffrey who gave it to somebody.            14       A. I can't testify to why Jeffrey has
 15      Q. You just don't remember doing that?        15   so many.
 16      A. I do not.                                  16       Q. Did he use a different masseuse
 17      Q. Now, as you look -- I want you to          17   every day?
 18   take a look at the Florida massage list, it's    18          MR. PAGLIUCA: Objection to the
 19   three columns there.                             19       form and foundation.
 20          Do you, as you look at those names        20       Q. You can answer.
 21   on the various columns, do you know the ages     21       A. When I was there he had a massage
 22   of any of the girls in this list?                22   roughly every day, one masseuse, and mostly
 23      A. I don't know. One, I don't know            23   he would have them at random times, so it
 24   who all the people are on this list and I        24   would be difficult if you just only had one
 25   certainly don't know the ages.                   25   person, man, woman, for an adult massage, to
                                        Page 323                                              Page 325
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      Q. Do you know what their                      2   come and be available for whatever time it
  3   qualifications are?                               3   was. So he would have more than one person
  4      A. I don't know who the people are in          4   that he could call for a massage because at
  5   general so of course I don't know what their      5   any given time the one that he called first
  6   qualifications are.                               6   may not have been available.
  7      Q. Do you know why Jeffrey has so many         7       Q. So would it typically be a
  8   masseuses listed in Florida in his book here?     8   different person each day that would give him
  9          MR. PAGLIUCA: Objection to the             9   a massage?
 10      form and foundation.                          10          MR. PAGLIUCA: Objection to the
 11      A. Again, this book was created post          11       form and foundation.
 12   my departure, so I couldn't explain why all      12       A. It would be, when I was there,
 13   these people were here.                          13   based on availability.
 14      Q. When you were there, you said this         14       Q. Would it surprise you to learn that
 15   book existed?                                    15   the Federal Government found that some of the
 16      A. Yes.                                       16   girls on this list under massage Florida were
 17      Q. So when you were there, were there         17   under the age of 18?
 18   a number of masseuses listed under the           18          MR. PAGLIUCA: Objection to the
 19   Florida massage?                                 19       form and foundation.
 20          MR. PAGLIUCA: Objection to the            20       A. I can't testify to what the
 21      form and foundation and                       21   government found or did not find because I
 22      mischaracterization of the witness'           22   would have no knowledge of it.
 23      testimony.                                    23       Q. I'm asking if you would be
 24      Q. I'm asking you a question.                 24   surprised by that?
 25          When you were there, were there a         25          MR. PAGLIUCA: Form and foundation.




                                                                     82 (Pages 322 to 325)
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                                        Page 326                                             Page 328
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      A. I have knowledge of it. I can't            2   around. I can't testify to that.
  3   speculate.                                       3      Q. Were you around in 2004, 2005?
  4      Q. On the second column, towards the          4      A. I already testified that I was
  5   bottom, there is the name, it's one up from      5   there when Jeffrey's mother passed away and
  6   the bottom, there is the name                 , 6    so you know, I did visit for her passing and
  7   do you know                                      7   I believe I was there for a couple of days in
  8      A. I do.                                      8   2005.
  9      Q. Who is she?                                9      Q. So if an employee of Mr. Epstein in
 10      A. She was a friend of Jeffrey's.            10   2004 said that you were the employee's direct
 11      Q. Is she a masseuse?                        11   supervisor, would that be incorrect?
 12      A. She, I don't think she was a              12          MR. PAGLIUCA: Objection to form
 13   masseuse, no.                                   13      and foundation.
 14      Q. Why would be she listed under             14      A. What employee, what's the
 15   Florida massages?                               15   circumstances and what is the story, I don't
 16      A. An input error.                           16   know what you are asking me.
 17      Q. Is this list any individual that          17      Q. If                        said in 2004
 18   would have sex with Jeffrey?                    18   when he was hired, you were his direct
 19         MR. PAGLIUCA: Objection to the            19   supervisor, would that be true?
 20      form and foundation.                         20      A. No.
 21      A. I wouldn't have any knowledge of          21      Q. Were you in 2004 supervising
 22   that.                                           22
 23      Q. Do you know if Jeffrey had sex with       23         MR. PAGLIUCA: Objection to form
 24                     ?                             24      and foundation.
 25         MR. PAGLIUCA: Object to the form          25      A. I never supervised         .
                                        Page 327                                             Page 329
  1        G Maxwell - Confidential                   1         G Maxwell - Confidential
  2       and foundation.                             2       Q. Did                  take orders from
  3       A. First of all, I wouldn't have any        3    you?
  4   knowledge of that.                              4           MR. PAGLIUCA: Objection to the
  5          MS. McCAWLEY: We are going to take       5       form and foundation.
  6      a quick break.                               6       A. She worked for Jeffrey.
  7          THE VIDEOGRAPHER: It's now 4:39          7       Q. If                       said you had
  8       and we are off the record.                  8    knowledge of underage girls coming to
  9          (Recess.)                                9    Jeffrey's home for the purpose of sex, would
 10          THE VIDEOGRAPHER: It's now 4:54         10    you contend that that is truthful?
 11       and we are as back on the record           11           MR. PAGLIUCA: Objection to the
 12       starting disk number 8.                    12       form and foundation of the question.
 13       Q. Ms. Maxwell, we were talking            13       A. I have no idea what you are talking
 14   earlier about the journal and I believe you    14    about, I'm sorry.
 15   said in 2004, 2005, you were no longer         15       Q. If                       said that you
 16   working and responsible for that journal, is   16    have knowledge of underage girls coming to
 17   that correct?                                  17    Jeffrey's home for the purpose of having
 18          MR. PAGLIUCA: Objection to the          18    massages involving sex, would you say that
 19       form and foundation.                       19    that statement is truthful?
 20       A. What are we referring to, this          20           MR. PAGLIUCA: Objection to the
 21   document right here?                           21       form and foundation.
 22       Q. Yes.                                    22       A. I can't testify to what
 23       A. I don't know who is the author of       23    said or didn't say.
 24   this or I can't tell you what is in here       24       Q. I'm saying if           said that you
 25   versus what would have been here when I was    25    had knowledge that there were girls coming




                                                                    83 (Pages 326 to 329)
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                                        Page 330                                              Page 332
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   over to the house that were underage for the      2   of this document being on it, so I don't know
  3   purposes of sex, would that statement be          3   where this came from.
  4   true?                                             4       Q. I understand the computer at the
  5          MR. PAGLIUCA: Objection to form            5   house that you're referencing. On a personal
  6       and foundation.                               6   computer of yours, did you have that
  7       A. I can't testify to what                    7   document?
  8   said or didn't say or what he thought.            8       A. I don't know where this document
  9       Q. Did you have knowledge of underage         9   came from, so I can't possibly say this
 10   girls coming to Jeffrey Epstein's house for      10   document was on any computer that I may have
 11   the purpose of sex?                              11   had access to.
 12       A. No.                                       12       Q. On a personal computer of your own,
 13       Q. Earlier I believe you testified,          13   did you have lists of the phone numbers and
 14   correct me if I'm wrong, that the document       14   contact information relating to Jeffrey
 15   that is in front of you, the thicker document    15   Epstein?
 16   was a stolen document.                           16       A. Like everybody, I have an address
 17          Do you know who stole that                17   book but I can't possibly testify to where
 18   document?                                        18   this thing came from.
 19       A. I have read that            stole the     19       Q. Was it your address book or was it
 20   document.                                        20   addresses that related to Jeffrey Epstein?
 21       Q. And where have you read that?             21          MR. PAGLIUCA: Objection to the
 22       A. I believe it was reported in the          22       form and foundation.
 23   press.                                           23       A. I don't know what you're asking me.
 24       Q. Earlier we were talking about the         24       Q. On your personal computer, the
 25   computers at Jeffrey Epstein's home. Did you     25   address book you are referencing, was it your
                                        Page 331                                              Page 333
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   have a computer that was your computer            2   address book with individuals you knew or was
  3   located in Jeffrey Epstein's home?                3   it an address book for your employer, Jeffrey
  4         MR. PAGLIUCA: Objection to form             4   Epstein?
  5      and foundation.                                5       A. Jeffrey has his situation and I
  6      A. I've testified to the computer              6   have no -- this is Jeffrey's, it came from
  7   already. Even when I was around, there was a      7   his home, so I can't testify to anything
  8   computer that people had access to.               8   about this in that period of time.
  9      Q. So is                        telling the    9       Q. So you didn't have on your computer
 10   truth when he says that he downloaded that       10   a list of contact information for individuals
 11   book from your computer?                         11   that was related to Jeffrey Epstein?
 12         MR. PAGLIUCA: Objection to the             12       A. I don't recall exactly what I had
 13      form and foundation.                          13   back in 2004 and 2005, so I can't say what I
 14      A. I couldn't possibly tell you what          14   had back then that relates to his addresses,
 15            did or didn't do or said or didn't      15   I can't recall.
 16   say.                                             16       Q. So is it possible that someone
 17      Q. Was it on your computer?                   17   could have downloaded from your personal
 18      A. I already testified I have no idea         18   computer a list of names and address that
 19   where this document came from.                   19   were affiliated with Jeffrey Epstein?
 20      Q. Did you have a list of names of            20           MR. PAGLIUCA: Objection to the
 21   individuals with contact information for         21       form and foundation.
 22   Jeffrey Epstein on your personal computer?       22       A. This didn't come from any computer
 23      A. Again, that wasn't my computer. I          23   of mine.
 24   already said that was a computer that lots of    24       Q. But is it possible that someone
 25   people would have, so I have no recollection     25   could have downloaded a list of names and




                                                                     84 (Pages 330 to 333)
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                                             Page 334                                               Page 336
  1         G Maxwell - Confidential                          1        G Maxwell - Confidential
  2   addresses affiliated with Jeffrey Epstein               2   reference to this case with any, anything you
  3   from your computer?                                     3   just mentioned, I never threatened anyone.
  4           MR. PAGLIUCA: Objection to the                  4      Q. Have you ever directed anyone to
  5       form and foundation.                                5   call any witnesses relevant to this case and
  6       A. I already said, I didn't have a                  6   threaten them not to testify?
  7   computer there, so I don't know where this              7          MR. PAGLIUCA: Objection to the
  8   came from, I have no idea.                              8      form and foundation.
  9       Q. I'm going to read to you some                    9      A. I never done such a thing.
 10   testimony from                            deposition   10      Q. Did Jeffrey Epstein or you ever ask
 11   and it's on page 370 and I want to ask you a           11   any female, regardless of age, to carry
 12   question about it, if it's true or false?              12   Jeffrey's baby for him?
 13           MR. PAGLIUCA: I'm going to object              13          MR. PAGLIUCA: Objection to the
 14       unless you show the witness the                    14      form and foundation.
 15       document.                                          15      Q. Or anything along those lines?
 16           MS. McCAWLEY: I will pass it. We               16          MR. PAGLIUCA: Objection to the
 17       are not going to mark it. We will skip             17      form and foundation.
 18       it.                                                18      A. Can you repeat the question,
 19       Q. Did you ever tell                               19   please?
 20   that he better watch out and better keep his           20      Q. Did you or Jeffrey Epstein ever ask
 21   mouth shut with respect to what occurred at            21   any female, regardless of age, to carry
 22   Mr. Epstein's home?                                    22   Jeffrey Epstein's baby for him?
 23           MR. PAGLIUCA: Objection to the                 23          MR. PAGLIUCA: Objection to the
 24       form and foundation.                               24      form and foundation.
 25       A. It doesn't sound like anything I                25      A. Are you asking --
                                             Page 335                                               Page 337
  1        G Maxwell - Confidential                           1        G Maxwell - Confidential
  2   would say.                                              2      Q. To become pregnant, did you or
  3       Q. Did you ever threaten                            3   Jeffrey Epstein ever ask any female to become
  4               in any way if he were to disclose           4   pregnant and carry Jeffrey Epstein's baby for
  5   information he learned from his employment              5   you or for Jeffrey?
  6   with Jeffrey Epstein?                                   6          MR. PAGLIUCA: Objection to form
  7          MR. PAGLIUCA: Objection to the                   7      and foundation.
  8       form and foundation.                                8      A. You need to be very specific. I
  9       A. I'm happy to answer. No, I never                 9   have no idea what you are talking about.
 10   threatened him in any way.                             10   That's completely rubbish.
 11       Q. Were you concerned that he was                  11      Q. Did you or Jeffrey Epstein ask any
 12   going to disclose that Jeffrey Epstein was             12   female to become pregnant and carry his baby
 13   trafficking underage girls?                            13   for either him or you?
 14          MR. PAGLIUCA: Objection to the                  14          MR. PAGLIUCA: Objection to the
 15       form and foundation.                               15      form and foundation. Go ahead.
 16       A. First of all, there are so many                 16      A. I can't testify to anything Jeffrey
 17   things wrong with that question, but I have            17   did or didn't do when I am not present, but I
 18   no knowledge of what you are talking about.            18   have never asked anybody to carry a baby for
 19       Q. Have you ever contacted or                      19   me.
 20   instructed anyone to contact any witness in            20      Q. Or anything along those lines?
 21   this case for the purposes of threatening              21          MR. PAGLIUCA: Object to the form
 22   them not to testify in this case?                      22      and foundation.
 23          MR. PAGLIUCA: Objection to the                  23      Q. I want to make sure we are talking
 24       form and foundation.                               24   about the same thing, not physically carry a
 25       A. I have never called anybody with                25   baby, I mean become pregnant with a baby?




                                                                           85 (Pages 334 to 337)
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                                        Page 338                                             Page 340
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          MR. PAGLIUCA: Objection to the            2      Q. Did you pay that loan back?
  3      form and foundation.                          3      A. I don't have any outstanding loans
  4       Q. I want to make sure we are clear.         4   with him.
  5       A. I don't know what you are asking.         5      Q. So you paid it back?
  6       Q. That's why I want to make sure we         6      A. I don't have any outstanding loans
  7   are clear.                                       7   with him.
  8       A. We are clear. I never asked               8      Q. That's not an answer to my
  9   anybody to carry a baby for me.                  9   question.
 10       Q. Do you know if Jeffrey ever asked        10         Did you pay back Jeffrey for the
 11   anybody to carry a baby for him?                11   loans?
 12       A. I'm not going to characterize any        12      A. I have paid back any loans I had
 13   conversation Jeffrey had with somebody else.    13   with him.
 14       Q. You are not aware of that, is that       14      Q. You have or haven't?
 15   your testimony?                                 15      A. Have.
 16       A. I am testifying I never have and I       16      Q. Were there any other gifts that
 17   will not testify for anything for Jeffrey.      17   Jeffrey gave you during the time period of
 18       Q. Did you ever hear Jeffrey ask            18   say 1999 to the present that were in excess
 19   anybody to carry a baby for him?                19   of $50,000?
 20       A. I don't recollect conversation           20         MR. PAGLIUCA: Objection to the
 21   about Jeffrey and babies in any form.           21      form and foundation.
 22       Q. Did Jeffrey ever tell he wanted to       22      A. What's the question again?
 23   have a baby?                                    23      Q. Did Jeffrey give you any gifts in
 24       A. I don't recollect baby                   24   excess of amounts of $50,000, I'm not talking
 25   conversations with Jeffrey.                     25   about a scarf here or something
                                        Page 339                                             Page 341
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. So he never told you he wanted to          2   insignificant, from 1999 to the present?
  3   have a baby?                                     3      A. I can't recollect any gifts.
  4      A. I don't recollect any baby                 4      Q. Did he ever buy you a car?
  5   conversations with him saying he wanted to       5      A. I really don't recall, I can't
  6   have a baby.                                     6   recall, it's a long time ago.
  7      Q. Did you ever bring any females to          7      Q. You can't recall if Jeffrey Epstein
  8   the Dubin's house that were not your friends'    8   ever bought you a car?
  9   children that were under the age of 18?          9      A. I believe he did buy me a car, I
 10          MR. PAGLIUCA: Objection to form          10   don't recall how much it cost. I don't
 11      and foundation.                              11   recall any of the financial details of that.
 12      A. I have never, to my knowledge,            12      Q. Do you still have that car?
 13   brought anybody under the age of 18 that's      13      A. I don't.
 14   not a friend of my family or my nieces or       14      Q. How long ago did you get rid of
 15   nephews to the Dubin household.                 15   that car?
 16      Q. Earlier today you testified, I            16      A. I don't recall all the cars. There
 17   believe, that with respect to your town home    17   was a car back -- there was -- I don't
 18   Jeffrey paid for some of that and then gave     18   recall, I'm sorry.
 19   you a loan, is that correct?                    19      Q. He supplied you with several cars?
 20          MR. PAGLIUCA: Objection to the           20          MR. PAGLIUCA: Object to the form
 21      form and foundation.                         21      and the mischaracterization of the
 22      A. I said, actually I think it was a         22      testimony.
 23   loan, I believe it was a loan.                  23      A. I don't recall details of the cars.
 24      Q. The whole thing?                          24      Q. Did he supply with you more than
 25      A. As best as I can recollect.               25   one car?




                                                                    86 (Pages 338 to 341)
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                                        Page 342                                               Page 344
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      A. Over the course of time, I've              2      A. No.
  3   driven many cars.                                3      Q. Are you aware of any grand theft
  4      Q. That Jeffrey provided to you?              4   police report relating to Virginia Roberts?
  5      A. They were cars that could be driven        5      A. I believe I've read a report in the
  6   and I just don't recall them.                    6   press on that.
  7      Q. Were they in your name?                    7      Q. Did you provide the press with a
  8      A. I don't recall.                            8   report on a grand theft by Virginia Roberts?
  9      Q. You don't recall if Jeffrey Epstein        9      A. I don't know how the press got that
 10   ever put a car in your name?                    10   story.
 11      A. We are talking a long time ago, I         11      Q. Do you know if Virginia Roberts
 12   really don't recall.                            12   committed a grand theft?
 13      Q. When is the last time you had a car       13      A. I only know what I read in the
 14   from Jeffrey Epstein that you used?             14   press.
 15      A. 2000, 2001, 2002.                         15      Q. Did you ever state to the press
 16      Q. Do you recall what kind of a car          16   that Virginia Roberts committed a grand
 17   that was?                                       17   theft?
 18      A. I don't recall, I'm sorry.                18      A. I've never had any conversation
 19      Q. Did Jeffrey Epstein purchase              19   directly with press.
 20   anything else for you besides the townhouse     20      Q. Did any of your representatives
 21   and cars that would be over the amount of       21   ever inform the press that Virginia Roberts
 22   $50,000?                                        22   committed a grand theft?
 23      A. I didn't say that he did, I said I        23          MR. PAGLIUCA: Objection to the
 24   had a loan.                                     24      form and foundation.
 25      Q. Besides the loan, I'm sorry, you          25      A. I have no way of knowing what my
                                        Page 343                                               Page 345
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   are right, you did say you had a loan and you    2   representatives said to press or didn't.
  3   said you paid that back, correct?                3       Q. Did they ever discuss with you the
  4       A. That's my testimony.                      4   fact that they were going to report that
  5       Q. Anything else in excess of $50,000        5   Virginia Roberts participated in a grand
  6   that he would have purchased for you?            6   theft?
  7       A. We are talking 2002, 2001, I don't        7       A. I don't know how, first of all, I
  8   recall any gifts really.                         8   don't know how I know that. I believe I read
  9       Q. When is the last time Jeffrey             9   it in a press report so...
 10   Epstein gave you a gift in excess of $50,000?   10       Q. I'm going to mark this as composite
 11           MR. PAGLIUCA: Assumes facts not in      11   exhibit, Maxwell 14 please?
 12       evidence. Form and foundation.              12           (Maxwell Exhibit 14, email, marked
 13       Q. You're saying you don't remember         13       for identification.)
 14   from 2001 and 2002. I'm asking when is the      14       Q. I'm going to direct you to page GM
 15   last time you remember Jeffrey Epstein          15   00109. At the top of that page you are going
 16   purchasing a gift for you?                      16   to see an email address from Jeffrey Epstein
 17       A. I don't recall gifts in excess of        17   on Sunday June 12, 2011 to
 18   $50,000, I barely recall gifts, I barely        18
 19   recall a lot of this -- I'm sorry, I don't      19      A. Yes.
 20   recall.                                         20      Q. The re line says, This is the
 21       Q. Is Jeffrey Epstein paying for your       21   actual version they wanted me to send which I
 22   legal fees in this case?                        22   changed but this is back from my U.K.
 23       A. No.                                      23   lawyers.
 24       Q. Is he paying for anything related        24         Do you see that?
 25   to this case?                                   25      A. Yes.




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                                         Page 346                                              Page 348
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       Q. If you go down further, you're            2       A. I don't know who has this document.
  3   going to see halfway through the page, you       3       Q. What's your basis in that statement
  4   will see your email address the                  4   for saying Ms. Roberts fled the U.S.?
  5   and you will see a statement that says, Thank    5       A. Again, you are asking me for a
  6   you. I have it now. I'm working on the           6   statement that I made in 2011 and I can't say
  7   letter a little. I will send final version       7   what in 2011 exactly the basis of that
  8   tomorrow and whatever is in it will be           8   statement was.
  9   factually accurate.                              9       Q. So you don't know whether or not
 10          Beneath that you will see                10   that statement is true?
 11            who I believe you identified earlier   11       A. This is in 2011 and it never went
 12   as one of your attorneys?                       12   out, so I'm not sure exactly.
 13       A. Uh-huh.                                  13       Q. But you said in your email that you
 14       Q. And you will see a letter, starting      14   were working to make it factually accurate,
 15   the text of a letter starting, I want you to    15   is that correct?
 16   turn to the second page which is GM 00110.      16       A. That's what it says.
 17   About halfway through the page, it says you     17       Q. I'm going to mark as Maxwell 15 a
 18   will also presumably draw attention to the      18   document dated February 24, 2015?
 19   fact that prior to filing her suit against      19          (Maxwell Exhibit 15, email, marked
 20   Mr. Epstein, Ms. Roberts fled the U.S. to       20       for identification.)
 21   avoid being arrested for grand theft. Police    21       Q. This is an email from             who
 22   report available.                               22   you've identified as your             on
 23          What grand theft were you referring      23   February 24, 2015 to          which I understand
 24   to there that Virginia Roberts committed?       24   to be your email address and                .
 25          MR. PAGLIUCA: Objection to the           25   The subject line says, VR cried rape. Prior
                                         Page 347                                              Page 349
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       form and foundation.                         2   case dismissed as prosecutors found her not
  3       A. I don't know. However, I believe          3   credible. The message says, Ghislaine, some
  4   she stole money from somewhere where she         4   helpful leakage, dot dot dot. What is it you
  5   worked.                                          5   were leaking to the press?
  6       Q. How do you know that was grand            6          MR. PAGLIUCA: Objection, there is
  7   theft?                                           7       no foundation that she leaked anything
  8       A. I don't know how I know that.             8       and you know that.
  9       Q. So you authorized a statement that        9       Q. What was it that you were leaking
 10   characterized that as grand theft without       10   to the press in that statement?
 11   knowing whether it was grand theft?             11       A. Again, I don't think that's
 12       A. What month, what is the date of          12   referring to that, that's just referring to
 13   this?                                           13   the press getting hold of whatever story it
 14       Q. The date of this is June 12, 2011?       14   is.
 15       A. So I'm afraid such a long time ago,      15       Q. What was                  leaking to the
 16   I'm not sure how, I really couldn't testify     16   press?
 17   as to how that language ended up in here.       17          MR. PAGLIUCA: Objection to form
 18       Q. Do you have the police report? It        18       and foundation.
 19   says police report available. Do you have       19       A. It doesn't say         was leaking
 20   that document?                                  20   anything. It doesn't say that.
 21       A. I don't have that document.              21       Q. The statement says, helpful
 22       Q. Who does?                                22   leakage, is that correct?
 23       A. I have no idea.                          23       A. It says helpful leakage. That
 24       Q. Would your lawyer                        24   doesn't mean he leaked anything.
 25   have that document?                             25       Q. Did you leak to the press




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                                          Page 350                                               Page 352
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2   information to the press information about          2   false?
  3   the subject line, VR cried rape, prior case         3       A. He did not.
  4   dismissed as prosecutors found her not              4       Q. Do you know whether Jeffrey Epstein
  5   credible?                                           5   paid                    to give testimony about
  6      A. I don't no idea what           is             6   Virginia Roberts?
  7   referring to. I think he is referring to the        7       A. I don't know who                     is.
  8   press held the story. I couldn't testify to         8       Q. So you don't know whether Jeffrey
  9   that.                                               9   Epstein paid her?
 10      Q. Did you leak to the press                    10       A. I don't know who                     is.
 11   information regarding the statement, VR cried      11       Q. Have you ever contacted any of
 12   rape prior case dismissed as prosecutors           12   Virginia's friends, acquaintances or family
 13   found her not credible, either through you or      13   regarding this case?
 14   through                      ?                     14       A. I don't know who Virginia's friends
 15      A. I think this is coming from the              15   or family are and I have not contacted
 16   daily mail.                                        16   anybody related to her in any way, shape or
 17      Q. That is not my question, I'm asking          17   form.
 18   whether you or                      leaked that?   18       Q. I will turn you, I believe it's the
 19      A. I have no knowledge, I have no               19   thicker document which is Maxwell, I believe
 20   idea, I'm sorry. I can't -- I have no              20   it was 14, right there, the compilation
 21   recollection. I have no idea what she is           21   document to GM, at the bottom, GM 00071. You
 22   talking about.                                     22   actually may want to turn to the prior page
 23      Q. I'm going to mark this as 16?                23   70 so you can see the email chain. At the
 24          (Maxwell Exhibit 16 email marked            24   top of the page --
 25      for identification.)                            25          MR. PAGLIUCA: I don't have a 00071
                                          Page 351                                               Page 353
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2      Q. This is an email addressed at the             2       on mine.
  3   top from Jeffrey Epstein on Monday, January         3           MS. McCAWLEY: It's the second page
  4   12, 2015 to         which I understand to be        4       in that document.
  5   your email address. The email reads, You can        5           MR. PAGLIUCA: Okay.
  6   issue a reward to any of Virginia's friends,        6       Q. It's dated Friday March 11, 2011
  7   aquaints, family, that come forward to help         7   from Maxwell to Jeffrey with the title, Daily
  8   prove her allegations are false. The                8   Mail and there is a forward from             to
  9   strongest is the         dinner and the new         9   you and a number of other individuals, that's
 10   version of the Virgin Islands that                 10   on the cover page and as you scroll to the
 11              practiced in an underage orgy.          11   second page, you are going to see that part
 12          Did you offer any rewards to                12   of the chain that I'm asking about and that
 13   Virginia's family or friends to contradict         13   is the chain at the bottom which is dated
 14   Virginia's story?                                  14   3/10/2011 from                  and it says we
 15      A. Absolutely not.                              15   think -- we should think about the letter to
 16      Q. Did Jeffrey Epstein offer any                16   the editor. School can be university. Age
 17   rewards to any of Virginia's, as he suggests       17   of consent in Florida is complex. See below,
 18   here, friends, family or acquaintances to          18   if you are 16 years old, a sexual
 19   contradict Virginia's story?                       19   relationship with someone between 18 and 24
 20          MR. PAGLIUCA: Objection to the              20   is legal in Florida. Two persons between 16
 21      form and foundation.                            21   and 24, Florida statute 794.05. A person 24
 22      A. I have no idea what he did.                  22   years or of age or older who engages in
 23      Q. Did he tell he was going to offer            23   sexual activity with a person 16 or 17 years
 24   rewards to Virginia's acquaintances, friends       24   of age commits a felony in the second degree.
 25   and family to prove her allegations were           25   So as soon as you turn 16 you are able to




                                                                       89 (Pages 350 to 353)
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                                         Page 354                                           Page 356
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   have sexual relations and you can have sexual    2      Q. I'm going to turn you now in that
  3   relations with a minor under the age of 18       3   same stack the Bates number GM 00088. At the
  4   until your 24th birthday.                        4   top of the email you are going to see Jeffrey
  5          Why were you concerned with the age       5   Epstein, dated June 8, 2011, to you and it's
  6   of consent in Florida?                           6   got a re line, Vanity Fair. If you go down
  7          MR. PAGLIUCA: Objection to the            7   the chain you will see where it says under
  8       form and foundation of the question.         8   your email, Do you have a problem with
  9       A. I wasn't concerned. I think this          9   anything I said.
 10   was somebody sending me the statute for         10          Were you communicating with Jeffrey
 11   informational purposes.                         11   to confirm what statements you could put in
 12       Q. Who is                 ?                 12   any press releases you were given?
 13       A. He is the person who,                    13          MR. PAGLIUCA: Objection to the
 14   boss I believe, I don't know what the           14      form and foundation.
 15   relationship is.                                15      A. Any interest I have is in accuracy.
 16       Q. I didn't hear you?                       16      Q. Were you confirming with Jeffrey
 17       A.                             , I'm not    17   Epstein what information you could put in
 18   sure exactly.                                   18   press releases?
 19       Q. Why would he be sending you              19          MR. PAGLIUCA: Objection to the
 20   information addressing concerns about the age   20      form and foundation.
 21   of consent in Florida?                          21      A. Again, I'm only looking for
 22          MR. PAGLIUCA: Objection to the           22   accuracy.
 23       form and foundation.                        23      Q. Why would you ask him if he had a
 24       A. I think he was just trying to be --      24   problem with anything you were saying?
 25   telling me details that would happen,           25      A. If there is anything I
                                         Page 355                                           Page 357
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   Virginia in '11 was claiming she was 15 and      2   characterized that was not correct.
  3   we thought she was 17. I didn't know what        3      Q. That's not what you said. You
  4   the statutes were in Florida and I think he      4   said, do you have a problem with anything I
  5   was just trying to be helpful so I would         5   said.
  6   know.                                            6          MR. PAGLIUCA: Objection to the
  7      Q. Did you have a concern that you had        7      form and foundation. There is no
  8   violated this statute in Florida?                8      question pending.
  9          MR. PAGLIUCA: Objection to the            9          MS. McCAWLEY: There is.
 10      form and foundation.                         10          MR. PAGLIUCA: That's not a
 11      A. No.                                       11      question, it's a statement.
 12      Q. Did you have a concern that Jeffrey       12          MS. McCAWLEY: Don't interrupt me.
 13   Epstein had violated this statute in Florida?   13      Q. Di you say, do you have a problem
 14      A. I'm not concerned what happened           14   with anything I said?
 15   with Jeffrey. I'm only concerned what           15      A. That was asking in my parlance that
 16   happens with me.                                16   I wanted him to check it for accuracy.
 17      Q. Why did you communicate with              17      Q. Did he tell you there was anything
 18                about the sexual consent age in    18   inaccurate about the statement?
 19   Florida?                                        19      A. Again, I have to read the whole
 20          MR. PAGLIUCA: Objection to the           20   thing to figure that out.
 21      form and foundation. It misstates her        21      Q. Were you coordinating with Jeffrey
 22      testimony.                                   22   Epstein during this time period in 2011
 23      A. I wasn't concerned. I think he was        23   regarding statements that you were issuing to
 24   being helpful and stating what the statute      24   the press?
 25   was.                                            25          MR. PAGLIUCA: Did you withdraw the




                                                                    90 (Pages 354 to 357)
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                                       Page 358                                                Page 360
  1      G Maxwell - Confidential                      1        G Maxwell - Confidential
  2     last question.                                 2          MR. PAGLIUCA: Objection to the
  3         MS. McCAWLEY: I'm not withdrawing          3      form and foundation.
  4     anything. I'm asking a question.               4      A. I was not coordinating with
  5         MR. PAGLIUCA: There was a question         5   Jeffrey. He had details that I did not have.
  6     pending. You didn't let the witness            6   I was not party to his case. I needed to
  7     answer the question, then you moved on         7   have information in order to be able to
  8     to another question so I'm asking for          8   respond so I was not coordinating with him.
  9     clarification for the record now which         9   I was merely asking for details that I could
 10     question are we answering.                    10   have.
 11         MS. McCAWLEY: There is an answer.         11      Q. Did Jeffrey write any of your press
 12     The question was did he tell you              12   statements for you?
 13     anything, there was anything in the           13      A. No.
 14     statement inaccurate about the statement      14      Q. He didn't draft any of them?
 15     and she said again, I read the whole          15      A. I have a lawyer who was working on
 16     thing --                                      16   this and that was -- I asked, I believe as I
 17         THE WITNESS: I would have to.             17   recollect asked him for information to make
 18         MS. McCAWLELY: -- I would have to         18   sure I was being accurate in the
 19     read the whole thing to figure that out.      19   representations for whatever I was
 20         MR. PAGLIUCA: Then she started            20   discussing.
 21     reading it and you asked another              21      Q. Did Jeffrey provide you with any
 22     question.                                     22   drafts of statements to provide to the press?
 23         MS. McCAWLEY: That's the question.        23      A. I only recall drafts from my
 24         MR. PAGLIUCA: I'm wondering if its        24   lawyer.
 25     still pending.                                25      Q. I will mark this as Maxwell 17.
                                       Page 359                                                Page 361
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2          MS. McCAWLEY: It was answered.            2          (Maxwell Exhibit 17, email, marked
  3      Q. Were you coordinating with Jeffrey         3      for identification.)
  4   Epstein during the time period in 2011           4      Q. This is an email from you on
  5   regarding the statements you were issuing to     5   January 10, 2015 to
  6   the press?                                       6           The statement you had before you
  7          MR. PAGLIUCA: Objection to the            7   earlier, that, if you can pull that in front
  8      form and foundation.                          8   of you, the one page press release that you
  9      A. I only wanted to be accurate in any        9   gave. You might know from memory.
 10   factual statements that I made.                 10          Was the press release that you
 11      Q. You knew at that time that Jeffrey        11   issued with the statement about Virginia
 12   Epstein had been convicted for sexual abuse     12   issued in or around January 2, 2015?
 13   of a minor, is that correct?                    13      A. As best as I can recollect.
 14          MR. PAGLIUCA: Objection to form          14      Q. I want to turn your attention to
 15      and foundation.                              15   the document I just handed you which is Bates
 16      A. He was sentenced I believe for            16   No. 001044, from you to                      and
 17   underage -- soliciting an underaged             17               . It says in the first sentence, I'm
 18   prostitute.                                     18   out of my depth to understand defamation,
 19      Q. You knew that he was a registered         19   other legal hazards and I don't want to end
 20   sex offender?                                   20   up in a lawsuit aimed at me from anyone, if I
 21      A. Yes.                                      21   can help it. Apparently, even saying
 22      Q. You were coordinating with him the        22   Virginia is a liar has hazards.
 23   statement that you were going to be making to   23          You knew at the time you called
 24   the press to confirm whether they were          24   Virginia a liar in early January of 2015 that
 25   accurate in your words?                         25   that was something that would result in a




                                                                    91 (Pages 358 to 361)
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                                           Page 362                                                 Page 364
  1        G Maxwell - Confidential                        1        G Maxwell - Confidential
  2   lawsuit, is that correct?                            2       Q. This email reads do you want
  3          MR. PAGLIUCA: Objection to the                3            without a vowel, to come out and say
  4      form and foundation.                              4   she was the girlfriend during the time.
  5      A. I have legal advice that I took.               5          Who was Jeffrey Epstein referring
  6      Q. But you knew in early January by               6   to?
  7   making a statement calling Virginia a liar           7       A. I believe he was referring to
  8   that you were subjecting yourself to a legal         8                .
  9   dispute with her?                                    9       Q. Why was he asking you if you wanted
 10          MR. PAGLIUCA: Objection to the               10                  to come out and say she was the
 11      form and foundation.                             11   girlfriend?
 12      A. I took legal advice as to what                12          MR. PAGLIUCA: Objection to the
 13   should be said and not be said and the legal        13       form and foundation.
 14   advice that came from the United Kingdom            14       A. The way the press and you were
 15   was --                                              15   characterizing me is I was with Jeffrey
 16          MR. PAGLIUCA: You are not allowed            16   throughout this entire period of time and I
 17      to talk about any legal advice that you          17   was not.
 18      got from anybody that's a lawyer.                18       Q. Was          with Jeffrey during this
 19      A. Sorry.                                        19   period of time?
 20      Q. So is it correct without telling me           20       A. I believe she was.
 21   what you talked to your lawyers about that          21       Q. Did Jeffrey come out and tell the
 22   you knew because this is dated January 10           22   press it was        and not you that was with
 23   that when you made this statement in early          23   him as he is proposing here?
 24   January, January 2 of 2015 you knew that            24       A. I don't believe he did.
 25   calling Virginia a liar would subject you to        25       Q. Did you want him to do that?
                                           Page 363                                                 Page 365
  1         G Maxwell - Confidential                       1        G Maxwell - Confidential
  2   a legal action, isn't that correct?                  2       A. No, I didn't ask him to do
  3           MR. PAGLIUCA: Objection to the               3   anything. No.
  4       form and foundation. As to what you              4       Q. So do you know in January of 2015,
  5       knew -- whatever she knows would be              5   was           his girlfriend?
  6       privileged.                                      6       A. 2015, I have no idea who was his
  7           MS. McCAWLEY: I'm asking if she              7   girlfriend in 2015.
  8       knows. I'm not asking her to tell me             8       Q. I'm sorry, you are correct.
  9       about her privileged communications.             9          In the period of 1999 to 2002, was
 10       A. All I can say is I asked a question          10            his girlfriend?
 11   and received legal advice.                          11       A. They spent a lot of time together.
 12           (Maxwell Exhibit 18, email, marked          12       Q. Did you talk to            about going
 13       for identification.)                            13   to the press and saying that she was the
 14       Q. This is an email dated January 15,           14   girlfriend and not you?
 15   2015 from Jeffrey Epstein to you?                   15       A. I have never spoken to
 16       A. Uh-huh.                                      16       Q. Was             offered any money to
 17       Q. It states in the first line, do you          17   make a statement that she was the girlfriend?
 18   want           to come out and say she was the      18          MR. PAGLIUCA: Objection to the
 19   girlfriend during the time?                         19       form and foundation.
 20           MR. PAGLIUCA: Objection to the              20       A. I have no idea. I have never
 21       form and foundation of the question and         21   spoken to            and I don't know anything --
 22       actually the word is                  , there   22   I have no idea.
 23       is no vowel in there.                           23          (Maxwell Exhibit 19, email, marked
 24           MS. McCAWLEY: I was just trying to          24       for identification.)
 25       pronounce it.                                   25       Q. That's an email from Jeffrey to




                                                                        92 (Pages 362 to 365)
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                                          Page 366                                               Page 368
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   Maxwell dated January 25, 2015.                    2   from Jeffrey to you on January 11, 2015 and
  3      A. Uh-huh.                                      3   if you look below, I'm going to start at the
  4      Q. I will direct your attention to the          4   bottom of that chain which is January 11 at
  5   bottom email which is from you on Saturday         5   9:15 from Jeffrey and he wrote,           do you
  6   January 24, 2015. It says, I would                 6   have an article coming out in Monday's paper.
  7   appreciate it if       would come out and          7   If so, could you please forward us a copy.
  8   say she was your girlfriend. I think she was       8          Do you know what            Jeffrey was
  9   from the end of '99 to 2002.                       9   referring to there?
 10          Does that refresh your recollection        10       A. I don't know.
 11   that you asked Jeffrey to have         come       11       Q. If you look up in the email chain
 12   out and say she was his girlfriend?               12   do you see an email address from
 13      A. I'm sure I would loved anybody to           13                responding to that letter?
 14   come out and say they were with Jeffrey           14       A. I do.
 15   rather than me.                                   15       Q. So that would be
 16      Q. Was that an accurate statement you          16   that Jeffrey was emailing at that time
 17   were asking to be made to the press?              17   according to this chain, correct?
 18          MR. PAGLIUCA: Objection to the             18       A. It certainly looks like it.
 19      form and foundation.                           19       Q. The email from          to Jeffrey is,
 20      A. When is this?                               20   Nothing on Monday. I'm working on several
 21      Q. 2015. The statement is whether she          21   possible articles about unfairness in the
 22   was the girlfriend from '99 to 2002. As the       22   legal process that allows false charges to be
 23   email reads.                                      23   inserted into legal documents with no
 24      A. What is your question?                      24   opportunity to respond.
 25      Q. My question is, was that an                 25          And do you see above that Jeffrey's
                                          Page 367                                               Page 369
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   accurate statement you were going to be            2   email to you says, quote, Careful.
  3   giving to the press?                               3      A. Is that to me or to
  4      A. I didn't make the statement and              4      Q. Jeffrey to         at the top. Why
  5           never came out, so it's completely         5   was Jeffrey telling you to be careful?
  6   moot.                                              6          MR. PAGLIUCA: Objection to the
  7      Q. My question is, was it an accurate           7      form and foundation.
  8   statement that          was the girlfriend from    8      A. I have no idea.
  9   '99 to 2002 or were you just making that up        9      Q. What was he concerned about with
 10   for purposes of deflecting press from you?        10                       suggestion in the email
 11          MR. PAGLIUCA: Objection to the             11   below?
 12      form and foundation.                           12          MR. PAGLIUCA: Objection to form
 13      A. As I said they spent a lot of time          13      and foundation.
 14   together and...                                   14      A. I can't possibly know.
 15      Q. Were you also his girlfriend from           15      Q. Did you discuss with him why he
 16   '99 to 2002?                                      16   told you to be careful?
 17      A. I don't if I would have ever                17      A. I had limited contact with him. I
 18   characterized myself as his girlfriend, but       18   don't recall where this goes in the chain,
 19            at that time, was with him as much if    19   why he was telling me to be careful, I have
 20   not more than I was.                              20   no idea.
 21      Q. I will mark this as Maxwell 20?             21      Q. Did you respond to this email?
 22          (Maxwell Exhibit 20, email, marked         22      A. If you don't have it, I didn't
 23      for identification.)                           23   respond.
 24      Q. This is an email at the top, it's           24      Q. Did you ever delete emails during
 25   Bates labled 001060. At the top is a chain        25   the period of January of 2015?




                                                                      93 (Pages 366 to 369)
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                                        Page 370                                              Page 372
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2      A. I have every email that you asked           2      Q. Earlier today, you said you were in
  3   for in discovery, that I have I gave you.         3   the process of resolving the sale of your
  4      Q. That's not my question.                     4   town home. Where do you intend to live once
  5          Did you ever delete emails in              5   your town home is sold?
  6   January of 2015?                                  6      A. That's a good question. I don't
  7      A. I have not deleted anything that            7   have an answer for you yet.
  8   you have asked me for in discovery. I have        8      Q. You don't have a present plan. Do
  9   given you everything that I have.                 9   you intend to live in the United States?
 10      Q. That is not my question, my                10      A. I don't have a present plan.
 11   question is, did you ever delete emails in       11      Q. Are you living outside of your town
 12   January of 2015?                                 12   home right now or are you still there?
 13      A. In the normal course of my work,           13      A. I'm just couch surfing.
 14   there are emails from spam that I delete.        14      Q. Has Jeffrey Epstein ever purchased
 15   That is the type of email I've deleted.          15   a company for you or put a company in your
 16   Anything that is material to what you want, I    16   name?
 17   have not deleted.                                17         MR. PAGLIUCA: Objection to the
 18      Q. How do you know that?                      18      form and foundation.
 19      A. Well, anybody that's to do with            19      A. I have no recollection.
 20   Jeffrey or       or women or anything of which   20      Q. Is there a Ghislaine Maxwell
 21   I know you were interested in, of which I        21   corporation, for example?
 22   have anything I would not have done because I    22      A. No, not that I am aware of that has
 23   don't want to subject myself to...               23   anything to do with me. There may be with
 24      Q. Have you had your computer                 24   one that someone else owns or started but not
 25   forensically copied for purposes of this         25   one that is related to me.
                                        Page 371                                              Page 373
  1        G Maxwell - Confidential                     1       G Maxwell - Confidential
  2   litigation?                                       2         MS. McCAWLEY: I'm going to take a
  3           MR. PAGLIUCA: Objection to the            3      short break and make sure to keep it
  4       form and foundation.                          4      short because I know you wanted to -- I
  5       A. Has someone made a copy of your            5      just want to wrap up what we have left.
  6   computer for purposes of this litigation.         6         THE VIDEOGRAPHER: It's now 5:49 we
  7       A. No.                                        7      are off the record.
  8       Q. Are you a citizen of the United            8         (Recess.)
  9   States?                                           9         THE VIDEOGRAPHER: It's now 6:00
 10       A. I am.                                     10      p.m. and we are back on the record.
 11       Q. Are you also a citizen of England?        11      Q. Ms. Maxwell, do you recall being
 12       A. I am.                                     12   subpoenaed for a deposition back in 2009?
 13       Q. Are you a citizen of any other            13      A. I do.
 14   land?                                            14      Q. Why did you avoid giving your
 15       A. TerraMar.                                 15   deposition in that case when you were
 16       Q. That's the name of your charity           16   subpoenaed and had the opportunity to tell
 17   project that deals with oceans, is that          17   your side of the story?
 18   correct?                                         18         MR. PAGLIUCA: Objection to the
 19       A. Yeah. I'm French as well.                 19      form and foundation.
 20       Q. Has Jeffrey Epstein funded TerraMar       20      A. That's not what happened.
 21   for you?                                         21      Q. What happened?
 22       A. He did give some money to TerraMar,       22      A. As I best recall, I was subpoenaed
 23   yes.                                             23   and a date was set for the subpoena and
 24       Q. How much?                                 24   everything was set and I believe it was with
 25       A. I believe it was $50,000.                 25   Brad Edwards, correct me if I'm wrong, and




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                                        Page 374                                               Page 376
  1        G Maxwell - Confidential                    1      G Maxwell - Confidential
  2   Brad Edwards failed to show up for the           2   Edwards resurfaced after the                  ,
  3   subpoena.                                        3                                            for
  4       Q. So your testimony is Brad Edwards         4   creating fake cases in Jeffrey's and other
  5   did not show up for the deposition that had      5   people's cases, in between the time when
  6   been set?                                        6   there were -- trying to figure out the
  7       A. Correct.                                  7   protective situation for me, my mother was
  8       Q. Did you give any statement that           8   sick, she is 89, she was 89 at that time so I
  9   your mother was ill and, therefore, you          9   -- they -- we can all -- we all have parents,
 10   couldn't take your deposition and had to        10   so anyone, I don't know how old your parents
 11   leave the country indefinitely?                 11   are but any parent or godparent, any
 12       A. That's an entirely separate              12   individual who is in the late 80s 90s, we can
 13   situation. Brad Edwards was involved in the     13   understand has health issues so my mother's
 14                                         ,I        14   health was deteriorating very rapidly at that
 15   believe, you know, is when fake suits were      15   time and we had issues at home with who she
 16   created in Jeffrey's case and                   16   would talk to and how to manage her, her
 17                       and Brad Edwards worked     17   healthcare situation and so I went home.
 18   for that firm.                                  18   They were still arguing about the protective
 19       Q. And Mr. Edwards worked for that          19   order --
 20   firm?                                           20       Q. Is it your testimony that there was
 21       A. So when the subpoena came, Brad          21   not a date set for your deposition at the
 22   Edwards was involved with              in the   22   time you left to go see your mother?
 23   case so when I was called for subpoena, then    23       A. I don't believe so.
 24   and I had a subpoena, date and time set, Brad   24       Q. Are you friends with the
 25   Edwards went AWAL, meaning he failed to         25       A. I am.
                                        Page 375                                               Page 377
  1        G Maxwell - Confidential                    1         G Maxwell - Confidential
  2   respond to calls and failed to get in touch      2       Q. Did you attend a wedding of
  3   with my attorneys, even though a date and        3            a few weeks after the date was set,
  4   time was set for the subpoena and so that's      4   let's say a few weeks after you left to go
  5   what happened to that subpoena. It just          5   see your mother who was ill?
  6   didn't happen.                                   6       A. I don't recall exactly when I left
  7      Q. We may be talking about two                7   but it was before, a few weeks before -- I
  8   different cases so I will ask the question       8   don't remember the exact timing of that, so
  9   again.                                           9   I'm sorry, can you repeat the question?
 10          Was there ever a time where you          10       Q. Did you come back to the United
 11   were subpoenaed to sit for a deposition that    11   States to attend                      wedding?
 12   you could not make it because you said that     12       A. I attended
 13   your mother was ill?                            13   wedding but I don't know if I came back
 14      A. So that is the same subpoena that         14   specifically for that or not.
 15   Brad Edwards failed to turn up for and then I   15       Q. When we were looking at the flight
 16   think five or six months passed between -- a    16   logs earlier, there was a flight where you
 17   period of time, I can't characterize it         17   ended up in                  , I believe it was
 18   exactly, a period of time passed where then     18   in         do you know how you got clearance
 19   he resurfaced and asked for a new subpoena to   19   to land at that            ?
 20   be -- a new time to be set and because he had   20       A. I need to have a look at whatever
 21   contacted the press and done all sorts of       21   document.
 22   things that you guys are familiar with, I       22       Q. It's one of the flight logs, it was
 23   believe, it was my lawyer suggested that I      23   on the flight with           when we were
 24   should have some sort of protective order and   24   talking about you landed at                  . I
 25   I believe between the time for when Brad        25   know you are a pilot, do you know what you




                                                                    95 (Pages 374 to 377)
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                                         Page 378                                              Page 380
  1       G Maxwell - Confidential                     1        G Maxwell - Confidential
  2   had to do to get clearance to land at that       2       form and foundation.
  3   naval base.                                      3       A. I am un -- the answer is no, I
  4          MR. PAGLIUCA: If you need to look         4   don't know anything about that.
  5      at something to answer the question, you      5       Q. Did you ever witness
  6      can. If you can't answer the question         6           bringing girls under the age of 18 to
  7      without looking at something just             7   any of Jeffrey residences?
  8      indicate such.                                8          MR. PAGLIUCA: Objection to the
  9      A. Regardless, I wouldn't have any            9       form and foundation.
 10   knowledge of that.                              10       A. I don't recollect          coming
 11      Q. Was                  traveling with you   11   to the house with girls, period.
 12   on the flights you were on with                 12       Q. Do you, when I say house, I'm
 13      A. I would have to look at a document.       13   including the U.S. Virgin Island home.
 14   I wouldn't know if she was on all of them or    14          Do you recollect
 15   not. I don't know.                              15   bringing foreign girls under the age of 18 to
 16      Q. Do you recall her being on any of         16   the U.S. Virgin Island house?
 17   them?                                           17       A. I don't recollect anything like
 18      A. To the best of my recollection, I         18   that.
 19   think she was. I don't recollect exactly        19       Q. Do you know how Jeffrey Epstein
 20   what flight she was on or not.                  20   made his money?
 21      Q.                 was one of the            21       A. No.
 22   co-conspirators, physically, in the             22       Q. Was                                   one
 23   nonconstitution agreement, is that correct?     23   of his clients?
 24          MR. PAGLIUCA: Objection to the           24       A. I have no idea.
 25      form and foundation.                         25       Q. What do you know about the
                                         Page 379                                              Page 381
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      A. I have never seen the document but         2   relationship between Jeffrey Epstein and
  3   my understanding, I believe, is that she was.    3
  4      Q. Did you ever stay the night ever at        4       A. Are you talking today?
  5                  house in       have you ever      5       Q. Yes, today.
  6   stayed the night there?                          6       A. I have no idea.
  7      A. In his home in                             7       Q. Do they have a business
  8      Q. Yes.                                       8   relationship?
  9      A. I don't believe I did.                     9       A. I have no idea.
 10      Q. Are you aware of anybody providing        10       Q. Did they have a business
 11   Jeffrey with two 12 year old girls as a         11   relationship during the time that you were
 12   birthday present?                               12   working for Jeffrey Epstein?
 13          MR. PAGLIUCA: Objection to the           13       A. I believe in the '90s when I was
 14      form and foundation.                         14   there they had a business relationship.
 15      A. No.                                       15       Q. Did they have any other kind of
 16      Q. Are you aware of anybody ever             16   relationship?
 17   providing Jeffrey with French girls under the   17          MR. PAGLIUCA: Objection to form
 18   age of 18 as a birthday present?                18       and foundation.
 19          MR. PAGLIUCA: Objection to the           19       A. The only relationship I am aware of
 20      form and foundation.                         20   is the business relationship.
 21      A. No.                                       21       Q. Do you know why                  sold the
 22      Q. Do you know whether                       22   New York house or gave the New York house to
 23   provided girls under the age of 18 to Jeffrey   23   Jeffrey, if you know?
 24   for the purposes of sex?                        24          MR. PAGLIUCA: Objection to the
 25          MR. PAGLIUCA: Objection to the           25       form and foundation.




                                                                    96 (Pages 378 to 381)
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                                        Page 382                                            Page 384
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       A. I know nothing about that                 2   Jeffrey that was under the age of 18?
  3   transaction.                                     3          MR. PAGLIUCA: Objection to form
  4       Q. Can you list for me all the girls         4      and foundation. Mischaracterizes her
  5   that you have met and brought to Jeffrey         5      testimony.
  6   Epstein's house that were under the age of       6      A. I didn't hire people.
  7   18?                                              7      Q. I said met.
  8           MR. PAGLIUCA: Objection to the           8      A. I interviewed people for jobs for
  9       form and foundation.                         9   professional things and I am not aware of
 10       A. I could only recall my family            10   anyone aside from now Virginia who clearly
 11   members that were there and I could not make    11   was a masseuse aged 17 but that's, at least
 12   a list of anyone else because that list -- it   12   that's how far we know that I can think of
 13   never happened that I can think of.             13   that fulfilled any professional capacity for
 14       Q. I'm talking about the time you were      14   Jeffrey.
 15   working for Jeffrey Epstein, can you list all   15      Q. List all the people under the age
 16   girls that you found for Jeffrey Epstein that   16   of 18 that you interacted with at any of
 17   were under the age of 18 to come work for him   17   Jeffrey's properties?
 18   in any capacity?                                18      A. I'm not aware of anybody that I
 19           MR. PAGLIUCA: Objection to the          19   interacted with, other than obviously
 20       form and foundation.                        20   Virginia who was 17 at this point?
 21       A. I didn't find the girls.                 21          (Maxwell Exhibit 21, email, marked
 22       Q. You choose the word.                     22      for identification.)
 23           MR. PAGLIUCA: If you have a             23      Q. I'm showing you what's been marked
 24       question ask it, you don't choose the       24   as Maxwell 21, it's an email dated January
 25       word.                                       25   21, 2015 from Jeffrey to you. Is that, you
                                        Page 383                                            Page 385
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. List all of the girls you met and          2   can take a moment to take a look at it, is
  3   brought to Jeffrey Epstein's home for the        3   that a statement that Jeffrey Epstein wrote
  4   purposes of employment that were under the       4   for you to be issued to the press?
  5   age of 18?                                       5          MR. PAGLIUCA: Objection to the
  6         MR. PAGLIUCA: Objection to the             6      form and foundation.
  7      form and foundation.                          7      A. The question was?
  8      A. I've already characterized my job          8      Q. Is this a statement that Jeffrey
  9   was to find people, adults, professional         9   Epstein wrote for you to be issued to the
 10   people to do the jobs I listed before; pool     10   press?
 11   person, secretary, house person, chef, pilot,   11          MR. PAGLIUCA: Same objection.
 12   architect.                                      12      A. Is there any other emails that you
 13      Q. I'm asking about individuals under        13   have that surround this that would allow me
 14   the age of 18, not adult persons, people        14   to know what -- does this have a context?
 15   under the age of 18.                            15      Q. These were produced by your counsel
 16      A. I looked for people or tried to           16   so the to extent there are emails that
 17   find people to fill professional jobs in        17   surround this, this is what we were given.
 18   professional situations.                        18      A. Okay. I don't know whether he
 19      Q. So Virginia Roberts was under the         19   wrote this -- obviously he wrote this and
 20   age of 18, correct?                             20   sent this to me. I don't know if this is
 21      A. I think we've established that            21   post a phone call we had, I can't recollect
 22   Virginia was 17.                                22   exactly.
 23      Q. Is she the -- sorry, go ahead.            23      Q. Do you know if this was issued to
 24         Is she the only individual that you       24   the press, this statement?
 25   met for purposes of hiring someone for          25      A. The only press statement that was




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                                       Page 386                                             Page 388
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2   issued is the one that you have.                 2   affiliated with?
  3      Q. When the paragraph refers to you           3       A. No.
  4   being in a very long term committed              4       Q. Is that a company that Jeffrey
  5   relationship with another man, who was that      5   owns?
  6   other man?                                       6       A. I knew it back in 2001, back when I
  7          MR. PAGLIUCA: You don't have to           7   was working. I have no idea what that is
  8      answer the question.                          8   today.
  9          MS. McCAWLEY: I'm asking the              9       Q. What about JEGE, are you familiar
 10      identity of a witness in a statement she     10   with that company, JEGE Inc.?
 11      is giving.                                   11       A. I don't recall it.
 12          MR. PAGLIUCA: She didn't give the        12       Q. You don't recall?
 13      statement.                                   13       A. It vaguely rings a bell. I don't
 14          MS. McCAWLEY: Jeffrey is writing         14   remember what it relates to.
 15      to her, I'm asking who is he is              15       Q. What about J Epstein Virgin Islands
 16      referencing to a long term relationship.     16   Foundation, Inc.
 17          You are going to refuse to let her       17          Are you familiar with that company?
 18      answer that question.                        18       A. No.
 19          MR. PAGLIUCA: Yes.                       19       Q. How did J Epstein & Company, Inc.?
 20          MS. McCAWLEY: I would like to            20       A. Again, I don't recall his business
 21      state for the record he is refusing to       21   names and affiliations.
 22      allow her to identify a potential            22       Q. How about NES LLC, are you familiar
 23      witness in this litigation. So we will       23   with that name?
 24      be back to get the answer to that            24       A. Again, I think that was one of his
 25      question.                                    25   businesses, but I don't recall.
                                       Page 387                                             Page 389
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. Do you recall when you were                2      Q. Do you know what that business did?
  3   traveling with Virginia Roberts that you         3      A. I don't.
  4   would be responsible for holding her             4      Q. How about New York Strategy Group
  5   passport?                                        5   Inc.?
  6          MR. PAGLIUCA: Objection to the            6      A. I don't know.
  7      form and foundation.                          7      Q. What about Ghislaine Maxwell
  8      A. I already testified I don't recall         8   Company, are you familiar with that company?
  9   traveling with Virginia.                         9      A. I never heard of that.
 10      Q. Do you recall whether Jeffrey             10      Q. Is that a company you are on record
 11   Epstein when he was traveling with a minor,     11   as being either a board member of or having a
 12   someone under the age of 18, someone would      12   position of authority in?
 13   hold their passport?                            13          MR. PAGLIUCA: Objection to the
 14          MR. PAGLIUCA: Object to the form.        14      form and foundation.
 15      A. I couldn't testify to what Jeffrey        15      A. I've never heard of the business.
 16   did or didn't do.                               16      Q. What negative, unflattering,
 17      Q. You never observed him gathering a        17   private or potentially embarrassing
 18   minor's passport and holding it during one of   18   information does Jeffrey Epstein know about
 19   the trips you were on?                          19   you?
 20      A. I don't have a recollection of            20          MR. PAGLIUCA: Objection to the
 21   that.                                           21      form and foundation.
 22      Q. Are you familiar with a company           22      A. I imagine none.
 23   called Hyperion Air Inc.?                       23      Q. Does he know, does he have any
 24      A. I am.                                     24   knowledge of any illegal activity that you've
 25      Q. Is that a company you are                 25   conducted?




                                                                    98 (Pages 386 to 389)
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                                           Page 390                                             Page 392
  1         G Maxwell - Confidential                      1        G Maxwell - Confidential
  2           MR. PAGLIUCA: Object to the form            2   This will now end?
  3       and foundation.                                 3          MR. PAGLIUCA: Objection to the
  4       A. If you want to ask Jeffrey                   4       form and foundation.
  5   questions about me, you would have to ask           5       A. I have no idea.
  6   him.                                                6       Q. Did you discuss with him what he
  7       Q. Have you ever been involved in any           7   meant by the statement, This will now end?
  8   illegal activity in your lifetime?                  8       A. I don't recall.
  9           MR. PAGLIUCA: Objection to the              9       Q. Was he taking any action to ensure
 10       form and foundation.                           10   that, quote, this will now end?
 11       A. I can't think of anything I have            11       A. I have no idea.
 12   done that is illegal.                              12          (Maxwell Exhibit 23, email, marked
 13       Q. Have you ever been arrested?                13       for identification.)
 14       A. I have a DUI in the U.K. a long             14       Q. This is an email from, if you look
 15   time ago.                                          15   at the chain at the top, you will see it's
 16       Q. Is that the only arrest you have on         16   from you to Jeffrey on January 27 and the
 17   your record?                                       17   email at the bottom of the chain is from
 18       A. Yes.                                        18   Jeffrey to you on January 27.
 19       Q. I will mark as Maxwell 22 this              19          He states, What happened to you and
 20   email?                                             20   your statement, question mark, question mark.
 21           (Maxwell Exhibit 22, email, marked         21   And you put at the top, I have not decided
 22       for identification.)                           22   what to do.
 23       Q. This is dated January 21, 2015.             23       A. Uh-huh.
 24   It's from Jeffrey Epstein to you, forwarding       24       Q. Why was Jeffrey interested in you
 25   the Guardian and I would like you to look at       25   making a statement to the press?
                                           Page 391                                             Page 393
  1         G Maxwell - Confidential                      1         G Maxwell - Confidential
  2   the chain of emails so you understand the --        2           MR. PAGLIUCA: Objection to the
  3   have an appreciation for who is on this.            3       form and foundation.
  4   It's a three-page document. The bottom of           4       A. I don't know that he was
  5   the email appears to be a message from, there       5   interested. We made a statement and then I
  6   is a -- at the very bottom there is the             6   was being advised to make an additional
  7   signature block for             ,                   7   statement and I never did.
  8                                     and above that    8       Q. Was Jeffrey communicating with you
  9   there is a message from a                           9   regularly on what additional statement you
 10                                                      10   might make?
 11          Do you see that?                            11           MR. PAGLIUCA: Objection to the
 12      A.   Uh-huh.                                    12       form and foundation.
 13      Q.   Do you know who                    is?     13       A. No, I've communicated with him very
 14      A.   I do not.                                  14   little, as little as possible.
 15      Q.   Above that there is a message from         15       Q. Why did you feel you had to keep
 16                                  and you and it      16   him informed of statements you were making to
 17   says, so this isn't getting better, latest         17   the press?
 18   from our chums at the Guardian and above that      18           MR. PAGLIUCA: Objection to the
 19   you will see on January 21 an email from you       19       form and foundation.
 20   where you wrote, See below.                        20       A. I didn't feel I had to.
 21          And right above that chain you will         21       Q. Then why you were communicating
 22   see Jeffrey Epstein to you on January 21 and       22   with him about statements you were making to
 23   his statement to you is, This will now end         23   the press?
 24   but I think a dismissive statement is okay.        24           MR. PAGLIUCA: Objection to the
 25          What did he mean by his statement,          25       form and foundation.




                                                                       99 (Pages 390 to 393)
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                                         Page 394                                                Page 396
  1        G Maxwell - Confidential                     1        G Maxwell - Confidential
  2       A. Insofar as this is the case, it's          2       A. I don't think I've ever discussed
  3   really all about Jeffrey, it's not a case         3   it with him.
  4   about me.                                         4       Q. How did you come to learn that
  5       Q. In 2009, did you direct your               5                 was covered by the
  6   lawyer, either directly or indirectly, to         6   nonprosecution agreement?
  7   tell Brad Edwards that you were unavailable       7       A. I believe I read it in the press.
  8   to attend a deposition?                           8       Q. Did you have any discussions with
  9           MR. PAGLIUCA: Objection to the            9                 with about the nonprosecution
 10       form and foundation. And this is a           10   agreement?
 11       privileged communication as I understand     11       A. I have not had any discussions with
 12       the question, what someone said or           12
 13       didn't say to their lawyer. So don't         13      Q. When is the last time you spoke to
 14       answer the question.                         14                ?
 15       Q. Can you answer that question              15      A. Maybe 2005, 2006 maybe.
 16   without revealing a privileged communication?    16      Q. And same with                       ,
 17       A. Can you ask the question again?           17   when is the last time you recall speaking
 18       Q. In 2009, did you direct your lawyer       18   with                    ?
 19   to tell Brad Edwards that you were               19      A. Probably even more time before
 20   unavailable to attend a deposition?              20   that, maybe -- I've never had communications
 21           MR. PAGLIUCA: Same instruction.          21   really with
 22       Q. Did you make any statement in 2009        22      Q. I'm sorry, I didn't hear that.
 23   to anybody that you were unavailable to          23      A. I never had communications with
 24   attend a deposition?                             24   her.
 25       A. My mother was sick and I don't            25      Q. You were working for Jeffrey at the
                                         Page 395                                                Page 397
  1        G Maxwell - Confidential                     1         G Maxwell - Confidential
  2   recall exactly the sequence of events but         2   same time           was also working for Jeffrey,
  3   what sequence of events do exist are -- was       3   isn't that correct?
  4   handled by my lawyers.                            4       A. I didn't know what           did for
  5      Q. What is your understanding of               5   Jeffrey so I didn't characterize what her
  6   Jeffrey Epstein's nonprosecution agreement?       6   relationship or work or not was and I was
  7      A. I have no idea.                             7   still helping him with his construction
  8      Q. Do you have an understanding of the         8   projects and the like but I never crossed
  9   co-conspirators listed in the nonprosecution      9   paths with
 10   agreement?                                       10       Q. What did you think            was doing
 11          MR. PAGLIUCA: Objection to the            11   for Jeffrey?
 12      form and foundation.                          12       A. I have no idea what           was doing
 13      A. I have no knowledge of his                 13   for Jeffrey.
 14   agreement, whatever that is.                     14       Q. Did you observe           at any of
 15      Q. Do you know, you mentioned earlier         15   Jeffrey's houses while you were there?
 16   today that               was one of the listed   16       A. She was at the house on occasion.
 17   co-conspirators.                                 17       Q. What would she be doing there?
 18          Do you know who the other                 18       A. I have no idea.
 19   co-conspirators are in the nonprosecution        19       Q. Did you know if she lived at his
 20   agreement?                                       20   houses?
 21          MR. PAGLIUCA: Objection to the            21       A. I have no idea.
 22      form and foundation.                          22       Q. Did you ever go into a bedroom and
 23      A. I do not know.                             23   see her belongings at one of the houses?
 24      Q. What did Jeffrey Epstein tell you          24       A. Not that I recall, no.
 25   about the nonprosecution agreement?              25       Q. I'm going to mark this as Maxwell




                                                                    100 (Pages 394 to 397)
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                                         Page 398                                              Page 400
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2   Exhibit 24?                                        2      Q. What did you talk about?
  3          (Maxwell Exhibit 24, email, marked          3      A. Just what a liar she is.
  4       for identification.)                           4      Q. What did he say to you?
  5       Q. You can see at the top of the first         5      A. What a liar she is.
  6   page which is GM 0001, it's dated January 3,       6      Q. Did he tell you why he thought she
  7   2015 from you to the                .              7   was a liar?
  8          Is that                 who we              8      A. I don't think he told me why she
  9   referred to today?                                 9   was a liar. The substance of everything that
 10       A. Yes.                                       10   she said was a lie with regard to him.
 11       Q. And can you tell me, it says, Have         11      Q. What did you say to him?
 12   some info. Call me when you have a moment.        12      A. She is a liar.
 13          What is redacted there?                    13      Q. That was the whole conversation, it
 14       A. I don't recall, I'm sorry.                 14   was you said to him, she is a liar and he
 15       Q. Do you know why there is a                 15   said to you she say liar and did you discuss
 16   redaction on this document?                       16   any of the details about what those lies
 17       A. You would have to confer with my           17   were?
 18   lawyers.                                          18      A. I don't recollect.
 19       Q. What did you discuss on that call?         19      Q. Was that only one conversation you
 20       A. I don't have any specific knowledge        20   had?
 21   of that call.                                     21      A. I don't recollect. I don't
 22       Q. So the call is being made on               22   recollect actually the conversation but other
 23   Saturday, January 3, 2015?                        23   than -- in detail other than we both said she
 24          MR. PAGLIUCA: Objection to the             24   was a liar.
 25       form and foundation.                          25      Q. Do you regularly communicate with
                                         Page 399                                              Page 401
  1        G Maxwell - Confidential                      1        G Maxwell - Confidential
  2       Q. The document states, it's Saturday          2                   ?
  3   January 3, 2015. You issued your press             3          MR. PAGLIUCA: Objection to the
  4   release on January 2, 2015.                        4       form and foundation.
  5          Were you discussing with                    5       A. What do you mean by regularly.
  6            the subject of Virginia Roberts during    6       Q. Do you email with him once a month,
  7   these calls?                                       7   once every two months or text him or call
  8          MR. PAGLIUCA: Objection to the              8   him?
  9       form and foundation.                           9       A. No, we are not in that type of
 10       A. I don't know if I spoke to him.            10   regular touch.
 11       Q. I would like you to turn to GM 0002        11       Q. Do you travel with him regularly?
 12   and the bottom chain says                 ,       12       A. I don't know, I have traveled with
 13   Saturday January 3, to         re, and he says    13   him. We have traveled together but regularly
 14   let me know when we can talk. Got some            14   is not a correct characterization.
 15   specific questions to ask you about Virginia      15       Q. Do you travel with him more than
 16   Roberts.                                          16   once a year?
 17          Do you recall having a conversation        17       A. There is no standard. There is no
 18   with                  about Virginia Roberts in   18   set pattern. The answer to that was no.
 19   or around early January of 2015?                  19       Q. Have you ever observed him with any
 20       A. I don't know if we actually spoke.         20   underage, any women, female under the age of
 21       Q. Did you ever speak to                      21   18, interacting, that's not a child or a
 22   about Virginia Roberts after you issued your      22   family friend, interacting for the purposes
 23   statement on January 2, 2015?                     23   of a sexual relationship with that
 24       A. I know that we did speak at some           24   individual?
 25   point but I don't recollect when we spoke.        25          MR. PAGLIUCA: Objection to the




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                                        Page 402                                             Page 404
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2       form and foundation.                         2       form and foundation.
  3       A. I've never seen            interact in    3       A. I mean I've been to his -- in the
  4   any way of that nature.                          4   mid '90s, I would have communicated with
  5       Q. Have you ever gone to dinner with         5   people who worked for him.
  6   him with any individual under the age of 18      6       Q. Have you communicated with
  7   that's not a family member or friend of yours    7             about this case?
  8   that is under the age of 18?                     8       A. No.
  9          MR. PAGLIUCA: Objection to form           9       Q. Have you ever seen a topless female
 10       and foundation.                             10   at any one of Jeffrey Epstein's properties?
 11       A. We've been to dinner all the time,       11          MR. PAGLIUCA: Objection to the
 12   I am not not sure who is at dinner with us, I   12       form and foundation. You've asked this
 13   can't testify to that.                          13       question, by the way, earlier on today.
 14       Q. Has he ever brought a female under       14       A. Again, I testified that there are
 15   the age 18 that's not a relative of his --      15   people who from time to time in the privacy
 16       A. He has children.                         16   of a swimming pool have maybe taken a bikini
 17       Q. I said not relatives.                    17   top off or something but it's not common and
 18       A. I can't possibly testify to who he       18   certainly when I was at the house I don't
 19   comes to dinner with, I wouldn't recall.        19   really recollect seeing that kind of
 20       Q. To your knowledge, has he ever had       20   activity.
 21   a relationship with any female under the age    21       Q. Have you ever smoked cigarettes?
 22   of 18 for purposes of a romantic relationship   22       A. Yes.
 23   to your knowledge?                              23       Q. Have you ever smoked cigarettes
 24       A. I can't testify to                       24   with Virginia Roberts?
 25   relationship.                                   25       A. I don't recall smoking cigarettes
                                        Page 403                                             Page 405
  1        G Maxwell - Confidential                    1        G Maxwell - Confidential
  2      Q. You haven't observed that?                 2   with Virginia Roberts.
  3      A. No.                                        3       Q. I'm marking this as Maxwell 25.
  4      Q. Have you talked to                         4          (Maxwell Exhibit 25, email, marked
  5   about coming to testify at trial in this         5       for identification.)
  6   case?                                            6       Q. I'm showing you what has been
  7      A. No.                                        7   marked as Maxwell 25.
  8      Q. When was the last time you                 8          This is an email dated January 11,
  9   communicated with                     ?          9   2015 at the top?
 10      A. 1994, 1995.                               10          Do you see that that from Jeffrey
 11      Q. I believe earlier, did you say that       11   to you?
 12   you -- when is the last time you've been to     12       A. Uh-huh.
 13   his home in                                     13       Q. And then below there is an email
 14      A. I said -- you asked me if I stayed        14   from                  to you and cc'ing
 15   the night.                                      15   on January 11, 2015.
 16      Q. I'm asking you a different                16          Do you see that?
 17   question. When is the last time you have        17       A. Uh-huh.
 18   been to his home in                             18       Q. It says, Dear Ghislaine, as you
 19      A. Roughly the same time, in the             19   know I have been working behind the scenes
 20   middle of the '90s sometime, mid '90s.          20   and this article comes from that. It helps
 21      Q. Not in the years 2000 to 2002?            21   but doesn't answer the VR claims. I will get
 22      A. Mid '90s.                                 22   the criminal allegations out. This shows the
 23      Q. Have you ever communicated with any       23   MOS will print truth, not just a VR voice
 24   representative of                 ?             24   piece. We can only make the truth by making
 25         MR. PAGLIUCA: Objection to the            25   a statement.




                                                                  102 (Pages 402 to 405)
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                                        Page 406                                             Page 408
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2         What did he mean when he said, I          2          MR. PAGLIUCA: Objection to the
  3   will get the criminal allegations out, what     3       form and foundation.
  4   was he referring to?                            4       A. I have no knowledge of that.
  5         MR. PAGLIUCA: Objection to the            5       Q. Do you know if Jeffrey Epstein has
  6      form and foundation.                         6   any friends that are in the CIA or FBI?
  7      A. I have no idea.                           7          MR. PAGLIUCA: Objection to the
  8      Q. Were there criminal allegations           8   form and foundation.
  9   about Virginia that either your lawyer or       9       A. I have no idea.
 10                were leaking to the press?        10       Q. Are you aware of an investigation
 11         MR. PAGLIUCA: Objection to form          11   of Jeffrey Epstein in the early '80s relating
 12      and foundation.                             12   to the SEC?
 13      A. I have no idea.                          13          MR. PAGLIUCA: Objection to the
 14      Q. Did you ask him what he meant when       14       form and foundation.
 15   he said, I will get the criminal allegations   15       A. I have no knowledge of that.
 16   out?                                           16       Q. Are you aware that Jeffrey Epstein
 17      A. I don't recollect the conversation.      17   has told people that he worked for the
 18      Q. Did you direct him to leak to the        18   government to recover stolen funds?
 19   press criminal allegations about Virginia      19          MR. PAGLIUCA: Objection to the
 20   Roberts?                                       20       form and foundation.
 21      A. I already testified that I have no       21       A. I don't recall conversations about
 22   knowledge of what you are asking me.           22   that.
 23      Q. Were you copied on this email,           23       Q. Has he ever told that you he worked
 24   correct?                                       24   for the U.S. government?
 25      A. I was.                                   25       A. I don't recollect that.
                                        Page 407                                             Page 409
  1        G Maxwell - Confidential                   1        G Maxwell - Confidential
  2       Q. Did Jeffrey Epstein assist in            2       Q. You don't recollect or has he never
  3   obtaining information about criminal            3   told you that?
  4   allegations relating to Virginia Roberts?       4       A. I have no knowledge, I don't
  5          MR. PAGLIUCA: Objection to form          5   recollect him telling me he worked for the
  6       and foundation.                             6   government.
  7       A. I have no recollection.                  7       Q. Does Jeffrey Epstein have any
  8       Q. Did                     assist in        8   affiliation with the Israeli government?
  9   obtaining information regarding criminal        9          MR. PAGLIUCA: Objection to the
 10   allegations of Virginia Roberts?               10       form and foundation.
 11          MR. PAGLIUCA: Objection to form         11       A. I have no knowledge of that.
 12       and foundation.                            12       Q. Do you know if he ever performed
 13       A. I have no knowledge of that.            13   any work for the Israeli government?
 14       Q. Did you ever discuss that with          14       A. I have no knowledge of that.
 15                                                  15       Q. Have you ever visited Israel with
 16       A. Discuss what?                           16   Jeffrey Epstein?
 17       Q. Criminal allegations about Virginia     17       A. I'm sorry, I don't recollect.
 18   Roberts.                                       18       Q. You've seen the flight logs that I
 19       A. I don't believe I have.                 19   provided you today. Are there, during the
 20       Q. Have you ever discussed allegations     20   time you worked for Jeffrey Epstein, were
 21   relating to --                                 21   there times that you flew on commercial
 22       Q. Do you know if Jeffrey Epstein had      22   flights rather than Jeffrey Epstein's planes?
 23   any relationship with the U.S. government      23       A. Yes.
 24   either working for the CIA or the FBI in his   24       Q. How often did that occur?
 25   lifetime?                                      25       A. Decently.




                                                                 103 (Pages 406 to 409)
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                                          Page 410                                               Page 412
  1        G Maxwell - Confidential                       1        G Maxwell - Confidential
  2       Q. Were there other flights that you            2   there in the course of the work you were
  3   recall flying on with Jeffrey Epstein that          3   doing for Jeffrey?
  4   were on flights that -- where              was      4          MR. PAGLIUCA: Objection to the
  5   not the pilot?                                      5      form and foundation.
  6       A.                  was not always the          6      A. I was never sent. I had a job to
  7   pilot.                                              7   do and I would have to go to New Mexico for
  8       Q. How many planes did Jeffrey Epstein          8   work.
  9   have during the time you were with him?             9      Q. Would                  assist in that
 10          MR. PAGLIUCA: Objection to the              10   project?
 11       form and foundation.                           11          MR. PAGLIUCA: Objection to the
 12       A. So you need to give me a date               12      form and foundation.
 13   range.                                             13      A. No. The project was largely
 14       Q. During the time period of 1992              14   complete, largely complete by the end -- I
 15   through when you left your employment which I      15   don't remember the dates exactly but it was
 16   think you said was in 2009?                        16   largely complete by the 1990s, 2000s.
 17       A. So in the '90s he had one plane and         17      Q. Do you know why                     would
 18   at some point in the 2000s he had two planes       18   be going to New Mexico to meet you?
 19   but I can't testify to anything past 2002,         19          MR. PAGLIUCA: Objection to the
 20   2003, what happened to his planes after that.      20      form and foundation.
 21       Q. Do you know what travel agency, if          21      A. I don't know. She worked for
 22   any, Jeffrey would use when he would send          22   Jeffrey.
 23   someone, for example, you or one of his other      23          MR. PAGLIUCA: I think we are out
 24   employees on a flight somewhere? Did he use        24      of time, counsel.
 25   a particular travel agency to make those           25          THE VIDEOGRAPHER: It's true.
                                          Page 411                                               Page 413
  1        G Maxwell - Confidential                       1      G Maxwell - Confidential
  2   arrangements?                                       2        MS. McCAWLEY: I will state for the
  3       A. I don't recall.                              3     record there were questions today that
  4       Q. Were you ever responsible for                4     remain unanswered because the witness
  5   making those arrangements for other                 5     has been instructed not to answer those
  6   individuals?                                        6     questions and we will be raising our
  7       A. I don't recall making flight                 7     objections with the court to be able to
  8   arrangements.                                       8     have those questions answered in the
  9       Q. Was it a New York travel agent that          9     near future.
 10   you would use for those arrangements?              10        MR. PAGLIUCA: So we are clear, we
 11       A. Again, we are talking 16, 17, 18            11     are designating this entire deposition
 12   years. I just don't recall anything to do          12     as confidential under the protective
 13   with travel agents.                                13     order. That would cover the paralegal
 14       Q. Would Jeffrey Epstein ever fly, for         14     whose been present as well as the court
 15   example,                  on a commercial flight   15     reporter and the videographer and all
 16   to meet you in New Mexico?                         16     the lawyers in the room.
 17          MR. PAGLIUCA: Objection to the              17        THE VIDEOGRAPHER: This concludes
 18       form and foundation.                           18     today's proceedings. We are off the
 19       A. I can't testify to that.                    19     record at 6:43 p.m.
 20       Q. Do you recall a trip where you met          20        (Time noted: 6:43 p.m.)
 21                  in New Mexico?                      21
 22       A. No, I don't recall any specific             22
 23   trip, no.                                          23
 24       Q. Why would you be sent to New                24
 25   Mexico, is there a reason why you would go         25




                                                                     104 (Pages 410 to 413)
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                                         Page 414                                                    Page 416
  1                                                  1
  2            ---                                   2              CERTIFICATE
  3           INDEX                                  3
  4            ---                                   4
  5                                                  5          I HEREBY CERTIFY that the witness,
  6   GHISLAINE MAXWELL                     PAGE     6   GHISLAINE MAXWELL, was duly sworn by me and
  7    By Ms. McCawley               4               7   that the deposition is a true record of the
  8                                                  8   testimony given by the witness.
                                                     9
  9              ---
                                                    10         _______________________________
 10            EXHIBITS
                                                    11         Leslie Fagin,
 11               ---
                                                               Registered Professional Reporter
 12   MAXWELL EXHIBIT                     PAGE      12         Dated: April 22, 2016
 13   Exhibit 1 police report       24              13
 14   Exhibit 2 email             33                14
 15   Exhibit 3 transcript         71               15          (The foregoing certification of
 16   Exhibit 4 photo             109               16   this transcript does not apply to any
 17   Exhibit 5 photo             113               17   reproduction of the same by any means, unless
 18   Exhibit 6 flight logs        117              18   under the direct control and/or supervision
 19   Exhibit 7 photo             133               19   of the certifying reporter.)
 20   Exhibit 8 photo             143               20
 21   Exhibit 9 message pad pages       147         21
 22   Exhibit 10 email             209              22
 23   Exhibit 11 photo             259              23
 24   Exhibit 12 documents            263           24
 25   Exhibit 13 documents            312           25
                                         Page 415                                                    Page 417
  1                                                  1
  2   MAXWELL EXHIBIT                      PAGE      2         ACKNOWLEDGMENT OF DEPONENT
                                                     3
  3   Exhibit 14 email             345                          I,              , do hereby
  4   Exhibit 15 email             348               4   certify that I have read the foregoing pages,
  5   Exhibit 16 email             348                   and that the same is a correct transcription
  6   Exhibit 17 email             361               5   of the answers given by me to the questions
                                                         therein propounded, except for the
  7   Exhibit 18 email             363               6   corrections or changes in form or substance,
  8   Exhibit 19 email             365                   if any, noted in the attached Errata Sheet.
  9   Exhibit 20 email             367               7
                                                     8
 10   Exhibit 21 email             384               9   GHISLAINE MAXWELL                    DATE
 11   Exhibit 22 email             390              10
 12   Exhibit 23 email             392              11   Subscribed and sworn
 13   Exhibit 24 email             398                   to before me this
 14   Exhibit 25 email             405              12       day of           , 2016.
                                                    13   My commission expires:
 15                                                 14
 16                                                      Notary Public
 17                                                 15
 18                                                 16
                                                    17
 19                                                 18
 20                                                 19
 21                                                 20
 22                                                 21
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 24                                                 24
 25                                                 25




                                                                  105 (Pages 414 to 417)
